                                                                   Number";
                                                           cMsg = app.response(cAsk);
 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Pageevent.value
                                                               1 of 156 = cMsg;
                                                                                   DEFENDANT'S
                                                                                     EXHIBIT

                                                                                         10
Evidence review: Gender-affirming
hormones for children and adolescents
with gender dysphoria
This document will help inform Dr Hilary Cass’ independent review into gender identity
services for children and young people. It was commissioned by NHS England and
Improvement who commissioned the Cass review. It aims to assess the evidence for the
clinical effectiveness, safety and cost-effectiveness of gender-affirming hormones for
children and adolescents aged 18 years or under with gender dysphoria.

The document was prepared by NICE in October 2020.

The content of this evidence review was up to date on 21 October 2020. See summaries of
product characteristics (SPCs), British National Formulary (BNF) or the Medicines and
Healthcare products Regulatory Agency (MHRA) or NICE websites for up-to-date
information.




                                            1
  Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 2 of 156



Contents


1. Introduction ....................................................................................................................... 3
2. Executive summary of the review ...................................................................................... 4
   Critical outcomes ............................................................................................................... 4
   Important outcomes ........................................................................................................... 6
   Important outcomes ........................................................................................................... 7
   Discussion ....................................................................................................................... 13
   Conclusion ...................................................................................................................... 14
3. Methodology ................................................................................................................... 14
   Review questions ............................................................................................................ 14
   Review process ............................................................................................................... 15
4. Summary of included studies .......................................................................................... 16
5. Results ............................................................................................................................ 21
6. Discussion ...................................................................................................................... 47
7. Conclusion ...................................................................................................................... 50
Appendix A PICO ................................................................................................................ 51
Appendix B Search strategy ................................................................................................ 55
Appendix C Evidence selection ........................................................................................... 70
Appendix D Excluded studies table ..................................................................................... 70
Appendix E Evidence tables................................................................................................ 77
Appendix F Quality appraisal checklists ............................................................................ 107
Appendix G Grade profiles ................................................................................................ 109
Glossary............................................................................................................................ 153
References ....................................................................................................................... 155




                                                                    2
 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 3 of 156



1. Introduction

This review aims to assess the evidence for the clinical effectiveness, safety and cost-
effectiveness of gender-affirming hormones for children and adolescents aged 18 years or
under with gender dysphoria. The review follows the NHS England Specialised
Commissioning process and template and is based on the criteria outlined in the PICO
framework (see appendix A). This document will help inform Dr Hilary Cass’ independent
review into gender identity services for children and young people.

Gender dysphoria in children, also known as gender identity disorder or gender
incongruence of childhood (World Health Organisation 2020), refers to discomfort or distress
that is caused by a discrepancy between a person’s gender identity (how they see
themselves1 regarding their gender) and that person’s sex assigned at birth and the
associated gender role, and/or primary and secondary sex characteristics (Diagnostic and
Statistical Manual of Mental Disorders 2013).

Gender-affirming hormones are oestradiol for sex assigned at birth males (transfemales) and
testosterone for sex assigned at birth females (transmales). The aim of gender-affirming
hormones is to induce the development of the physical sex characteristics congruent with
the individual’s gender expression while aiming to improve mental health and quality of life
outcomes.

No oestradiol-containing products are licensed for gender dysphoria and therefore any use
for children and adolescents with gender dysphoria is off-label.

The only testosterone-containing product licensed for gender dysphoria is Sustanon
250 mg/ml solution for injection, which is indicated as supportive therapy for transmales, use
of all other testosterone-containing products for children and adolescents with gender
dysphoria is off-label.

For children and adolescents with gender dysphoria it is recommended that management
plans are tailored to the needs of the individual and aim to ameliorate the potentially
negative impact of gender dysphoria on general developmental processes, to support young
people and their families in managing the uncertainties inherent in gender identity
development and to provide ongoing opportunities for exploration of gender identity. The
plans may also include psychological support and exploration and, for some individuals, the
use of gonadotrophin releasing hormone (GnRH) analogues in adolescence to suppress
puberty; this may be followed later with gender-affirming hormones of the desired sex (NHS
England 2013).

Currently NHS England, as part of the Gender Identity Development Service for Children
and Adolescents, routinely commissions gender-affirming hormones for young people with
continuing gender dysphoria from around their 16th birthday subject to individuals meeting
the eligibility and readiness criteria (Clinical Commissioning Policy 2016).




1 Gender refers to the roles, behaviours, activities, attributes and opportunities that any society

considers appropriate for girls and boys, and women and men (World Health Organisation, Health
Topics: Gender).
                                                    3
 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 4 of 156



2. Executive summary of the review

Ten observational studies were included in the evidence review. Seven studies were
retrospective observational studies (Allen et al. 2019, Kaltiala et al. 2020, Khatchadourian et
al. 2014, Klaver et Al. 2020, Klink et al. 2015, Stoffers et al. 2019, Vlot et al. 2017) and 3
studies were prospective longitudinal observational studies (Achille et al. 2020, Kuper et al.
2020, Lopez de Lara et al. 2020). No studies directly compared gender-affirming hormones
to a control group (either placebo or active comparator). Follow-up was relatively short
across all studies, with an average duration of treatment with gender-affirming hormones
between around 1 year and 5.8 years.

The terminology used in this topic area is continually evolving and is different depending on
stakeholder perspectives. In this evidence review we have used the phrase ‘people’s
assigned sex at birth’ rather than saying natal or biological sex and ‘cross sex hormones’ are
now referred to as ‘gender-affirming hormones’. The research studies may use historical
terms which are no longer considered appropriate.

In children and adolescents with gender dysphoria, what is the clinical effectiveness
of treatment with gender-affirming hormones compared with one or a combination of
psychological support, social transitioning to the desired gender or no intervention?

Critical outcomes

The critical outcomes for decision making are impact on gender dysphoria, impact on mental
health and quality of life. The quality of evidence for all these outcomes was assessed as
very low certainty using modified GRADE.

Impact on gender dysphoria
The study by Lopez de Lara et al. 2020 in 23 adolescents with gender dysphoria found that
during treatment with gender-affirming hormones, gender dysphoria (measured using the
Utrecht Gender Dysphoria Scale [UGDS]) was statistically significantly reduced (improved)
from a mean [±SD] score of 57.1 (±4.1) points at baseline to 14.7 (±3.2) points at 12 months,
which is below the threshold (40 points) for gender dysphoria (p<0.001).

Impact on mental health
Depression
The study by Lopez de Lara et al. 2020 in 23 adolescents with gender dysphoria found that
during treatment with gender-affirming hormones, depression (measured using the Beck
Depression Inventory-II [BDI-II]) was statistically significantly reduced from a mean [±SD]
score of 19.3 (±5.5) points at baseline to 9.7 (±3.9) points at 12 months (p<0.001).

The study by Achille et al. 2020 in 50 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, depression was statistically significantly reduced
from baseline to about 12 months follow-up:

   •   The Center for Epidemiologic Studies Depression (CESD-R) improved from a mean
       score of 21.4 points at baseline to 13.9 points (p<0.001).
   •   The Patient Health Questionnaire (PHQ 9) Modified for Teens improved, although
       absolute scores were not reported numerically (p<0.001).


                                               4
 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 5 of 156



The study by Kuper et al. 2020 in 148 adolescents with gender dysphoria (of whom
123 received gender-affirming hormones) found that during treatment with gender-affirming
hormones for an average of 10.9 months, the impact on depression (measured using the
Quick Inventory of Depressive Symptoms [QIDS]) was unclear as no statistical analysis was
reported. The mean (±SD) self-reported score was 9.6 points (±5.0) at baseline and 7.4
(±4.5) at follow-up. The mean (±SD) clinician-reported score was 5.9 points (±4.1) at
baseline and 6.0 (±3.8).

The study by Kaltiala et al. 2020 in 52 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, statistically significantly fewer participants
needed treatment for depression (54% at initial assessment compared with 15% at 12-month
follow-up, p<0.001). No details of the treatments for depression are reported.

Anxiety
The study by Lopez de Lara et al. 2020 in 23 adolescents with gender dysphoria found that
during treatment with gender-affirming hormones, state anxiety (measured using the State-
Trait Anxiety Inventory [STAI] – State subscale) was statistically significantly reduced from a
mean (±SD) score of 33.3 points (±9.1) at baseline to 16.8 points (±8.1) at 12 months
(p<0.001). Trait anxiety (measured using STAI – Trait subscale) was also statistically
significantly reduced from a mean (±SD) score of 33.0 (±7.2) points at baseline to
18.5 (±8.4) points at 12 months (p<0.001).

The study by Kuper et al. 2020 in 148 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, small reductions were seen in anxiety, panic,
generalised anxiety, social anxiety and separation anxiety symptoms and school avoidance
(measured using the Screen for Child Anxiety Related Emotional Disorders [SCARED]
questionnaire) from baseline to follow-up (mean duration of treatment 10.9 months). The
statistical significance of these findings are unknown as no statistical analyses were
reported.

The study by Kaltiala et al. 2020 in 52 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, statistically significantly fewer participants
needed treatment for anxiety (48% at initial assessment compared with 15% at 12-month
follow-up, p<0.001). No details of treatments for anxiety are reported.

Suicidality and self-injury
The study by Allen et al. 2019 in 47 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, suicide risk (measured using the Ask Suicide-
Screening Questions [ASQ]) was statistically significantly reduced from an adjusted mean
(±SE) score of 1.11 points (±0.22) at baseline to 0.27 points (±0.12) after about 12 months
(p<0.001).

The study by Achille et al. 2020 in 50 adolescents with gender dysphoria (of whom
35 received gender-affirming hormones at follow-up) found that during treatment with
gender-affirming hormones, the impact on suicidal ideation was unclear (measured using the
PHQ 9_Modified for Teens with additional questions for suicidal ideation). At baseline 10%of
participants had suicidal ideation and 6% had suicidal ideation after about 12 months, but it
is unclear if these participants received gender-affirming hormones. No statistical analyses
were reported.


                                               5
 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 6 of 156



The study by Kuper et al. 2020 in 148 adolescents with gender dysphoria reported the
impact on suicidal ideation, suicide attempts and non-suicidal self-injury during treatment
with gender-affirming hormones, after mean 10.9 months follow-up . The statistical
significance of these findings are unknown as no statistical analyses were reported:

   •   Suicidal ideation was reported in 25% of participants 1 month before the initial
       assessment and in 38% of participants during follow-up.
   •   Suicide attempts were reported in 2% of participants at 3 months before the initial
       assessment and in 5% during follow-up.
   •   Self-injury was reported in 10% of participants at 3 months before the initial
       assessment and in 17% during follow-up.

The study by Kaltiala et al. 2020 in 52 adolescents with gender dysphoria reported that
during treatment with gender-affirming hormones, statistically significantly fewer participants
needed treatment for suicidal ideation or self-harm (35% at initial assessment compared with
4% at 12-month follow-up, p<0.001). No details of treatments for suicidal ideation or
self-harm are reported.

Other related symptoms
The study by Kaltiala et al. 2020 in 52 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, there was no statistically significant difference in
the number of people needing treatment for either psychotic symptoms or psychosis,
conduct problems or antisocial behaviour, substance abuse, autism, attention deficit
hyperactivity disorder (ADHD) or eating disorders during the 12-month ‘real life’ phase
compared with before or during the assessment. No details of the treatments received are
reported.

Impact on quality of life
The study by Achille et al. 2020 in 50 adolescents with gender dysphoria (of whom 35 were
receiving gender-affirming hormones at follow-up) found that during treatment with
gender-affirming hormones, quality of life (measured using the Quality of Life Enjoyment and
Satisfaction Questionnaire [QLES-Q-SF]) was statistically significantly improved from
baseline to about 12 months, but absolute scores were not reported numerically (p<0.001).

The study by Allen et al. 2019 in 47 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, quality of life (measured using the General Well-
Being Scale [GWBS] of the Paediatric Quality of Life Inventory) was statistically significantly
improved from an adjusted mean (±SE) score of 61.70 (±2.43) points at baseline to 70.23
(±2.15) points at about 12 months (p<0.002).

Important outcomes

The important outcomes for decision making are impact on body image, psychosocial
impact, engagement with healthcare services, impact on extent of and satisfaction with
surgery and de-transition. The quality of evidence for all these outcomes was assessed as
very low certainty using modified GRADE.

Impact on body image


                                               6
 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 7 of 156



The study by Kuper et al. 2020 in 148 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, the impact on body image is unclear (measured
using the Body Image Scale [BIS]). The mean (±SD) BIS score was 70.7 points (±15.2) at
baseline and 51.4 points (±18.3) at follow-up (mean duration of treatment 10.9 months; no
statistical analysis was reported).

Psychosocial impact
The study by Lopez de Lara et al. 2020 in 23 adolescents with gender dysphoria found that
during treatment with gender affirming hormones, family functioning is unchanged
(measured using the Family Adaptability, Partnership, Growth, Affection and Resolve
[APGAR] test). The mean score was 17.9 points at baseline and 18.0 points at 12-month
follow-up (no statistical analysis was reported).

The study by Lopez de Lara et al. 2020 in 23 adolescents with gender dysphoria found that
during treatment with gender affirming hormones, behavioural problems (measured using
the Strengths and Difficulties Questionnaire [SDQ]) were statistically significantly improved
from a mean (±SD) of 14.7 (±3.3) points at baseline to 10.3 points (±2.9) at 12-month follow-
up (p<0.001).

The study by Kaltiala et al. 2020 in 52 adolescents with gender dysphoria found that about
12-months after starting treatment with gender-affirming hormones:

   •   Statistically significantly fewer participants were living with parents or guardians (73%
       versus 40%, p=0.001) and statistically significantly fewer participants had normal
       peer contacts (89% versus 81%, p<0.001).
   •   There were no statistically significant differences in:
           o progress in school or work (64% versus 60%, p=0.69),
           o the number of participants who had been dating or in steady relationships
                (62% versus 58%, p=0.51)
           o the ability to cope with matters outside of the home (for example, shopping
                and travelling alone on local public transport; 81% versus 81%, p=1.0)

Engagement with health care services
No evidence was identified.

Impact on extent of and satisfaction with surgery
No evidence was identified.

De-transition
No evidence was identified.

In children and adolescents with gender dysphoria, what is the short-term and long-
term safety of gender-affirming hormones compared with one or a combination of
psychological support, social transitioning to the desired gender or no intervention?

Important outcomes

The important outcomes for decision making are short- and long-term safety outcomes and
adverse effects. The quality of evidence for all these outcomes was assessed as very low
certainty using modified GRADE.

                                               7
 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 8 of 156



Bone density
The study by Klink et al. 2015 in 34 adolescents with gender dysphoria (who were previously
treated with a GnRH analogue) found that gender-affirming hormones may increase lumbar
spine and femoral neck bone density. However, not all results are statistically significant
(particularly in transfemales). Z-scores suggest the average bone density at the end of
follow-up was generally lower than in the equivalent cisgender population (transfemales
compared with cis-males and transmales compared with cis-females). From starting gender-
affirming hormones to age 22 years:

   •   There was no statistically significant difference in lumbar spine bone mineral
       apparent density (BMAD) z-score in transfemales, but this was statistically
       significantly higher in transmales (z-score [±SD]: start of hormones -0.50 [±0.81], age
       22 years -0.033 [±0.95], p=0.002).
   •   There was no statistically significant difference in lumbar spine bone mineral density
       (BMD) z-score in transfemales or transmales.
   •   Actual lumbar spine BMAD and BMD values were statistically significantly higher in
       transfemales and transmales.
   •   There was no statistically significant difference in femoral neck BMD z-score in
       transfemales, but this was statistically significantly higher in transmales (z-score
       [SD]: start of hormones -0.35 [0.79], age 22 years -0.35 [0.74], p=0.006).
   •   There was no statistically significant difference in actual femoral neck BMAD values
       in transfemales, but this was statistically significantly higher in transmales.
   •   Actual femoral neck BMD values were statistically significantly higher in transfemales
       and transmales.

The study by Vlot et al. 2017 in 70 adolescents with gender dysphoria (who were previously
treated with a GnRH analogue) found that gender-affirming hormones may increase lumbar
spine and femoral neck bone density. However, not all results are statistically significant. Z-
scores suggest the average bone density at the end of follow-up was generally lower than
the equivalent cisgender population (transfemales compared with cis-males and transmales
compared with cis-females). From starting gender-affirming hormones to 24-month follow-
up:

   •   The z-score for lumbar spine BMAD was statistically significantly higher in
       transfemales with a bone age of less than 15 years (z-score [range]: start of
       hormones -1.52 [-2.36 to 0.42], 24-month follow-up -1.10 [-2.44 to 0.69], p≤ 0.05) and
       15 years and older (z-score [range]: start of hormones -1.15 [-2.21 to 0.08], 24-month
       follow-up -0.66 [-1.66 to 0.54], p≤ 0.05).
   •   The z-score for lumbar spine BMAD was statistically significantly higher in
       transmales with a bone age of less than 14 years (z-score [range]: start of hormones
       -0.84 [-2.2 to 0.87], 24-month follow-up -0.15 [-1.38 to 0.94], p≤ 0.01) and 14 years
       and older (z-score [range]: start of hormones -0.29 [-2.28 to 0.90], 24-month follow-
       up -0.06 [-1.75 to 1.61], p≤ 0.01).
   •   Actual lumbar spine BMAD values were statistically significantly higher in
       transfemales and transmales of all bone ages.
   •   There was no statistically significant difference in femoral neck BMAD z-score in
       transfemales (all bone ages).


                                               8
 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 9 of 156



   •   The z-score for femoral neck BMAD was statistically significantly higher in
       transmales with a bone age of less than 14 years (z-score [range]: start of hormones
       -0.37 [-2.28 to 0.47], 24-month follow-up -0.37 [-2.03 to 0.85], p≤ 0.01) and 14 years
       and older (z-score [range]: start of hormones -0.27 [-1.91 to 1.29], 24-month follow-
       up 0.02 [-2.1 to 1.35], p≤0.05).
   •   There was no statistically significant difference in actual femoral neck BMAD values
       in transfemales (all bone ages), but this was statistically significantly higher in
       transmales (all bone ages).

The study by Stoffers et al. 2019 in 62 sex assigned at birth females (transmales) with
gender dysphoria (who were previously treated with a GnRH analogue) found that during
treatment with gender-affirming hormones there was no statistically significant difference in
lumbar spine or femoral neck bone density (measured as BMD z-scores or actual values)
from starting gender-affirming hormones to any timepoint (6, 12 and 24 months).

Change in clinical parameters
The study by Klaver et al. 2020 in 192 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, from starting treatment to age 22 years:

   •   Glucose levels, insulin levels and insulin resistance were largely unchanged in
       transfemales and transmales.
   •   Total cholesterol, HDL cholesterol and LDL cholesterol levels were unchanged in
       transfemales, and there was a statistically significant improvement in triglyceride
       levels.
   •   Total cholesterol, HDL cholesterol, LDL cholesterol and triglyceride levels
       significantly worsened in transmales, but mean levels were within the UK reference
       range at the end of treatment.
   •   Diastolic blood pressure was statistically significantly increased in transfemales and
       transmales. Systolic blood pressure was also statistically significantly increased in
       transmales, but not in transfemales. The absolute increases in blood pressure were
       small.
   •   Body mass index was statistically significantly increased in transfemales and
       transmales, although most participants were within the healthy weight range (18.5 to
       24.9 kg/m).

The study by Stoffers et al. 2019 in 62 sex assigned at birth females (transmales) with
gender dysphoria found that during treatment with gender affirming hormones, from starting
treatment to 24-month follow-up:

   •   There was no statistically significant change in glycosylated haemoglobin (HbA1c).
   •   There was no statistically significant change in aspartate aminotransferase (AST),
       alanine aminotransferase (ALT) and gamma-glutamyltransferase (GCT).
   •   There was a statistically significant increase in alkaline phosphatase (ALP) at some
       timepoints, but the difference was not statistically significant by 24-months.
   •   There was a statistically significant increase in serum creatinine levels at all
       timepoints up to 24 months, but these were within the UK reference range. Serum
       urea levels were unchanged (follow-up duration not reported).

Treatment discontinuation and adverse effects

                                              9
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 10 of 156



The study by Khatchadourian et al. 2014 in 63 adolescents (24 transfemales and 39
transmales) with gender dysphoria found that during treatment with gender affirming
hormones (duration of treatment not reported):

   •   No participants permanently discontinued treatment.
   •   No transfemales temporarily discontinued treatment, but 3 transmales temporarily
       discontinued treatment due to mental health comorbidities (n=2) and androgenic
       alopecia (n=1). All 3 participants eventually resumed treatment, although timescales
       were not reported
   •   No severe complications were reported.
   •   No transfemales reported minor complications, but 12 transmales developed minor
       complications which were: severe acne (n=7), androgenic alopecia (n=1), mild
       dyslipidaemia (n=3) and significant mood swings (n=1).

In children and adolescents with gender dysphoria, what is the cost-effectiveness of
gender-affirming hormones compared to one or a combination of psychological
support, social transitioning to the desired gender or no intervention?

No cost-effectiveness evidence was found for gender-affirming hormones for children and
adolescents with gender dysphoria.

From the evidence selected, are there particular sub-groups of children and
adolescents with gender dysphoria that derive comparatively more (or less) benefit
from treatment with gender-affirming hormones than the wider population of children
and adolescents with gender dysphoria?

Some studies reported data separately for the following subgroups of children and
adolescents with gender dysphoria:

   •   Sex assigned at birth males (transfemales).
   •   Sex assigned at birth females (transmales).
   •   Tanner stage at which GnRH analogue or gender-affirming hormones started.
   •   Diagnosis of a mental health condition.

Some direct comparisons of transfemales and transmales were included. No evidence was
found for other specified subgroups.

Sex assigned at birth males (transfemales)
Impact on mental health
In the study by Kuper et al. 2020 in 33 to 45 (number varies by outcome) sex assigned at
birth males (transfemales) with gender dysphoria found that during treatment with
gender-affirming hormones changes were seen in depression, anxiety and anxiety-related
symptoms from baseline to follow-up (mean duration of treatment 10.9 months). The authors
did not report any statistical analyses, so it is unclear if any changes were statistically
significant.

The study by Allen et al. 2019 in 47 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, suicide risk (measured using the ASQ) is not
statistically significant different in transfemales compared with transmales, between baseline
and the final assessment at about 12 months (p=0.79).

                                             10
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 11 of 156



The study by Achille et al. 2020 in 17 transfemales with gender dysphoria found that during
treatment with gender-affirming hormones, suicidal ideation (measured using the PHQ
9_Modified for Teens with additional questions for suicidal ideation) was reported in 11.8%
(2/17) of transfemales at baseline compared with 5.9% (1/17) at about 12-months follow-up
(no statistical analysis was reported).

Impact on quality of life
The study by Allen et al. 2019 in 47 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, quality of life (measured using the GWBS of the
Paediatric Quality of Life Inventory) was not statistically significant different in transfemales
compared with transmales, between baseline and the final assessment at about 12 months
(p=0.32).

Bone density
The studies by Klink et al. 2015 and Vlot et al. 2017 provided evidence on bone density in
transfemales; see above for details.

Change in clinical parameters
The study by Klaver et al. 2020 provided evidence on the following clinical parameters in
transfemales:

   •   Glucose levels, insulin levels and insulin resistance.
   •   Total cholesterol, HDL cholesterol and LDL cholesterol and triglycerides.
   •   Blood pressure.
   •   Body mass index.

See above for details.

Treatment discontinuation and adverse effects
The study by Khatchadourian et al. 2014 provided evidence on treatment discontinuation
and adverse effects in transfemales; see above for details.

Sex assigned at birth females (transmales)
Impact on mental health
In the study by Kuper et al. 2020 in 65 to 78 (number varies by outcome) sex assigned at
birth females (transmales) with gender dysphoria found that during treatment with
gender-affirming hormones, changes were seen in depression, anxiety and anxiety-related
symptoms from baseline to 10.9 month follow-up. The authors did not report any statistical
analyses, so it is unclear if any changes were statistically significant.

The study by Allen et al. 2019 in 47 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, suicide risk (measured using the ASQ) is not
statistically significantly different in transmales compared with transfemales, between
baseline and the final assessment (p=0.79).

The study by Achille et al. 2020 in 33 transmales with gender dysphoria found that during
treatment with gender-affirming hormones, suicidal ideation (measured using the PHQ
9_Modified for Teens with additional questions for suicidal ideation) was reported in 9.1%
(3/33) of transmales at baseline compared with 6.1% (2/33) at about 12-months follow-up
(no statistical analysis reported).

                                                11
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 12 of 156



Impact on quality of life
The study by Allen et al. 2019 in 47 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, quality of life (measured using the GWBS of the
Paediatric Quality of Life Inventory) was not statistically significantly different in transmales
compared with transfemales, between baseline and the final assessment at about 12 months
(p=0.32).

Bone density
The studies by Klink et al. 2015, Stoffers et al. 2019 and Vlot et al. 2017 provided evidence
on bone density in transmales; see above for details.

Change in clinical parameters
The study by Klaver et al. 2020 provided evidence on the following clinical parameters in
transmales:

   •   Glucose levels, insulin levels and insulin resistance.
   •   Total cholesterol, HDL cholesterol and LDL cholesterol and triglycerides.
   •   Blood pressure.
   •   Body mass index.

See above for details.

The study by Stoffers et al. 2019 provided evidence on HbA1c, liver enzymes and renal
function in transmales; see above for details.

Treatment discontinuation and adverse effects
The study by Khatchadourian et al. 2014 provided evidence on treatment discontinuation
and adverse effects in transmales; see above for details.

Tanner stage at which GnRH analogues or gender-affirming hormones started
The study by Kuper et al. 2020 stated that the impact of Tanner stage on outcomes was
considered, but it is unclear if this refers to Tanner stage at the initial assessment, at the
start of GnRH analogue treatment or another timepoint. No results were reported.

Diagnosis of a mental health condition
Impact on mental health
The study by Achille et al. 2020 in 50 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, there was no statistically significant difference in
depression (measured using the CESD-R and PHQ 9_Modified for Teens) when the results
were adjusted for engagement in counselling and medicines for mental health problems,
from baseline to about 12-months follow-up.

Impact on quality of life
The study by Achille et al. 2020 in 50 adolescents with gender dysphoria found that during
treatment with gender-affirming hormones, there was no statistically significant difference in
quality of life (measured using the QLES-Q-SF) when the results were adjusted for
engagement in counselling and medicines for mental health problems, from baseline to
about 12-months follow-up.

From the evidence selected,


                                                12
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 13 of 156



(a)    what are the criteria used by the research studies to define gender dysphoria,
       gender identity disorder and gender incongruence of childhood?
(b)    what were the ages at which participants commenced treatment with
       gender-affirming hormones?
(c)    what was the duration of treatment with GnRH analogues?

The most commonly reported diagnostic criteria for gender dysphoria was the DSM criteria
in use at the time (5/10 studies). In 3 studies (Klaver et al. 2020, Klink et al. 2015 and Vlot et
al. 2017) DSM-IV-TR criteria was used. In 2 studies (Kuper et al. 2020 and Stoffers et al.
2019) DSM-V criteria was used. One study from Finland (Kaltiala et al. 2020) used the
ICD-10 diagnosis of ‘transexualism’. It was not reported how gender dysphoria was defined
in the remaining 4 studies.

In the studies, treatment with gender-affirming hormones started at about 16 to 17 years,
with a range of about 14 to 19 years. Most studies did not report the duration of treatment
with GnRH analogues, but where this was reported there was a wide variation ranging from
a few months up to about 5 years (Klaver et al. 2020, Klink et al. 2015 and Stoffers et al.
2019).

Discussion

The key limitation to identifying the effectiveness and safety of gender-affirming hormones
for children and adolescents with gender dysphoria is the lack of reliable comparative
studies.

All the studies included in the evidence review are uncontrolled observational studies, which
are subject to bias and confounding and were of very low certainty using modified GRADE.
A fundamental limitation of all the uncontrolled studies included in this review is that any
changes in scores from baseline to follow-up could be attributed to a regression-to-the-
mean.

The included studies have relatively short follow-up, with an average duration of treatment
with gender-affirming hormones between around 1 year and 5.8 years. Further studies with a
longer follow-up are needed to determine the long-term effect of gender-affirming hormones
for children and adolescents with gender dysphoria.

Most studies included in this review did not report comorbidities (physical or mental health)
and no study reported concomitant treatments in detail. Because of this it is not clear
whether any changes seen were due to gender-affirming hormones or other treatments the
participants may have received.

There is a degree of indirectness in some studies, with some participants included that fall
outside of the population of this evidence review. Furthermore, participant numbers are
poorly reported in some studies, with high numbers lost to follow-up or outcomes not
reported for some participants. The authors provide no explanation for this incomplete
reporting.

Details of the gender-affirming hormone treatment regimen are poorly reported in most of the
included studies, with limited information provided about the medicines, doses and routes of
administration used. It is not clear whether the interventions used in the studies are reflective
of current UK practice for children and adolescents with gender dysphoria.
                                               13
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 14 of 156



It is difficult to draw firm conclusions for many of the effectiveness and safety outcomes
reported in the included studies because many different scoring tools and methods were
used to assess the same outcome, often with conflicting results. In addition to this, most
outcomes reported across the included studies do not have an accepted minimal clinically
important difference (MCID), making it difficult the determine whether any statistically
significant changes seen are clinically meaningful. However, the authors of some studies
report thresholds to interpret the results of the scoring tools (for example, by linking scores to
symptom severity), so some conclusions can be made.

Conclusion

Any potential benefits of gender-affirming hormones must be weighed against the largely
unknown long-term safety profile of these treatments in children and adolescents with
gender dysphoria.

Results from 5 uncontrolled, observational studies suggest that, in children and adolescents
with gender dysphoria, gender-affirming hormones are likely to improve symptoms of gender
dysphoria, and may also improve depression, anxiety, quality of life, suicidality, and
psychosocial functioning. The impact of treatment on body image is unclear. All results were
of very low certainty using modified GRADE.

Safety outcomes were reported in 5 observational studies. Statistically significant increases
in some measures of bone density were seen following treatment with gender-affirming
hormones, although results varied by bone region (lumber spine versus femoral neck) and
by population (transfemales versus transmales). However, z-scores suggest that bone
density remained lower in transfemales and transmales compared with an equivalent
cisgender population. Results from 1 study of gender-affirming hormones started during
adolescence reported statistically significant increases in blood pressure and body mass
index, and worsening of the lipid profile (in transmales) at age 22 years, although longer
term studies that report on cardiovascular event rates are required. Adverse events and
discontinuation rates associated with gender-affirming hormones were only reported in 1
study, and no conclusions can be made on these outcomes.

This review did not identify sub-groups of patients who may benefit more from gender-
affirming hormones.

No cost-effectiveness evidence was found to determine whether gender-affirming hormones
are a cost-effective treatment for children and adolescents with gender dysphoria.


3. Methodology

Review questions

The review question(s) for this evidence review are:

       1. For children and adolescents with gender dysphoria, what is the clinical
          effectiveness of treatment with gender-affirming hormones compared with one or
          a combination of psychological support, social transitioning to the desired gender
          or no intervention?

                                               14
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 15 of 156



       2. For children and adolescents with gender dysphoria, what is the short-term and
          long-term safety of gender-affirming hormones compared with one or a
          combination of psychological support, social transitioning to the desired gender or
          no intervention?
       3. For children and adolescents with gender dysphoria, what is the cost-
          effectiveness of gender-affirming hormones compared to one or a combination of
          psychological support, social transitioning to the desired gender or no
          intervention?
       4. From the evidence selected, are there particular sub-groups of children and
          adolescents with gender dysphoria that derive comparatively more (or less)
          benefit from treatment with gender-affirming hormones than the wider population
          of children and adolescents with gender dysphoria?
       5. From the evidence selected,
          (a) what are the criteria used by the research studies to define gender
                dysphoria, gender identity disorder and gender incongruence of childhood?
          (b) what were the ages at which participants commenced treatment with
                gender-affirming hormones?
          (c) what was the duration of GnRH analogues treatment?

See appendix A for the full review protocol.

Review process

The methodology to undertake this review is specified by NHS England in their ‘Guidance on
conducting evidence reviews for Specialised Services Commissioning Products’ (2020).

The searches for evidence were informed by the PICO and were conducted on 21 July 2020.

See appendix B for details of the search strategy.

Results from the literature searches were screened using their titles and abstracts for
relevance against the criteria in the PICO framework. Full text references of potentially
relevant evidence were obtained and reviewed to determine whether they met the inclusion
criteria for this evidence review.

See appendix C for evidence selection details and appendix D for the list of studies excluded
from the review and the reasons for their exclusion.

Relevant details and outcomes were extracted from the included studies and were critically
appraised using a checklist appropriate to the study design. See appendix E and appendix F
for individual study and checklist details.

The available evidence was assessed by outcome for certainty using modified GRADE. See
appendix G for GRADE Profiles.




                                               15
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 16 of 156



4. Summary of included studies

Ten observational studies were included in the evidence review. Seven studies were
retrospective observational studies (Allen et al. 2019, Kaltiala et al. 2020, Khatchadourian et
al. 2014, Klaver et Al. 2020, Klink et al. 2015, Stoffers et al. 2019, Vlot et al. 2017) and three
studies were prospective longitudinal observational studies (Achille et al. 2020, Kuper et al.
2020, Lopez de Lara et al. 2020).

The terminology used in this topic area is continually evolving and is different depending on
stakeholder perspectives. In this evidence review we have used the phrase ‘people’s
assigned sex at birth’ rather than saying natal or biological sex and ‘cross sex hormones’ are
now referred to as ‘gender-affirming hormones’. The research studies may use historical
terms which are no longer considered appropriate.

Table 1 provides a summary of these included studies and full details are given in
appendix E.


Table 1 Summary of included studies

 Study                 Population                      Intervention and         Outcomes reported
                                                       comparison
 Achille et al. 2020   50 children, adolescents        Intervention             Critical Outcomes
                       and young adults with           Endocrine                Impact on mental health
                       gender dysphoria;               interventions (the
 Prospective
                       17 transfemales and                                      •   Depression- The
 longitudinal study                                    collective term used         Center for
                       33 transmales                   for puberty                  Epidemiologic
                                                       suppression and              Studies Depression
 Single centre,                                        gender-affirming
                       Mean age at baseline was                                     Scale (CESD-R)
 New York, United                                      hormones) were
                       16.2 years (SD 2.2)                                      •   Depression- The
 States                                                introduced as per
                                                       Endocrine Society and        Patient Health
                                                       the World Professional       Questionnaire
                                                       Association for              Modified for Teens
                                                       Transgender Health           (PHQ 9_Modified for
                                                       (WPATH) guidelines           Teens)


                                                       Puberty suppression      Impact on quality of life
                                                       was:                     •   Quality of Life
                                                       •   GnRH analogue            Enjoyment and
                                                           and/or anti-             Satisfaction
                                                           androgens                Questionnaire
                                                           (transfemales)           (QLES-Q-SF)
                                                       •   GnRH analogue or
                                                           medroxyprogester     Important Outcomes
                                                           one (transmales)     None reported

                                                       Once eligible, gender-
                                                       affirming hormones
                                                       were offered, these
                                                       were:
                                                       •   Oestradiol
                                                           (transfemales)

                                                  16
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 17 of 156



Study                Population                        Intervention and          Outcomes reported
                                                       comparison
                                                       •   Testosterone
                                                           (transmales)
                                                       Doses and
                                                       formulations not
                                                       reported

                                                       After about 12-months
                                                       treatment (‘wave 3’):
                                                       •   24 people (48%)
                                                           were on gender-
                                                           affirming
                                                           hormones alone
                                                       •   12 people (24%)
                                                           were on puberty
                                                           suppression alone
                                                       •   11 people (22%)
                                                           were on both
                                                           gender-affirming
                                                           hormones and
                                                           puberty
                                                           suppression
                                                       •   3 people (6%)
                                                           were on no
                                                           endocrine
                                                           intervention

                                                       Comparison
                                                       No comparison group.
                                                       Change over time
                                                       reported
Allen et al. 2019    47 adolescents and young          Intervention              Critical Outcomes
                     adults with gender                39 participants           Impact on mental health
                     dysphoria: 14 transfemales        received gender-
Retrospective
                     and 33 transmales                                           •   Suicidality- Ask
longitudinal study                                     affirming hormones            Suicide-Screening
                                                       only                          Questions (ASQ)
                     Mean age at administration        8 participants received       instrument
Single centre,
                     (start of treatment)              hormones and a
Kansas City, USA
                     16.5 years                        GnRH analogue
                                                                                 Impact on quality of life
                                                                                 •   General Well-Being
                                                       Mean duration of              Scale (GWBS) of
                                                       treatment with gender-        the Pediatric Quality
                                                       affirming hormones            of Life Inventory
                                                       was 349 days (range
                                                       113 to 1,016)
                                                                                 Important Outcomes
                                                       Comparison                None reported
                                                       No comparison group.
                                                       Comparison over time
                                                       reported
Kaltiala et al.      52 adolescents with gender        Intervention              Critical Outcomes
2020                 dysphoria: 11 transfemales        Hormonal sex              Impact on mental health
                     and 41 transmales.                assignment treatment
                                                       – details of
                                                  17
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 18 of 156



Study                Population                         Intervention and         Outcomes reported
                                                        comparison
Retrospective        Mean age at diagnosis              intervention not         •   Need for mental
chart review         18.1 years (range 15.2 to          reported, although all       health treatment
                     19.9)                              patients received
                                                        gender-affirming
Single centre,                                                                   Important Outcomes
                                                        hormones.
Tampere, Finland                                                                 Psychosocial Impact
                                                        Comparison               Measure of functioning
                                                                                 in different domains of
                                                        No comparison group.     adolescent
                                                        Comparison over time     development, which
                                                        reported                 were:
                                                                                 •   Living with
                                                                                     parent(s)/ guardians
                                                                                 •   Normative peer
                                                                                     contacts
                                                                                 •   Progresses
                                                                                     normatively in
                                                                                     school/ work
                                                                                 •   Has been dating or
                                                                                     had steady
                                                                                     relationships
                                                                                 •   Is age-appropriately
                                                                                     able to deal with
                                                                                     matters outside of
                                                                                     the home
Khatchadourian       84 young people with               Intervention             Critical Outcomes
et al. 2014          gender dysphoria, of whom          Transfemales:            None reported
                     63 received gender-                Oestrogen (oral
                     affirming hormones.                micronized 17β-
Retrospective                                                                    Important Outcomes
chart review                                            oestradiol)
                                                                                 Safety:
                     Median age at start of             Transmales:
                     gender-affirming hormones          Testosterone             •   Adverse events
Single centre,
                     was:                               (injectable              •   Discontinuation
Vancouver,
                     •   17.3 years (range 13.7-        testosterone enanthate       rates
Canada
                         19.8) for testosterone         and/or cypionate)
                     •   17.9 years (range 13.3-
                         22.3) for oestrogen            19 participants (30%)
                                                        had previously
                                                        received a GnRH
                                                        analogue

                                                        Comparison
                                                        No comparison group.
                                                        Comparison over time
                                                        reported.
Klaver et al. 2020   192 people with gender             Intervention             Critical Outcomes
                     dysphoria who started              Oral oestrogen or        None reported
                     GnRH analogues before              intramuscular (IM)
Retrospective
                     the age of 18 years, and           testosterone
chart review                                                                     Important Outcomes
                     started gender-affirming
                     hormones within 1.5 years                                   Safety
Single centre,       of their 22nd birthday.            Comparison
                                                                                 •   Body mass index
Amsterdam,                                                                           (BMI)
Netherlands

                                                   18
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 19 of 156



Study                Population                          Intervention and          Outcomes reported
                                                         comparison
                     Mean age at start of                No comparison group.      •   Systolic blood
                     gender-affirming hormones:          Comparison over time          pressure
                     •   Transfemale –                   reported                  •   Diastolic blood
                         16.4 years (SD 1.1)                                           pressure
                     •   Transmale – 16.9 years                                    •   Glucose
                         (SD 1.9)                                                  •   Insulin
                                                                                   •   HOMA-IR
                                                                                   •   Total cholesterol
                                                                                   •   HDL cholesterol
                                                                                   •   LDL cholesterol
                                                                                   •   Triglycerides

Klink et al. 2015    34 young people with                Intervention              Critical Outcomes
                     gender dysphoria who had            Transfemales – oral       None
                     received GnRH analogues,            17-β oestradiol
Retrospective
                     gender-affirming hormones
longitudinal study                                       (incremental dosing)      Important Outcomes
                     and gonadectomy.
                                                                                   Safety
Single centre,                                           Transmales – IM           •   Bone mineral
                     The study included
Amsterdam,                                               testosterone                  apparent density
                     15 transfemales and
Netherlands                                              (Sustanon 250 mg/ml;          (BMAD)
                     19 transmales; mean age
                                                         incremental dosing)
                     at start of gender-affirming                                  •   Bone mineral
                     hormones was 16.6 years                                           density (BMD)
                     (SD 1.4) and 16.4 years             Median duration of        Measures reported at 3
                     (SD 2.3) respectively.              treatment with gender-    timepoints: start of
                                                         affirming hormones for    GnRH analogue
                                                         transfemales was          treatment, start of
                     At the start of gender-
                                                         5.8 years (range 3.0 to   gender-affirming
                     affirming hormone
                                                         8.0) and for              hormone treatment and
                     treatment, in the
                                                         transmales was 5.4        age 22 years.
                     transfemale subgroup the
                                                         years (range 2.8 to
                     median Tanner P was 4
                                                         7.8)
                     (IQR 2) and the median
                     Tanner G was 12 (IQR 11)
                      In the transmale subgroup          The GnRH analogue
                     the median Tanner B was 5           was subcutaneous
                     (IQR 2) and the median              (SC) triptorelin
                     Tanner P was 5 (IQR 0)              3.75 mg every 4
                                                         weeks

                                                         No details of
                                                         gonadectomy reported

                                                         Comparison
                                                         No comparison group.
                                                         Comparison over time
                                                         reported.
Kuper et al. 2020    Children and adolescents            Intervention              Critical Outcomes
                     with gender dysphoria               Gender-affirming          Impact on mental health
                     (9 to18 years), n=148, of           hormones, guided by
Prospective
                     whom:                                                         •   Depression- Quick
longitudinal study                                       Endocrine Society             Inventory of
                     •   25 received puberty             Clinical Practice             Depressive
                         suppression only                Guidelines

                                                    19
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 20 of 156



Study              Population                        Intervention and          Outcomes reported
                                                     comparison
Single centre,     •   93 received gender-                                         Symptoms (QIDS),
Texas, USA             affirming hormone             Comparison                    self-reported
                       therapy only                                            •   Depression- QIDS,
                                                     No comparison group.
                   •   30 received both              Comparison over time          clinician-reported
                                                     reported.                 •   Anxiety- Screen for
                   Mean age 14.9 years                                             Child Anxiety
                                                                                   Related Emotional
                                                                                   Disorders
                                                                                   (SCARED)
                                                                               •   Panic- specific
                                                                                   questions from
                                                                                   SCARED
                                                                               •   Generalised anxiety-
                                                                                   specific questions
                                                                                   from SCARED
                                                                               •   Social anxiety -
                                                                                   specific questions
                                                                                   from SCARED
                                                                               •   Separation anxiety-
                                                                                   specific questions
                                                                                   from SCARED
                                                                               •   School avoidance-
                                                                                   specific questions
                                                                                   from SCARED

                                                                               Important Outcomes
                                                                               Impact on body image
                                                                               •   Body Image Scale
                                                                                   (BIS)
Lopez de Lara et   23 adolescents with gender        Intervention              Critical Outcomes
al. 2020           dysphoria: 7 transfemales         Gender-affirming          Impact on gender
                   and 16 transmales.                hormones:                 dysphoria
Prospective        Mean age at baseline was          •   Oral oestradiol       •  Utrecht Gender
analytical study   16 years (range 14 to 18)                                      Dysphoria Scale
                                                     •   Intramuscular
                                                         testosterone             (UGDS)
Single centre,                                                                 Impact on mental health
Madrid, Spain                                        Participants had          •   Depression- Beck
                                                     previously received           Depression
                                                     GnRH analogues in             Inventory II (BDI-II)
                                                     the intermediate          •   Anxiety- State-Trait
                                                     pubertal stages               Anxiety Inventory
                                                     (Tanner 2 to 3).
                                                                               Important Outcomes
                                                     Participants were         Psychosocial Impact
                                                     assessed twice:
                                                                               •   Family functioning-
                                                     •   pre-treatment (T0),       Family APGAR test
                                                     •   after 12 months       •   Patient strengths
                                                         treatment with            and difficulties-
                                                         gender-affirming          Strengths and
                                                         hormones (T1)             Difficulties
                                                                                   Questionnaire,

                                                20
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 21 of 156



Study              Population                          Intervention and          Outcomes reported
                                                       comparison
                                                       Comparison                    Spanish Version
                                                       No comparison group.          (SDQ-Cas).
                                                       Comparison over time
                                                       reported.
Stoffers et al.    62 transmales with gender           Intervention              Critical Outcomes
2019               dysphoria.                          Testosterone              None
                   Patients had received a             intramuscular
Retrospective      GnRH analogue and more              injections (Sustanon
                                                                                 Important Outcomes
chart review       than 6 months of                    250 mg). Dose was
                   testosterone treatment.             titrated to a             Safety
                   Median age at start of              maintenance dose of       •   Body mass index
Single centre,                                         125 mg every                  (BMI)
                   testosterone was 17.23
Leiden,                                                2 weeks. Participants
                   years (range 14.9 to 18.4)                                    •   Blood pressure
Netherlands                                            who started GnRH
                   Median treatment duration                                     •   BMD
                                                       analogues at 16 years
                   was 12 months (range 5 to
                                                       or older had their dose   •   Acne
                   33)
                                                       increased more            •   Liver enzymes
                                                       rapidly. Some
                   Change over time                    participants chose to     •   Creatinine
                                                       receive testosterone      •   Urea
                                                       every 3-4 weeks, and      •   HbA1c
                                                       participants could
                                                       switch to transdermal
                                                       preparations if needed.

                                                       Comparison
                                                       No comparison group.
                                                       Comparison over time
                                                       reported.
Vlot et al. 2017   70 children and                     Intervention              Critical Outcomes
                   adolescents with gender             Oestrogen or              None
                   dysphoria                           testosterone (had
Retrospective
chart review       Median age at baseline –            previously received
                                                                                 Important Outcomes
                   •    13.5 years (11.5-18.3)         triptorelin for puberty
                                                       suppression)              Safety
                        for transfemales
Single centre,                                                                   •   Bone mineral
Amsterdam,         •    15.1 years (range 11.7-
                                                       Comparison                    apparent density
Netherlands             18.6) for transmales
                                                                                     (BMAD)
                                                       No comparison group.
                   Comparison is change over           Comparison over time
                   time. 24 month follow-up.           reported.



5. Results

In children and adolescents with gender dysphoria, what is the clinical
effectiveness of gender-affirming hormones compared with one or a
combination of psychological support, social transitioning to the desired
gender or no intervention?

Outcome                Evidence statement

Clinical Effectiveness

                                                  21
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 22 of 156



Critical outcomes

Impact on           This is a critical outcome because gender dysphoria in children and
gender              adolescents is associated with significant distress and problems with
dysphoria           functioning.

Certainty of        One uncontrolled, prospective, observational study (Lopez de Lara et
evidence: very      al. 2020) provided evidence relating to the impact on gender dysphoria,
low                 measured using the Utrecht Gender Dysphoria Scale (UGDS) score
                    during the first year of treatment with gender-affirming hormones. The
                    UGDS is a validated, screening tool for both adolescents and adults,
                    used to assess gender dysphoria. It consists of 12 items, to be
                    answered on a 1- to 5-point scale, resulting in a sum score between 12
                    and 60. The authors state that the cut-off point to identify gender
                    dysphoria is 40 points. The higher the UGDS score the greater the
                    gender dysphoria.

                    In this study (n=23), the mean (±SD) UGDS score was statistically
                    significantly reduced (improved) from 57.1 (±4.1) points at baseline to
                    14.7 points (±3.2) at 12 months (p<0.001). A UGDS score below 40
                    suggests an absence of gender dysphoria (VERY LOW).

                    This study provides very low certainty evidence that gender-
                    affirming hormones statistically significantly improve gender
                    dysphoria from baseline to 12 months follow-up. The mean UGDS
                    score was below the threshold for gender dysphoria at follow-up.
Impact on           This is a critical outcome because depression may impact on social,
mental health:      occupational, or other areas of functioning in children and adolescents.
depression
                    Four observational studies (Achille et al. 2020; Kaltiala et al. 2020;
Certainty of        Kuper et al. 2020; Lopez de Lara et al. 2020) provided evidence relating
evidence: very      to the impact on depression in children and adolescents with gender
low                 dysphoria, with follow-up of around 12 months. Five different outcome
                    measures for depression were reported.

                    Beck Depression Inventory (BDI-II)
                    One uncontrolled, prospective, analytical study (Lopez de Lara et al.
                    2020) reported the change in BDI-II. The BDI-II is a valid, reliable, and
                    widely used tool for assessing depressive symptoms. There are no
                    specific scores to categorise depression severity, but it is suggested
                    that 0 to 13 is minimal symptoms, 14 to 19 is mild depression, 20 to 28
                    is moderate depression, and severe depression is 29 to 63.

                    In Lopez de Lara et al. 2020 (n=23) the mean (±SD) BDI-II score was
                    statistically significantly reduced (improved) from 19.3 (±5.5) points at
                    baseline to 9.7 (±3.9) points at 12 months (p<0.001) (VERY LOW).

                    Center for Epidemiologic Studies Depression (CESD-R)
                    One uncontrolled, prospective, longitudinal study (Achille et al. 2020)
                    reported the change in CESD-R scale. The CESD-R is a valid, widely
                    used tool to assess depressive symptoms. Total score ranges from 0
                    to 60, with higher scores indicating more depressive symptoms. There
                    are no specific scores to categorise depression severity, although the
                    authors of the study suggest that a total CESD-R score less than 16
                    suggests no clinical depression.
                                            22
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 23 of 156




                In Achille et al. 2020 (n=50), the mean CESD-R score statistically
                significantly reduced (improved) from 21.4 points at baseline to
                13.9 points at about 12 months follow-up (p<0.001; standard deviation
                not reported) (VERY LOW).

                Patient Health Questionnaire (PHQ 9) Modified for Teens
                One uncontrolled, prospective, longitudinal study (Achille et al. 2020)
                reported the change in PHQ 9_Modified for Teens score. The PHQ
                9_Modified for Teens is a validated tool to assess depression,
                dysthymia and suicide risk. The tool consists of 9 questions scored
                from 0 to 3 (total score 0 to 27), plus an additional 4 questions that
                are not scored. A score of 0 to 4 suggests no or minimal depressive
                symptoms, 5 to 9 mild, 10 to 14 moderate, 15 to 19 moderately
                severe, and 20-27 severe symptoms.

                In Achille et al. 2020 (n=50), the mean PHQ 9_Modified for Teens score
                statistically significantly reduced (improved) from baseline to around
                12 months follow-up, although absolute scores were not reported
                numerically (p<0.001). From the visual representation of results, the
                PHQ-9_Modified for Teens score is about 9 at baseline and about 5 at
                final follow-up (VERY LOW).

                Quick Inventory of Depressive Symptoms (QIDS)
                One uncontrolled, prospective, longitudinal study (Kuper et al. 2020)
                reported the change in QIDS, clinician-reported and self-reported.
                Both the clinician-reported and self-reported QIDS are validated tools
                to assess depressive symptoms. The tool consists of 16 items, with
                the highest score for 9 domains (sleep, weight, psychomotor changes,
                depressed mood, decreased interest, fatigue, guilt, concentration, and
                suicidal ideation) added to give a total score ranging from 0 to 27. A
                score of 0 to 5 suggests no depression, 6 to 10 mild symptoms, 11 to
                15 moderate symptoms, 16 to 20 severe symptoms, and 21 to 27 very
                severe symptoms.

                In Kuper et al. 2020 (n=105), the mean (±SD) QIDS self-reported
                score was 9.6 points (±5.0) at baseline and 7.4 (±4.5) after
                10.9 months of treatment with gender-affirming hormones (no
                statistical analysis reported). The mean (±SD) QIDS clinician-reported
                score was 5.9 points (±4.1) at baseline and 6.0 (±3.8) after
                10.9 months of treatment with gender-affirming hormones (no
                statistical analysis was reported) (VERY LOW).

                Participants needing treatment for depression
                One observational study (Kaltiala et al. 2020) reported the proportion
                of participants needing treatment for depression before or during the
                initial assessment and during the 12-month follow-up period after
                starting gender-affirming hormones.

                In Kaltiala et al. 2020 (n=52), statistically significantly fewer
                participants needed treatment for depression during the 12-month
                ‘real life’ phase (15%, 8/52) compared with before or during the
                assessment (54%, 28/52; p<0.001). No details of what treatments for
                depression the participants received are reported (VERY LOW).


                                       23
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 24 of 156



                 These studies provide very low certainty evidence that during
                 treatment with gender-affirming hormones depression is reduced
                 from baseline to about 12 months follow-up. However, most
                 participants had mild symptoms at the start of treatment.
Impact on        This is a critical outcome because anxiety may impact on social,
mental health:   occupational, or other areas of functioning in children and adolescents.
anxiety
                 Three observational studies (Kaltiala et al. 2020; Kuper et al. 2020;
Certainty of     Lopez de Lara et al. 2020) provided evidence relating to the impact on
evidence: very   anxiety in children and adolescents with gender dysphoria.
low
                 State-Trait Anxiety Inventory (STAI)
                 One uncontrolled, prospective, analytical study (Lopez de Lara et al.
                 2020) reported the change in STAI scores. STAI is a validated and
                 commonly used measure of trait and state anxiety. It has 20 items
                 and can be used in clinical settings to diagnose anxiety and to
                 distinguish it from depressive illness. Higher scores indicate greater
                 anxiety.

                 In Lopez de Lara et al. 2020 (n=23), the mean (±SD) STAI-State
                 subscale was statistically significantly reduced (improved) with gender-
                 affirming hormones from 33.3 points (±9.1) at baseline to 16.8 points
                 (±8.1) at 12 months (p<0.001). The mean STAI-Trait subscale scores
                 also statistically significantly reduced (improved) from 33.0 points
                 (±7.2) at baseline to 18.5 points (±8.4) at 12 months (p<0.001) (VERY
                 LOW).

                 Screen for Child Anxiety Related Emotional Disorders (SCARED)
                 One uncontrolled, prospective, longitudinal study (Kuper et al. 2020)
                 reported anxiety symptoms using the SCARED questionnaire. Other
                 anxiety-related symptoms using specific questions from the SCARED
                 questionnaire were also reported: panic, generalised anxiety, social
                 anxiety, separation anxiety and school avoidance. SCARED is a
                 validated, 41-point questionnaire, with each item scored 0 to 2. A total
                 score of 25 or more is suggestive of anxiety disorder, with scores
                 above 30 being more specific. Certain scores for specific questions
                 may indicate the presence of other anxiety-related disorders:
                     • A score of 7 or more in questions related to panic disorder or
                         significant somatic symptoms may indicate the presence of
                         these.
                     • A score of 9 or more in questions related to generalised
                         anxiety disorder may indicate the presence of this.
                     • A score of 5 or more in questions related to separation anxiety
                         may indicate the presence of this.
                     • A score of 8 or more in questions related to social anxiety
                         disorder may indicate the presence of this.
                     • A score of 3 or more in questions related to significant school
                         avoidance may indicate the presence of this.

                 In Kuper et al. 2020 (n=80 to 82, varies by outcome), small reductions
                 were seen in anxiety, panic, generalised anxiety, social anxiety and
                 separation anxiety and school avoidance symptoms (measured using
                 the SCARED questionnaire) from baseline to follow-up (mean duration
                 of treatment 10.9 months). The statistical significance of these findings
                 are unknown as no statistical analyses were reported (VERY LOW).
                                         24
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 25 of 156




                  Participants needing treatment for anxiety
                  One observational study (Kaltiala et al. 2020) reported the proportion
                  of participants needing treatment for anxiety before or during initial
                  assessment and during the 12-month follow-up period after starting
                  gender-affirming hormones.

                  In Kaltiala et al. 2020 (n=52), statistically significantly fewer
                  participants needed treatment for anxiety during the 12-month ‘real
                  life’ phase (15%, 8/52) compared with before or during the
                  assessment (48%, 25/52; p<0.001). No details of what treatments for
                  anxiety the participants received are reported (VERY LOW).

                  These studies provide very low certainty evidence that during
                  treatment with gender-affirming hormones anxiety symptoms
                  may be reduced from baseline to around 12 months follow-up.
Impact on         These are critical outcomes because self-harm and thoughts of suicide
mental health:    have the potential to result in significant physical harm and, for
suicidality and   completed suicides, the death of the young person.
self-injury
                  Four observational studies (Achille et al. 2020; Allen et al. 2019;
Certainty of      Kaltiala et al. 2020; Kuper et al. 2020) provided evidence relating to
evidence: very    suicidal ideation in children and adolescents with gender dysphoria,
low               with an average follow-up of around 12 months.

                  Ask Suicide-Screening Questions (ASQ)
                  One uncontrolled, retrospective, longitudinal study (Allen et al. 2019)
                  reported the change in ASQ. This is a 4-item dichotomous (yes/no)
                  response measure designed to identify risk of suicide. The authors of
                  Allen et al. 2019 amended 1 question in the ASQ (“Have you ever tried
                  to kill yourself?”) by prefacing it with “In the past few weeks . . .” as they
                  were not investigating lifetime incidence. A response of ‘no’ is scored
                  as 0 and a response of ‘yes’ is scored as 1; each item is summed to
                  give an overall score for suicidal ideation ranging from 0 to 4. A person
                  is considered to have screened positive if they answer ‘yes’ to any item
                  with higher scores indicating higher levels of suicidal ideation.

                  In Allen et al. 2019 (n=39), the adjusted mean (±SE) ASQ score
                  statistically significantly reduced from 1.11 points (±0.22) at baseline to
                  0.27 points (±0.12) after a mean duration of treatment of about
                  12 months (p<0.001) (VERY LOW).

                  PHQ 9_Modified for Teens (additional questions for suicidal
                  ideation)
                  One uncontrolled, prospective, longitudinal study (Achille et al. 2020)
                  reported the change in suicidal ideation measured using additional
                  questions from the PHQ 9_Modified for Teens. This is a validated tool
                  to assess depression, dysthymia and suicide risk (see above for
                  detailed description). In addition to the 9 scored questions, the PHQ
                  9_Modified Teens asked 4 additional questions relating to suicidal
                  ideation and difficulty dealing with problems of life. Responses to the
                  PHQ 9_Modified for Teens were used to determine if the participant
                  had suicidal ideation or not, but specific details of how this was
                  determined are not reported.


                                           25
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 26 of 156



                 In Achille et al. 2020 (n=50), 10% (5/50) of participants had suicidal
                 ideation at baseline and 6% (3/50) had suicidal ideation after about
                 12 months treatment with gender-affirming hormones (no statistical
                 analysis reported) (VERY LOW).

                 Suicidality and non-suicidal self-injury
                 One uncontrolled, prospective, longitudinal study (Kuper et al. 2020)
                 reported on suicidal ideation, suicide attempts and non-suicidal self-
                 injury, although it was unclear how and when this outcome was
                 measured.

                 In Kuper et al. 2020 (n=130), 25% of participants reported suicidal
                 ideation 1 month before the initial assessment and 38% reported this
                 during the follow-up period (no statistical analysis reported). Suicide
                 attempts were reported in 2% of participants at 3 months before the
                 initial assessment and 5% during follow-up. Self-injury was reported in
                 10% of participants at 3 months before the initial assessment and
                 17% during follow-up. No statistical analysis was reported for any
                 outcomes. Mean duration of gender-affirming hormone treatment was
                 10.9 months (VERY LOW).

                 Participants needing treatment for suicidality or self-harm
                 One observational study (Kaltiala et al. 2020) reported the proportion
                 of participants requiring treatment for suicidality or self-harm before or
                 during initial assessment and during the 12-month follow-up period
                 after starting gender-affirming hormones.

                 In Kaltiala et al. 2020 (n=52) statistically significantly fewer participants
                 needed treatment for suicidality or self-harm during the 12-month ‘real
                 life’ phase (4%, 2/52) compared with before or during the assessment
                 (35%, 18/52; p<0.001). No details of what treatments for suicidal
                 ideation or self-harm the participants received are reported (VERY
                 LOW).

                 These studies provide very low certainty evidence that gender-
                 affirming hormones may reduce suicidality from baseline to about
                 12 months follow-up. However, results are inconsistent and it is
                 difficult to draw conclusions.
Impact on        This is a critical outcome because mental health problems may impact
mental health:   on social, occupational, or other areas of functioning in children and
other            adolescents.

Certainty of     One observational study (Kaltiala et al. 2020) reported the proportion
evidence: very   of participants needing treatment for either psychotic symptoms or
low              psychosis, substance abuse, autism, attention deficit hyperactivity
                 disorder (ADHD) or eating disorders before or during initial assessment
                 and during the 12-month follow-up period after starting gender-
                 affirming hormones.

                 In Kaltiala et al. 2020 (n=52) there was no statistically significant
                 difference in the number of people needing treatment for either
                 psychotic symptoms / psychosis, substance abuse, autism, attention
                 deficit hyperactivity disorder (ADHD) or eating disorders during the 12-
                 month ‘real life’ phase compared with before or during the assessment.


                                          26
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 27 of 156



                  No details of which specific treatments the participants received are
                  reported (VERY LOW).

                  This study provides very low certainty evidence on the need for
                  treatment for either psychotic symptoms or psychosis, conduct
                  problems or antisocial behaviour, substance abuse, autism,
                  attention deficit hyperactivity disorder (ADHD) or eating disorders
                  during treatment with gender-affirming hormones. No
                  conclusions could be drawn.
Impact on         This is a critical outcome because gender dysphoria in children and
quality of life   adolescents may be associated with a significant reduction in health-
score             related quality of life.

Certainty of      Two uncontrolled longitudinal studies Achille et al. 2020; Allen et al.
evidence: very    2019) provided evidence relating to quality of life in children and
low               adolescents with gender dysphoria.

                  Quality of Life Enjoyment and Satisfaction Questionnaire (QLES-
                  Q-SF)
                  One uncontrolled, prospective, longitudinal study (Achille et al. 2020)
                  reported the change in QLES-Q-SF scores from baseline to about
                  12 months of treatment with gender-affirming hormones. QLES-Q-SF
                  is a validated questionnaire, consisting of 15 questions that rate
                  quality of life on a scale of 1 (poor) to 5 (very good).

                  In Achille et al. 2020 (n=50), the mean QLES-Q-SF score was
                  statistically significantly reduced from baseline to about 12 months
                  (p<0.001). However, absolute scores are not reported numerically
                  (VERY LOW).

                  General Well-Being Scale (GWBS) of the Paediatric Quality of
                  Life Inventory
                  One uncontrolled, retrospective, longitudinal study (Allen et al. 2019)
                  reported the change in adjusted mean GWBS of the Paediatric
                  Quality of Life Inventory score from baseline to about 12 months of
                  treatment with gender-affirming hormones. The GWBS of the
                  Paediatric Quality of Life Inventory contains 7 items that measure two
                  dimensions: general wellbeing (6 items) and general health (1 item).
                  Each item is scored from 0 to 4, and the total score is linearly
                  transformed to a 0 to 100 scale. Higher scores reflect fewer perceived
                  problems and greater well-being.

                  In Allen et al. 2019 (n=47), the adjusted mean (±SE) GWBS of the
                  Paediatric Quality of Life Inventory score was statistically significantly
                  increased (improved) from 61.70 (±2.43) points at baseline to
                  70.23 (±2.15) points at about 12 months (p<0.002) (VERY LOW).

                  This study provides very low certainty evidence that gender-
                  affirming hormones statistically significantly improve quality of
                  life and well-being from baseline to 12 months follow-up.
Important outcomes

Impact on body    This is an important outcome because some children and adolescents
image             with gender dysphoria may want to take steps to suppress features of

                                          27
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 28 of 156



Certainty of     their physical appearance associated with their sex assigned at birth or
evidence: very   accentuate physical features of their desired gender.
low
                 One uncontrolled, prospective, longitudinal study (Kuper et al. 2020)
                 provided evidence relating to the impact on body image in children and
                 adolescents with gender dysphoria who started treatment with gender-
                 affirming hormones (median duration 10.9 months; range 1 to 18),
                 measured by the change in Body Image Scale (BIS) score. BIS is a
                 validated 30-item scale covering 3 aspects: primary, secondary and
                 neutral body characteristics. Higher scores represent a higher degree
                 of body dissatisfaction.

                 In Kuper et al. 2020 (n=86), the mean (±SD) BIS score was 70.7 points
                 (±15.2) at baseline and 51.4 points (±18.3) at follow-up (no statistical
                 analysis reported) (VERY LOW).

                 This study provides very low certainty evidence on the effects of
                 gender-affirming hormones on body image during treatment with
                 gender-affirming hormones (mean duration of treatment
                 10.9 months). No conclusions could be drawn.
Psychosocial     This is an important outcome because gender dysphoria in children and
impact           adolescents is associated with internalising and externalising
                 behaviours, and emotional and behavioural problems which may
Certainty of     impact on social and occupational functioning.
evidence: very
low              Two uncontrolled, observational studies (Kaltiala et al. 2020; Lopez de
                 Lara et al. 2020) provided evidence related to psychosocial impact in
                 children and adolescents with gender dysphoria.

                 Family APGAR (Adaptability, Partnership, Growth, Affection and
                 Resolve) test
                 One uncontrolled, prospective, analytical study (Lopez de Lara et al.
                 2020) reported the Family APGAR test. The Family APGAR test is a 5-
                 item questionnaire, with higher scores indicating better family
                 functioning. The authors reported the following interpretation of the test:
                 functional, 17 to 20 points; mildly dysfunctional, 16 to 13 points;
                 moderately dysfunctional, 12 to 10 points; severely dysfunctional, <9
                 points.

                 In Lopez de Lara et al. 2020 (n=23), the mean Family APGAR test
                 score was unchanged from baseline (17.9 points) to 12-month follow-
                 up (18.0 points; no statistical analysis or standard deviations reported)
                 (VERY LOW).

                 Strengths and Difficulties Questionnaire (SDQ)
                 One uncontrolled, prospective, analytical study (Lopez de Lara et al.
                 2020) reported on behaviour using the Strengths and Difficulties
                 Questionnaire (SDQ, Spanish version). The SDQ includes 25-items
                 covering emotional symptoms, conduct problems, hyperactivity/
                 inattention, peer relationship problems and prosocial behaviour. The
                 authors state that a score of more than 20 suggests having a
                 behavioural disorder (normal 0 to 15, borderline 16 to 19, abnormal
                 20 to 40).



                                         28
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 29 of 156



                     In Lopez de Lara et al. 2020 (n=23), the mean (±SD) SDQ score was
                     statistically significantly reduced (improved) from 14.7 points (±3.3) at
                     baseline to 10.3 points (±2.9) at 12-month follow-up (p<0.001) (VERY
                     LOW).

                     Psychosocial functioning
                     One uncontrolled, retrospective chart review (Kaltiala et al. 2020)
                     reported various markers of functioning in adolescent development,
                     covering living arrangements, peer contacts, school or work progress,
                     relationships, and ability to cope with matters outside the home. These
                     measures were reported during the gender identity assessment and at
                     about 12 months after starting gender-affirming hormones (referred to
                     as the ‘real-life phase’).

                     In Kaltiala et al. 2020 (n=52), from the gender identity assessment to
                     the 12-month follow-up period:
                         • statistically significantly fewer participants were living with
                             parents or guardians (73% versus 40%, p=0.001)
                         • statistically significantly fewer participants had normal peer
                             contacts (89% versus 81%, p<0.001)
                         • there was no statistically significant difference in progress in
                             school or work (64% versus 60%, p=0.69)
                         • there was no statistically significant difference in the number of
                             participants who had been dating or in steady relationships
                             (62% versus 58%, p=0.51)
                         • there was no statistically significant difference in the
                             participant’s ability to cope with matters outside of the home
                             (81% versus 81%, p=1.00) (VERY LOW).

                     These studies provide very low certainty evidence that gender-
                     affirming hormones statistically significantly improve
                     behavioural problems (measured by SDQ score). However, the
                     SDQ score was in the ‘normal’ range at baseline and at 12-month
                     follow up. There was no significant impact on other measures of
                     psychosocial functioning.
 Engagement          This is an important outcome because patient engagement with health
 with health care    care services will impact on their clinical outcomes.
 services
                     No evidence was identified.
 Impact on extent    This is an important outcome because some children and adolescents
 of and              with gender dysphoria may proceed to transitioning surgery.
 satisfaction with
 surgery             No evidence was identified.
 De-transition       This is an important outcome because there is uncertainty about the
                     short- and long-term safety and adverse effects of gender-affirming
                     hormones in children and adolescents with gender dysphoria

                     No evidence was identified.
Abbreviations: APGAR: Adaptability, Partnership, Growth, Affection and Resolve; ASQ: Ask
Suicide-Screening Questions; BDI-II: Beck Depression Inventory II; BIS: Body Image Scale;
CESD-R: Center for Epidemiologic Studies Depression; GWBS: General Well-Being Scale; p:
p-value; PHQ 9_Modified for Teens: Patient Health Questionnaire Modified for Teens; QIDS:
Quick Inventory of Depressive Symptoms; QLES-Q-SF: Quality of Life Enjoyment and
Satisfaction Questionnaire; SCARED: Screen for Child Anxiety Related Emotional Disorders;
                                             29
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 30 of 156



SD: standard deviation; SE: standard error; SDQ: Strengths and Difficulties Questionnaire;
STAI: State-Trait Anxiety Inventory; UGDS: Utrecht Gender Dysphoria Scale.

In children and adolescents with gender dysphoria, what is the short-term and
long-term safety of gender-affirming hormones compared with one or a
combination of psychological support, social transitioning to the desired
gender or no intervention?

 Outcome            Evidence statement

 Safety
 Change in bone     This is an important outcome because childhood and adolescence is a
 density: lumbar    key time for bone development and gender-affirming hormones may
 spine              affect bone development, as shown by changes in lumbar spine bone
                    density.
 Certainty of
 evidence: very     Three uncontrolled, observational studies (2 retrospective and
 low                1 prospective) provided evidence related to bone density: lumbar spine
                    in children and adolescents with gender dysphoria. This was reported
                    as either bone mineral density (BMD), bone mineral apparent density
                    (BMAD), or both. One study reported change in bone density from start
                    of treatment with gender-affirming hormones to age 22 years (Klink et
                    al. 2015). Two studies reported change in bone density from start of
                    gender-affirming hormones up to 24-month follow-up (Stoffers et al.
                    2019 and Vlot et al. 2017). All participants had previously been treated
                    with a GnRH analogue. All outcomes were reported separately for
                    transfemales and transmales; also see subgroups table below.

                    Bone mineral apparent density (BMAD)
                    Two uncontrolled, observational studies reported change in lumbar
                    BMAD (Klink et al. 2015; Vlot et al. 2017). BMAD is a size adjusted
                    value of BMD, incorporating bone size measurements using a UK
                    reference population of growing cis-gender adolescents (up to age
                    17 years). BMAD is used to correct for height and height gain and may
                    provide a more accurate estimate of bone density in growing
                    adolescents. BMAD was reported as g/cm3 and as z-scores. Z-scores
                    report how many standard deviations from the mean a measurement
                    sits. A z-score of 0 is equal to the mean, a z-score of -1 is equal to 1
                    standard deviation below the mean, and a z-score of +1 is equal to 1
                    standard deviation above the mean. A cis-gender population was used
                    to calculate the bone density z-score, meaning transfemales were
                    compared with cis-males and transmales were compared with cis-
                    females.

                    In Klink et al. 2015 (n=34):
                        • There was no statistically significant difference in lumbar spine
                            BMAD z-score from starting gender-affirming hormones to age
                            22 years in transfemales.
                        • The z-score for lumbar spine BMAD was statistically significantly
                            higher at age 22 years compared with the start of gender-
                            affirming hormones in transmales (z-score [±SD]: start of
                            hormones -0.50 [±0.81], age 22 years -0.033 [±0.95], p=0.002).

                                            30
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 31 of 156



                   •   Actual lumbar spine BMAD values in g/cm3 were statistically
                       significantly higher at age 22 years compared with the start of
                       gender-affirming hormones in transfemales and transmales
                       (VERY LOW).

                In Vlot et al. 2017 (n=70):
                    • The z-score for lumbar spine BMAD in transfemales with a bone
                        age of <15 years was statistically significantly higher at 24-
                        month follow-up compared with start of gender-affirming
                        hormones (z-score [range]: start of hormones -1.52 [-2.36 to
                        0.42], 24-month follow-up -1.10 [-2.44 to 0.69], p≤ 0.05).
                        Statistically significant improvements in z-score for lumbar spine
                        BMAD in transfemales with a bone age of ≥15 years were also
                        seen (z-score [range]: start of hormones -1.15 [-2.21 to 0.08],
                        24-month follow-up -0.66 [-1.66 to 0.54], p≤ 0.05).
                    • The z-score for lumbar spine BMAD in transmales with a bone
                        age of <14 years was statistically significantly higher at 24-
                        month follow-up compared with start of gender-affirming
                        hormones (z-score [range]: start of hormones -0.84 [-2.2 to
                        0.87], 24-month follow-up -0.15 [-1.38 to 0.94], p≤ 0.01).
                        Statistically significant improvements in z-score for lumbar spine
                        BMAD in transmales with a bone age of ≥14 years were also
                        seen (z-score [range]: start of hormones -0.29 [-2.28 to 0.90],
                        24-month follow-up -0.06 [-1.75 to 1.61], p≤ 0.01).
                    • Actual lumbar spine BMAD values in g/cm3 were statistically
                        significantly higher at 24-month follow-up compared with start of
                        gender-affirming hormones in transfemales and transmales of
                        all bone ages (VERY LOW).

                Bone mineral density (BMD)
                Two uncontrolled, observational studies reported change in lumbar
                BMD (Klink et al. 2015; Stoffers et al. 2019). BMD was determined using
                dual energy x-ray absorptiometry (DXA-scan; HologicQDR4500,
                Hologic). BMD was reported as g/cm2 and as z-scores – see BMAD
                above for more details).

                In Klink et al. 2015 (n=34):
                    • There was no statistically significant difference in lumbar spine
                        BMD z-score from starting gender-affirming hormones to age
                        22 years in transfemales or transmales.
                    • Actual lumbar spine BMD values in g/cm2 were statistically
                        significantly higher at age 22 years compared with the start of
                        gender-affirming hormones in transfemales and transmales
                        (VERY LOW).

                In Stoffers et al. 2019 (n=62 at 6-month follow-up; n=15 at 24-month
                follow-up):
                     • There was no statistically significant difference in lumbar spine
                        BMD z-score in transmales from starting gender-affirming
                        hormones to any timepoint (6, 12 and 24 months).
                     • There was also no statistically significant difference in actual
                        lumbar spine BMD values in g/cm2 from starting gender-
                        affirming hormones to any timepoint (6, 12 and 24 months)
                        (VERY LOW).

                                        31
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 32 of 156



                   These studies provide very low certainty evidence that lumber
                   spine bone density (measured by BMAD) increases during
                   treatment with gender-affirming hormones (from baseline to
                   follow-up of 2 to 5 years). Z-scores at the end of follow-up suggest
                   the average lumbar spine bone density was generally lower than
                   the equivalent cisgender population (transfemales compared with
                   cis-males and transmales compared with cis-females). The results
                   for bone density (measured by BMD) were inconsistent.
Change in bone     This is an important outcome because childhood and adolescence is a
density: femoral   key time for bone development and gender-affirming hormones may
neck               affect bone development, as shown by changes in femoral neck bone
                   density.
Certainty of
evidence: very     Three uncontrolled, observational studies (2 retrospective and
low                1 prospective) provided evidence related to bone density: femoral neck
                   in children and adolescents with gender dysphoria. This was reported
                   as either bone mineral density (BMD), bone mineral apparent density
                   (BMAD), or both. One study reported change in bone density from start
                   of gender-affirming hormones to age 22 years (Klink et al. 2015). Two
                   studies reported change in bone density from start of gender-affirming
                   hormones up to 24-month follow-up (Stoffers et al. 2019 and Vlot et al.
                   2017). All participants had previously been treated with a GnRH
                   analogue. All outcomes were reported separately for transfemales and
                   transmales; also see subgroups table below.

                   Bone mineral apparent density (BMAD)
                   Two uncontrolled, observational studies reported change in femoral
                   neck BMAD (Klink et al. 2015; Vlot et al. 2017). See above for more
                   details on BMAD.

                   In Klink et al. 2015 (n=34):
                       • The z-score for femoral neck BMAD was reported for the start
                           of gender-affirming hormones but not at age 22 years in
                           transfemales or transmales. No statistical analysis reported.
                       • In transfemales there was no statistically significant difference
                           in actual femoral neck BMAD values in g/cm3 at age 22 years
                           compared with start of gender-affirming hormones. In
                           transmales actual lumbar spine BMAD values in g/cm3 were
                           statistically significantly higher at age 22 years compared with
                           start of gender-affirming hormones (mean [±SD]: start of
                           hormones 0.31 [±0.04], age 22 years 0.33 [±0.05], p=0.010)
                           (VERY LOW).

                   In Vlot et al. 2017 (n=70):
                       • In transfemales (all bone ages), there was no statistically
                           significant difference in femoral neck BMAD z-score from start
                           of gender-affirming hormones to 24-month follow-up.
                       • The z-score for femoral neck BMAD in transmales with a bone
                           age of <14 years was statistically significantly higher at 24-
                           month follow-up compared with start of gender-affirming
                           hormones (z-score [range]: start of hormones -0.37 [-2.28 to
                           0.47], 24-month follow-up -0.37 [-2.03 to 0.85], p≤0.01).
                           Statistically significant improvements in z-score for lumbar spine
                           BMAD in transmales with a bone age of ≥14 years were also

                                           32
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 33 of 156



                          seen (z-score [range]: start of hormones -0.27 [-1.91 to 1.29],
                          24-month follow-up 0.02 [-2.1 to 1.35], p≤0.05).
                      •   In transfemales of all bone ages, there was no statistically
                          significant change in actual femoral neck BMAD values in
                          g/cm3 from start of gender-affirming hormones to 24-month
                          follow-up. In transmales of all bone ages, actual femoral neck
                          BMAD values in g/cm3 were statistically significantly higher at
                          24-month follow-up compared with start of gender-affirming
                          hormones (VERY LOW).

                   Bone mineral density (BMD)
                   Two uncontrolled, observational studies reported change in femoral
                   neck BMD (Klink et al. 2015; Stoffers et al. 2019). See above for more
                   details on BMD.

                   In Klink et al. 2015 (n=34):
                       • In transfemales, there was no statistically significant difference
                           in femoral neck BMD z-score from start of gender-affirming
                           hormones to age 22 years. In transmales, femoral neck BMD z-
                           score was statistically significantly higher at age 22 years
                           compared with start of gender-affirming hormones (z-score
                           [SD]: start of hormones -0.35 [0.79], age 22 years -0.35 [0.74],
                           p=0.006).
                       • Actual femoral neck BMD values in g/cm2 were statistically
                           significantly higher at age 22 years compared with start of
                           gender-affirming hormones in transfemales and transmales
                           (VERY LOW).

                   In Stoffers et al. 2019 (n=62 at 6-month follow-up; n=15 at 24-month
                   follow-up):
                        • there was no statistically significant difference in right or left
                           femoral neck BMD z-score in transmales, from the start of
                           gender-affirming hormones to any timepoint (6, 12 and 24
                           months).
                        • There was also no statistically significant difference in
                           transmales in right or left actual femoral neck BMD values in
                           g/cm2 from start of gender-affirming hormones to any timepoint
                           (6, 12 and 24 months) (VERY LOW).

                   These studies provide very low certainty evidence that during
                   treatment with gender-affirming hormones from baseline to
                   follow-up of 2 to 5 years, femoral neck bone density (measured by
                   BMAD) was unchanged in transfemales but was statistically
                   significantly increased in transmales (although the absolute
                   change was small). Z-scores at the end of follow-up suggest that
                   average femoral neck bone density was lower in both transfemales
                   and transmales than in the equivalent cisgender population
                   (transfemales compared with cis-males and transmales compared
                   with cis-females). The results for bone density (measured by BMD)
                   were inconsistent.
Change in          This is an important outcome because the effect of gender-affirming
clinical           hormones on insulin sensitivity and cardiovascular risk in children and
parameters:        adolescents with gender dysphoria is unknown.
glucose, insulin
and HbA1c
                                           33
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 34 of 156



                 Two uncontrolled, retrospective chart reviews (Klaver et al. 2020;
Certainty of     Stoffers et al. 2019) provided evidence on glucose, insulin and HbA1c.
evidence: very   All outcomes were reported separately for transfemales and
low              transmales; also see subgroups table below.

                 Glucose levels, insulin levels and insulin resistance
                 One retrospective chart review (Klaver et al. 2020) reported
                 non-comparative evidence on the change in glucose levels, insulin
                 levels and insulin resistance (measured using Homeostatic Model
                 Assessment of Insulin Resistance [HOMA-IR]) between starting
                 gender-affirming hormones and age 22 years.

                 In Klaver et al. 2020 (n=192):
                     • There was no statistically significant change in glucose levels,
                        insulin levels and insulin resistance in transfemales.
                     • There was no statistically significant change in glucose levels
                        in transmales.
                     • There was a statistically significant decrease in insulin levels in
                        transmales (mean change [95% CI] -2.1 mU/L [-3.9 to -0.3],
                        p<0.05; mean insulin level at 22 years [95% CI] 8.6 mU/L [6.9
                        to 10.2]).
                     • There was a statistically significant decrease in insulin
                        resistance in transmales (HOMA-IR; mean change [95% CI] -
                        0.5 [-1.0 to -0.1], p<0.05; mean HOMA-IR at 22 years [95% CI]
                        1.8 [1.4 to 2.2]) (VERY LOW).

                 HbA1c
                 One retrospective chart review (Stoffers et al. 2019; n=62) reported
                 non-comparative evidence on the change in HbA1c in transmales
                 between starting gender-affirming hormones and 24-month follow-up.
                 There was no statistically significant change in HbA1c (VERY LOW).

                 These studies provide very low certainty evidence that gender-
                 affirming hormones do not affect HbA1c, glucose levels, insulin
                 levels and insulin resistance.
Change in        This is an important outcome because the effect of gender-affirming
clinical         hormones on lipid profiles and cardiovascular risk in children and
parameters:      adolescents with gender dysphoria is unknown.
lipids
                 One retrospective chart review (Klaver et al. 2020) provided non-
Certainty of     comparative evidence on the change in lipids (total cholesterol, HDL
evidence: very   cholesterol, LDL cholesterol and triglycerides) between starting gender-
low              affirming hormones and age 22 years. All outcomes were reported
                 separately for transfemales and transmales; also see subgroups table
                 below.

                 In Klaver et al. 2020 (n=192):
                     • There was no statistically significant change in total cholesterol,
                        HDL cholesterol and LDL cholesterol in transfemales.
                     • There was a statistically significant decrease (improvement) in
                        triglycerides in transfemales (mean change [95% CI]
                        +0.2 mmol/L [0.0 to 0.5], p<0.05; mean triglyceride level at 22
                        years [95% CI] 1.1 mmol/L [0.9 to 1.4]).
                     • There was a statistically significant increase in total cholesterol
                        in transmales (mean change [95% CI] +0.4 mmol/L [0.2 to 0.6],
                                          34
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 35 of 156



                        p<0.001; mean total cholesterol at 22 years [95% CI] 4.6 mmol/L
                        [4.3 to 4.8]).
                    •   There was a statistically significant decrease (worsening) in
                        HDL cholesterol (mean change in transmales [95% CI] -
                        0.3 mmol/L [-0.4 to -0.1], p<0.001; mean HDL cholesterol at 22
                        years [95% CI] 1.3 mmol/L [1.2 to 1.3]).
                    •   There was a statistically significant increase (worsening) in
                        LDL cholesterol in transmales (mean change [95% CI]
                        +0.4 mmol/L [0.2 to 0.6], p<0.001; mean LDL cholesterol at 22
                        years [95% CI] 2.6 mmol/L [2.4 to 2.8]).
                    •   There was a statistically significant increase (worsening) in
                        triglycerides in transmales (mean change [95% CI]
                        +0.5 mmol/L [0.3 to 0.7], p<0.001; mean triglyceride level at 22
                        years [95% CI] 1.3 mmol/L [1.1 to 1.5]) (VERY LOW).

                 This study provides very low certainty evidence that gender-
                 affirming hormones do not affect lipid profiles in transfemales. In
                 transmales, there was a small but statistically significant
                 worsening in cholesterol levels from start of gender-affirming
                 hormone treatment to age 22 years, but mean cholesterol and
                 triglyceride levels were within the UK reference range at the end
                 of treatment.
Change in        This is an important outcome because the effect of gender-affirming
clinical         hormones on blood pressure and cardiovascular risk in children and
parameters:      adolescents with gender dysphoria is unknown.
blood pressure
                 One retrospective chart review (Klaver et al. 2020) provided non-
Certainty of     comparative evidence on the change in blood pressure between
evidence: very   starting gender-affirming hormones and at age 22 years. All outcomes
low              were reported separately for transfemales and transmales; also see
                 subgroups table below.

                 In Klaver et al. 2020 (n=192):
                     • There was no statistically significant change in systolic blood
                        pressure (SBP) in transfemales. However, there was a
                        statistically significant increase in diastolic blood pressure
                        (DBP) in transfemales (mean change [95% CI] +6 mmHg [3 to
                        10], p<0.001; mean DBP at 22 years [95% CI] 75 [72 to 78]).
                     • In transmales, there was a statistically significant increase in
                        SBP (mean change [95% CI] +5 mmHg [1 to 9], p<0.05; mean
                        SBP at 22 years [95% CI] 126 [122 to 130]), and DBP (mean
                        change [95% CI] +6 mmHg [4 to 9], p<0.001; mean DBP at 22
                        years [95% CI] 74 [72 to 77]) (VERY LOW).

                 This study provides very low certainty evidence that gender-
                 affirming hormones statistically significantly increase blood
                 pressure from start of treatment to age 22 years, although the
                 absolute increase was small.
Change in        This is an important outcome because the effect of gender-affirming
clinical         hormones on weight gain and cardiovascular risk in children and
parameters:      adolescents with gender dysphoria is unknown.
body mass
index (BMI)      One retrospective chart review (Klaver et al. 2020) provided non-
                 comparative evidence on the change in body mass index (BMI)
                 between starting gender-affirming hormones and age 22 years. All
                                      35
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 36 of 156



Certainty of      outcomes were reported separately for transfemales and transmales;
evidence: very    also see subgroups table below.
low
                  In Klaver et al. 2020 (n=192):
                      • There was a statistically significant increase in BMI in
                         transfemales from the start of gender-affirming hormones to age
                         22 years (mean change [95% CI] +1.9 [0.6 to 3.2], p<0.005;
                         mean BMI at 22 years [95% CI] 23.2 [21.6 to 24.8]. At age 22
                         years, 9.9% of transfemales were obese, compared with 3.0%
                         in a reference population of cisgender men.
                      • There was a statistically significant increase in BMI in
                         transmales from the start of gender-affirming hormones to age
                         22 years (mean change [95% CI] +1.4 [0.8 to 2.0], p<0.005;
                         mean BMI at 22 years [95% CI] 23.9 [23.0 to 24.7]). At age 22
                         years, 6.6% of transmales were obese, compared with 2.2% in
                         a reference population of cisgender women (VERY LOW).

                  This study provides very low certainty evidence that gender-
                  affirming hormones statistically significantly increase BMI from
                  start of treatment to age 22 years, although most participants were
                  within the healthy weight range.
Change in         This is an important outcome because if treatment-induced liver injury
clinical          (raised liver enzymes are a marker of this) is suspected, gender-
parameters:       affirming hormones may need to be stopped.
liver function
                  One retrospective chart review (Stoffers et al. 2019) provided non-
Certainty of      comparative evidence on the change in liver enzymes in transmales
evidence: very    between starting gender-affirming hormones and up to 24-months
low               follow-up.

                  In Stoffers et al. 2019 (n=62):
                      • There was no statistically significant change in aspartate
                          aminotransferase (AST), alanine aminotransferase (ALT) and
                          gamma-glutamyltransferase (GCT) in transmales.
                      • There was a statistically significant increase in alkaline
                          phosphatase (ALP) levels from starting gender-affirming
                          hormones to 6- and 12-months follow-up, although by 24-
                          months the difference was not statistically significant (median
                          [IQR]: start of hormones 102 [78 to 136], 6-month follow-up 115
                          [102 to 147] p<0.001, 12-month follow-up 112 [88 to 143]
                          p<0.001) (VERY LOW).

                  This study provides very low certainty evidence that gender-
                  affirming hormones do not affect liver function in transmales from
                  baseline to 24 months follow-up.
Change in         This is an important outcome because if renal damage (raised serum
clinical          creatinine and urea are markers of this) is suspected, treatment with
parameters:       gender-affirming hormones may need to be stopped.
kidney function
                  One retrospective chart review (Stoffers et al. 2019) provided non-
Certainty of      comparative evidence on the change in serum creatinine and serum
evidence: very    urea levels in transmales between starting gender-affirming hormones
low               and up to 24-months follow-up.

                  In Stoffers et al. 2019 (n=62):
                                          36
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 37 of 156



                     •   There was a statistically significant increase in creatinine levels
                         in transmales at all timepoints up to 24 months (mean [SD]: start
                         of hormones 62 umol/L [7], 6 months 70 umol/L [9] , 12 months
                         74 umol/L [10], 24 months 81 umol/L [10], p<0.001).
                     •   There was no statistically significant change in urea in
                         transmales (follow-up duration not reported) (VERY LOW).

                  This study provides very low certainty evidence on the effects of
                  gender-affirming hormones on kidney function in transmales from
                  baseline to 24 months follow-up. A statistically significant
                  increase in creatinine levels was seen, but these were within the
                  UK reference range. Urea levels were unchanged.
Treatment         This is an important outcome because there is uncertainty about the
discontinuation   short- and long-term impact of stopping treatment with gender-affirming
                  hormones in children and adolescents with gender dysphoria.
Certainty of
evidence: very    One uncontrolled, retrospective chart review (Khatchadourian et al.
low               2014) provided evidence relating to permanent or temporary treatment
                  discontinuation in children and adolescents with gender dysphoria.

                  Khatchadourian et al. 2014 narratively reported treatment
                  discontinuation in a cohort of 63 adolescents (24 transfemales and 39
                  transmales) who received gender-affirming hormones:
                      • No participants permanently discontinued gender-affirming
                         hormones.
                      • No transfemales temporarily discontinued gender-affirming
                         hormones.
                      • Three transmales temporarily discontinued gender-affirming
                         hormones due to:
                             o mental health comorbidities (n=2)
                             o androgenic alopecia (n=1).
                         All 3 participants eventually resumed treatment, although
                         timescales were not reported (VERY LOW).

                  This study provides very low certainty evidence that the rates of
                  discontinuation during treatment with gender-affirming hormones
                  are low (duration of treatment not reported).
Adverse effects   This is an important outcome because if there are adverse effects,
                  gender-affirming hormones may need to be stopped.
Certainty of
evidence: very    One uncontrolled, retrospective chart review (Khatchadourian et al.
low               2014) provided evidence relating to adverse effects from gender-
                  affirming hormones in children and adolescents with gender dysphoria.

                  Khatchadourian et al. 2014 narratively reported adverse effects in a
                  cohort of 63 adolescents (24 transfemales and 39 transmales) receiving
                  treatment with gender-affirming hormones:
                      • No severe complications were reported.
                      • No transfemales reported minor complications.
                      • Twelve transmales developed minor complications, which were:
                              o severe acne, requiring isotretinoin treatment (n=7)
                              o androgenic alopecia (n=1)
                              o mild dyslipidaemia (further details not provided; n=3)
                              o significant mood swings (n=1) (VERY LOW).

                                          37
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 38 of 156



                      This study provides very low certainty evidence about the
                      potential adverse effects of gender-affirming hormones (duration
                      of treatment not reported). No conclusions could be drawn.
Abbreviations: ALP: alkaline phosphatase; ALT: alanine aminotransferase; AST: aspartate
aminotransferase; BMAD: bone mineral apparent density; BMD: bone mineral density; BMI:
body mass index; DBP: diastolic blood pressure; GGT: gamma-glutamyl transferase; HbA1c:
glycated haemoglobin; HDL: high-density lipoproteins; HOMA-IR: Homeostatic Model
Assessment of Insulin Resistance; IQR: interquartile range; LDL: low-density lipoproteins; p:
p-value; SBP: systolic blood pressure; SD: standard deviation.

In children and adolescents with gender dysphoria, what is the cost-
effectiveness of gender-affirming hormones compared to one or a combination
of psychological support, social transitioning to the desired gender or no
intervention?

 Outcome               Evidence statement
 Cost-                 No studies were identified to assess the cost-effectiveness of gender-
 effectiveness         affirming hormones for children and adolescents with gender
                       dysphoria.

From the evidence selected, are there any subgroups of children and
adolescents with gender dysphoria that may benefit from gender-affirming
hormones more than the wider population of interest?

 Subgroup              Evidence statement

 Sex assigned at       Some studies reported data separately for sex assigned at birth males
 birth males           (transfemales). This included some direct comparisons with sex
 (transfemales)        assigned at birth females (transmales).

 Certainty of          Impact on mental health: depression and anxiety
 evidence: Very        One uncontrolled, prospective, longitudinal study (Kuper et al. 2020)
 low                   reported the change in depression (measured using QIDS clinician-
                       reported and self-reported), anxiety and anxiety-related symptoms
                       (measured using SCARED) in transfemales. See the clinical
                       effectiveness results above for full details.

                       In Kuper et al. 2020 (n=33 to 45, varies by outcome), changes were
                       seen in depression, anxiety and anxiety-related symptoms from
                       baseline to follow-up but the authors did not report any statistical
                       analyses, so it is unclear if was any changes were statistically
                       significant (VERY LOW).

                       This study provides very low certainty evidence on the effects of
                       gender-affirming hormones on depression, anxiety and anxiety-
                       related symptoms over time in sex assigned at birth males
                       (transfemales; mean duration of treatment 10.9 months). No
                       conclusions could be drawn.

                       Impact on mental health: suicidality



                                             38
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 39 of 156



                 One uncontrolled, retrospective, longitudinal study (Allen et al. 2019)
                 reported the change in Ask Suicide-Screening Questions (ASQ) in
                 transfemales compared with transmales. See the clinical effectiveness
                 results above for full details.

                 Between baseline and the final assessment, there was no statistically
                 significant difference in change in ASQ score for transfemales
                 compared with transmales (p=0.79; n=47) (VERY LOW).

                 One uncontrolled, prospective, longitudinal study (Achille et al. 2020)
                 reported the change in suicidal ideation in transfemales measured
                 using additional questions from the PHQ 9_Modified for Teens. See
                 the clinical effectiveness results above for full details.

                 At baseline, 11.8% (2/17) of transfemales had suicidal ideation,
                 compared with 5.9% (1/17) at about 12-months follow-up (no
                 statistical analysis reported) (VERY LOW).

                 These studies provide very low certainty evidence that any
                 change in suicidal ideation is not different between sex assigned
                 at birth males (transfemales) and sex assigned at birth females
                 (transmales) from baseline to follow-up of about 12 months.

                 Impact on quality of life
                 One uncontrolled, retrospective, longitudinal study (Allen et al. 2019)
                 reported the change in the GWBS of the Paediatric Quality of Life
                 Inventory in transfemales compared with transmales. See the clinical
                 effectiveness results above for full details.

                 Between baseline and final assessment, there was no statistically
                 significant difference in change in GWBS of the Paediatric Quality of
                 Life Inventory for transfemales compared with transmales (p=0.32;
                 n=47) (VERY LOW).

                 This study provides very low certainty evidence that any change
                 in general wellbeing is not different between sex assigned at
                 birth males (transfemales) and sex assigned at birth females
                 (transmales) from baseline to follow-up of about 12 months.

                 Impact on body image
                 One uncontrolled, prospective, longitudinal study (Kuper et al. 2020)
                 reported change in Body Image Scale (BIS) in transfemales. See the clinical
                 effectiveness results above for full details.

                 In Kuper et al. 2020 (n=30), the mean (±SD) BIS score was 67.5 points
                 (±19.5) at baseline and 49.0 points (±21.6) at follow-up (no statistical analysis
                 reported) (VERY LOW).

                 This study provides very low certainty evidence on the effects of
                 gender-affirming hormones on body image over time in
                 transfemales (mean duration of treatment 10.9 months). No
                 conclusions could be drawn.

                 Change in bone density: lumbar spine


                                          39
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 40 of 156



                 Two uncontrolled, observational, retrospective studies provided
                 evidence relating to the effect of gender-affirming hormones on lumber
                 spine bone density in transfemales (Klink et al. 2015 and Vlot et al.
                 2017). See the safety results table above for a full description of the
                 results.

                 These studies provide very low certainty evidence that lumbar
                 spine bone density (measured by BMAD) increases during
                 treatment with gender-affirming hormones in sex assigned at
                 birth males (transfemales). Z-scores at the end of follow-up
                 suggest average lumbar spine bone density was generally lower
                 than in the equivalent cisgender population. The results for
                 lumbar spine bone density (measured by BMD) were
                 inconsistent.

                 Change in bone density: femoral neck
                 Two uncontrolled, observational, retrospective studies provided
                 evidence relating to the effect of gender-affirming hormones on
                 femoral neck bone density in transfemales (Klink et al. 2015 and Vlot
                 et al. 2017). See the safety results table above for a full description of
                 the results.

                 These studies provide very low certainty evidence that femoral
                 neck bone density (measured by BMAD) was unchanged in sex
                 assigned at birth males (transfemales) during treatment with
                 gender-affirming hormones (follow-up between 2 and 5 years). Z-
                 scores at the end of follow-up suggest and the average femoral
                 neck bone density was lower than in the equivalent cisgender
                 population. The results for femoral neck bone density (measured
                 by BMD) were inconsistent.

                 Change in clinical parameters: glucose, insulin and HbA1c
                 One uncontrolled, retrospective chart review (Klaver et al. 2020)
                 provided evidence on glucose, insulin and HbA1c in transfemales.
                 See the safety results table above for a full description of the results.

                 This study provided very low certainty evidence that gender-
                 affirming hormones do not affect HbA1c, glucose levels, insulin
                 levels and insulin resistance in sex assigned at birth males
                 (transfemales) from the start of treatment to age 22 years.

                 Change in clinical parameters: lipids
                 One retrospective chart review (Klaver et al. 2020) provided
                 evidence on the change in lipids (total cholesterol, HDL cholesterol,
                 LDL cholesterol and triglycerides) in transfemales. See the safety
                 results table above for a full description of the results.

                 This study provides very low certainty evidence that gender-
                 affirming hormones do not affect lipid profiles in sex assigned
                 at birth males (transfemales) from the start of treatment to age
                 22 years.

                 Change in clinical parameters: blood pressure



                                        40
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 41 of 156



                  One retrospective chart review (Klaver et al. 2020) provided
                  evidence on the change in blood pressure in transfemales. See the
                  safety results table above for a full description of the results.

                  This study provides very low certainty evidence that gender-
                  affirming hormones statistically significantly increase blood
                  pressure in sex assigned at birth males (transfemales),
                  although the absolute increase was small from the start of
                  treatment to age 22 years.

                  Change in clinical parameters: body mass index (BMI)
                  One retrospective chart review (Klaver et al. 2020) provided
                  evidence on the change in BMI in transfemales. See the safety
                  results table above for a full description of the results.

                  This study provides very low certainty evidence that gender-
                  affirming hormones statistically significantly increase BMI in
                  sex assigned at birth males (transfemales), although most
                  participants were within the healthy weight range from the start
                  of treatment to age 22 years.

                  Treatment discontinuation
                  One uncontrolled, retrospective chart review provided evidence
                  relating to permanent or temporary discontinuation of gender-affirming
                  hormones in transfemales (Khatchadourian et al. 2014).

                  This study provides very low certainty evidence that the rates of
                  discontinuation during treatment with gender-affirming
                  hormones in sex assigned at birth males (transfemales) are low.
                  Duration of treatment with gender-affirming hormones was not
                  reported.

                  Adverse effects
                  One uncontrolled, retrospective chart review provided evidence
                  relating to adverse effects from gender-affirming hormones in
                  transfemales (Khatchadourian et al. 2014).

                  This study provides very low certainty evidence about the
                  potential adverse effects of gender-affirming hormones in sex
                  assigned at birth males (transfemales). No conclusions could
                  be drawn. Duration of treatment with gender-affirming
                  hormones was not reported.
Sex assigned at   Some studies reported data separately for sex assigned at birth
birth females     females (transmales). This included some direct comparisons with sex
(transmales)      assigned at birth males (transfemales).

Certainty of      Impact on mental health: depression and anxiety
evidence: Very    One uncontrolled, prospective, longitudinal study (Kuper et al. 2020)
low               reported the change in depression (measured using QIDS clinician-
                  reported and self-reported), anxiety and anxiety-related symptoms
                  (measured using SCARED) in transmales. See the clinical
                  effectiveness results above for full details.

                  In Kuper et al. 2020 (n=65 to 78, varies by outcome), changes were
                  seen in depression, anxiety and anxiety-related symptoms from
                                        41
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 42 of 156



                 baseline to follow-up but the authors did not report any statistical
                 analysis, so it is unclear if any changes are statistically significant
                 (VERY LOW).

                 This study provides very low certainty evidence on the effects of
                 gender-affirming hormones on depression, anxiety and anxiety-
                 related symptoms over 10.9 months in transmales. No
                 conclusions could be drawn.

                 Impact on mental health: suicidality
                 One uncontrolled, retrospective, longitudinal study (Allen et al. 2019)
                 reported the change in Ask Suicide-Screening Questions (ASQ) in
                 transmales compared with transfemales. See the sex assigned at birth
                 males (transfemales) row above for full details of the results.

                 One uncontrolled, prospective, longitudinal study (Achille et al. 2020)
                 reported the change in suicidal ideation in transmales measured using
                 additional questions from the PHQ 9_Modified for Teens. See the
                 clinical effectiveness results above for full details.

                 At baseline, 9.1% (3/33) of transmales had suicidal ideation,
                 compared with 6.1% (2/33) at about 12-months follow-up (no
                 statistical analysis reported) (VERY LOW).

                 These studies provide very low certainty evidence that any
                 change in suicidal ideation is not different between sex assigned
                 at birth females (transmales) and sex assigned at birth males
                 (transfemales). Mean duration of treatment about 12 months.

                 Impact on quality of life
                 One uncontrolled, retrospective, longitudinal study (Allen et al. 2019)
                 reported the change in the GWBS of the Paediatric Quality of Life
                 Inventory in transmales compared with transfemales. See the sex
                 assigned at birth males (transfemales) row above for full details of the
                 results.

                 This study provides very low certainty evidence that any change
                 in general wellbeing is not different between sex assigned at
                 birth females (transmales) and sex assigned at birth males
                 (transfemales). Mean duration of treatment about 12 months.

                 Impact on body image
                 One uncontrolled, prospective, longitudinal study (Kuper et al. 2020)
                 reported change in Body Image Scale (BIS) in transmales. See the
                 clinical effectiveness results above for full details.

                 In Kuper et al. 2020 (n=66), the mean (±SD) BIS score was 71.1 points
                 (±13.4) at baseline and 52.9 points (±16.8) at follow-up (no statistical analysis
                 reported) (VERY LOW).

                 This study provides very low certainty evidence on the effects of
                 gender-affirming hormones on body image over 10.9 months in
                 transmales. No conclusions could be drawn.

                 Change in bone density: lumbar spine

                                          42
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 43 of 156



                 Three uncontrolled, observational, retrospective studies provided
                 evidence relating to the effect of gender-affirming hormones on lumber
                 spine bone density in transmales (Klink et al. 2015, Stoffers et al. 2019
                 and Vlot et al. 2017). See the safety results table above for a full
                 details of the results.

                 These studies provide very low certainty evidence that lumbar
                 spine bone density (measured by BMAD) increases during 2 to
                 5 years treatment with gender-affirming hormones in sex
                 assigned at birth females (transmales). Z-scores at the end of
                 follow-up suggest the average lumbar spine bone density was
                 generally lower than in the equivalent cisgender population. The
                 results for lumbar spine bone density (measured by BMD) were
                 inconsistent.

                 Change in bone density: femoral neck
                 Three uncontrolled, observational, retrospective studies provided
                 evidence relating to the effect of gender-affirming hormones on
                 femoral neck bone density in transmales (Klink et al. 2015, Stoffers et
                 al. 2019 and Vlot et al. 2017). See the safety results table above for a
                 full details of the results.

                 These studies provide very low certainty evidence that femoral
                 neck bone density (measured by BMAD) statistically significantly
                 increased in sex assigned at birth females (transmales) during 2
                 to 5 years treatment with gender-affirming hormones. Z-scores at
                 the end of follow-up suggest the average femoral neck bone
                 density was generally lower than in the equivalent cisgender
                 population. The results for femoral neck bone density (measured
                 by BMD) were inconsistent.

                 Change in clinical parameters: glucose, insulin and HbA1c
                 Two uncontrolled, retrospective chart reviews (Klaver et al. 2020;
                 Stoffers et al. 2019) provided evidence on glucose, insulin and HbA1c
                 in transmales. See the safety results table above for full details of the
                 results.

                 This study provided very low certainty evidence that gender-
                 affirming hormones do not affect HbA1c, glucose levels, insulin
                 levels and insulin resistance in sex assigned at birth females
                 (transmales). Reported from start of treatment to age 22 years.

                 Change in clinical parameters: lipids
                 One retrospective chart review (Klaver et al. 2020) provided
                 evidence on the change in lipids (total cholesterol, HDL cholesterol,
                 LDL cholesterol and triglycerides) in transmales. See the safety
                 results table above for full details of the results.

                 This study provides very low certainty evidence that treatment
                 with gender-affirming hormones is associated with a small but
                 statistically significant worsening of cholesterol levels in sex
                 assigned at birth females (transmales), but mean cholesterol
                 and triglyceride levels were within the UK reference range at
                 end of treatment, from start of treatment to age 22 years.


                                        43
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 44 of 156



                 Change in clinical parameters: blood pressure
                 One retrospective chart review (Klaver et al. 2020) provided
                 evidence on the change in blood pressure in transmales. See the
                 safety results table above for full details of the results.

                 This study provides very low certainty evidence that gender-
                 affirming hormones statistically significantly increase blood
                 pressure in sex assigned at birth females (transmales),
                 although the absolute increase was small, from start of
                 treatment to age 22 years.

                 Change in clinical parameters: body mass index (BMI)
                 One retrospective chart review (Klaver et al. 2020) provided
                 evidence on the change in body mass index (BMI) in transmales.
                 See the safety results table above for full details of the results.

                 This study provides very low certainty evidence that gender-
                 affirming hormones statistically significantly increase BMI in
                 sex assigned at birth females (transmales), although most
                 participants were within the healthy weight range, from start of
                 treatment to age 22 years.

                 Change in clinical parameters: liver function
                 One retrospective chart review (Stoffers et al. 2019) provided non-
                 comparative evidence on the change in liver enzymes in transmales
                 between starting gender-affirming hormones and up to 24-months
                 follow-up. See the safety results table above for full details of the
                 results.

                 This study provides very low certainty evidence that gender-
                 affirming hormones for about 12 months do not affect liver
                 function in sex assigned at birth females (transmales).

                 Change in clinical parameters: kidney function
                 One retrospective chart review (Stoffers et al. 2019) provided non-
                 comparative evidence on the change in serum creatinine and serum
                 urea levels in transmales between starting gender-affirming hormones
                 and up to 24-months follow-up. See the safety results table above for
                 full details of the results.

                 This study provides very low certainty evidence on the effects
                 of gender-affirming hormones on kidney function in sex
                 assigned at birth females (transmales). A statistically significant
                 increase in creatinine levels was seen at about 12 months
                 follow-up, but these were within the UK reference range. Urea
                 levels were unchanged.

                 Treatment discontinuation
                 One uncontrolled, retrospective chart review provided evidence
                 relating to permanent or temporary discontinuation of gender-affirming
                 hormones in transmales (Khatchadourian et al. 2014). See the safety
                 results table above for full details of the results.

                 This study provides very low certainty evidence that the rates of
                 treatment discontinuation with gender-affirming hormones in sex
                                       44
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 45 of 156



                    assigned at birth females (transmales) is low. Duration of gender-
                    affirming hormones not reported.

                    Adverse effects
                    One uncontrolled, retrospective chart review provided evidence for
                    adverse effects from gender-affirming hormones in transmales
                    (Khatchadourian et al. 2014). See the safety results table above for
                    full details of the results.

                    This study provides very low certainty evidence about the
                    potential adverse effects of gender-affirming hormones in sex
                    assigned at birth females (transmales). No conclusions could
                    be drawn. Duration of gender-affirming hormones not reported.
Duration of         No evidence was identified.
gender dysphoria
Age at onset of     No evidence was identified.
gender dysphoria
Age at onset of     No evidence was identified.
puberty
Tanner stage at     One uncontrolled, prospective, longitudinal study (Kuper et al. 2020)
which GnRH          reported the impact of Tanner stage on outcomes, although it is not
analogue or         clear whether this is referring to Tanner stage at initial assessment, at
gender-affirming    the start of GnRH analogues or at another timepoint.
hormones started
Diagnosis of        No evidence was identified.
autistic spectrum
disorder
Diagnosis of a      One uncontrolled, prospective, longitudinal study (Achille et al. 2020)
mental health       reported outcomes that were adjusted for engagement in counselling
condition           and medicines for mental health problems. Information about
                    diagnoses and treatment were not provided. Rates of mental health
                    issues appear to be high in the cohort.

                    Impact on mental health
                    Achille et al. 2020 reported the change in depression scores,
                    controlled for engagement in counselling and medicines for mental
                    health problems (measured using the Center for Epidemiologic
                    Studies Depression [CESD-R] scale and Patient Health Questionnaire
                    Modified for Teens [PHQ 9_Modified for Teens] score:
                        • There was no statistically significant change in CESD-R from
                             baseline to about 12-months follow-up.
                        • There was no statistically significant change in PHQ
                             9_Modified for Teens score from baseline to about 12-months
                             follow-up (VERY LOW).

                    Impact on quality of life
                    Achille et al. 2020 reported the change in quality of life scores,
                    controlled for engagement in counselling and medicines for mental
                    health problems (measured using the Quality of Life Enjoyment and
                    Satisfaction Questionnaire [QLES-Q-SF] score:
                        • There was no statistically significant change in QLES-Q-SF
                             score from baseline to about 12-months follow-up (VERY
                             LOW).


                                           45
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 46 of 156



                      This study provides very low certainty evidence about outcomes
                      that were adjusted for engagement in counselling and medicines
                      for mental health problems. No conclusions could be drawn.
Abbreviations: ASQ: Ask Suicide-Screening Questions; CESD-R: Center for Epidemiologic
Studies Depression; GnRH: Gonadotrophin releasing hormone; GWBS: General Well-Being
Scale; HDL: high-density lipoproteins; LDL: low-density lipoproteins; p: p-value; PHQ
9_Modified for Teens: Patient Health Questionnaire Modified for Teens; QLES-Q-SF: Quality
of Life Enjoyment and Satisfaction Questionnaire.

From the evidence selected,
(a)   what are the criteria used by the research studies to define gender
      dysphoria, gender identity disorder and gender incongruence of
      childhood?
(b)   what were the ages at which participants commenced treatment with
      gender-affirming hormones?
(c)   what was the duration of treatment with GnRH analogues?

 Outcome              Evidence statement
 Diagnostic           The DSM-IV-TR criteria was used in 3 studies (Klaver et al. 2020, Klink
 criteria             et al. 2015 and Vlot et al. 2017).

                      The DSM-V criteria was used in 2 studies (Kuper et al. 2020 and
                      Stoffers et al. 2019). The DSM-V has one overarching definition of
                      gender dysphoria with separate specific criteria for children and for
                      adolescents and adults. The general definition describes a conflict
                      associated with significant distress and/or problems functioning
                      associated with this conflict between the way they feel and think of
                      themselves which must have lasted at least 6 months.

                      The ICD-10 diagnosis of ‘transsexualism’ was used in 1 study (Kaltiala
                      et al. 2020). The authors state that this is the corresponding diagnosis
                      to ‘gender dysphoria’ in the DSM-V, and that diagnostic assessments
                      in the study location (Finland) take place according to ICD-10.

                      It was not reported how gender dysphoria was defined in the
                      remaining 4 studies (VERY LOW).

                      From the evidence selected, the most commonly reported
                      diagnostic criteria for gender dysphoria (5/10 studies) was the
                      DSM criteria in use at the time the study was conducted.
 Age when             8/10 studies reported the age at which participants started treatment
 gender-affirming     with gender-affirming hormones, either as the mean age (with SD) or
 hormones started     median age (with the range):

                       Study                      Mean age (± SD)
                       Allen et al. 2019          16.7 years (not reported)
                       Khatchadourian et al.      17.4 years (1.9)
                       2014
                       Klaver et al. 2020         16.4 years (1.1) in transfemales
                                                  16.9 years (0.9) in transmales
                       Kuper et al. 2020          16.2 (1.2)
                       Klink et al. 2015          16.6 years (1.4) in transfemales
                                                  16.4 years (2.3) in transmales
                                             46
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 47 of 156




                        Study                     Median age (range)
                        Stoffers et al. 2019      17.2 years (15 to 19.5)
                        Vlot et al. 2017          16.3 years (15.9 to 19.5) in transfemales
                                                  16.0 years (14.0 to 18.9) in transmales

                       Age at the start of treatment was not reported in 3 studies:
                          • In Achille et al. 2020 the mean age at initial assessment
                              (baseline) was 16.2 years (SD ±2.2)
                          • In Kaltiala et al. 2020 the mean age at diagnosis was
                              18.1 years (range 15.2 to 19.9)
                          • In Lopez de Lara et al. 2020 the mean age of participants was
                              16 years (range 14 to 18), although it is not clear if this is at
                              the initial assessment or at the start of gender-affirming
                              hormones.

                       The evidence included showed that most children and
                       adolescents started treatment with gender-affirming hormones
                       at about 16 to 17 years, with a range of about 14 to 19 years.
 Duration of           The duration of treatment with GnRH analogues was reported in
 treatment with        3/10 studies:
 GnRH analogues
                        Study                  Median duration
                        Klaver et al. 2020     2.1 years (IQR 1.0 to 2.7) in transfemales
                                               1.0 years (IQR 0.5 to 2.9) in transmales
                        Klink et al. 2015      1.3 years (range 0.5 to 3.8) in transfemales
                                               1.5 years (range 0.25 to 5.2) in transmales
                                               (GnRH analogue monotherapy)
                        Stoffers et al. 2019   8 months (range 3 to 39)

                      The evidence included showed wide variation in the duration of
                      treatment with gender-affirming hormones, but most studies did
                      not report this information. Treatment duration ranged from a few
                      months up to about 5 years.
Abbreviations: DSM, Diagnostic and Statistical Manual of Mental Disorders criteria; GnRH,
Gonadotrophin-releasing hormone; ICD, International Statistical Classification of Diseases
and Related Health Problems; IQR, interquartile range; SD, standard deviation.


6. Discussion

A key limitation to identifying the effectiveness and safety of gender-affirming hormones for
children and adolescents with gender dysphoria is the lack of reliable comparative studies.
All the studies included in this evidence review are uncontrolled observational studies, which
are subject to bias and confounding and were of very low certainty using modified GRADE.
The size of the population with gender dysphoria means conducting a prospective trial may
be unrealistic, at least on a single centre basis. There may also be ethical issues with a ‘no
treatment arm’ in comparative trials of gender-affirming hormones, where there may be poor
mental health outcomes if treatment is withheld. However, the use of an active comparator
such as close psychological support may reduce ethical concerns in future trials. A
fundamental limitation of all the uncontrolled studies included in this review is that any
changes in scores from baseline to follow-up could be attributed to a regression-to-the-
mean.
                                                47
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 48 of 156



The included studies have relatively short follow-up, with an average duration of treatment
with gender-affirming hormones between around 1 year and 5.8 years. Further studies with a
longer follow-up are needed to determine the long-term effect of gender-affirming hormones
for children and adolescents with gender dysphoria.

Most studies included in this review did not report comorbidities (physical or mental health)
and no study reported concomitant treatments in detail. Because of this it is not clear
whether any changes observed were due to gender-affirming hormones or other treatments
the participants may have received. For example, we do not know if any improvement in
depression symptom score over time was the result of gender-affirming hormones or the
mental health support the person may be receiving (including medicines or counselling). This
may be of particular importance for the mental health outcomes discussed in this review,
since depression, anxiety and other related symptoms are common in children and
adolescents with gender dysphoria. In Achille et al. 2020, at baseline around one-third of
participants were taking medicines for mental health problems and around two-thirds
reported being depressed in the past year. In Kaltiala et al. 2020, half the participants
needed mental health treatment during and before gender identity assessment, with the
most common reasons for treatment being depression, anxiety and suicidality. Only 1 study
reported outcomes adjusted for engagement in counselling and medicines for mental health
problems (Achille et al. 2020). This study found that gender-affirming hormones had no
significant impact on depression and quality of life when adjusted for mental health care,
despite significant approvements reported for the unadjusted results. However, it is not
possible to draw conclusions on the impact of concurrent mental health treatment on the
effect of gender-affirming hormones based on this study alone. Details of the mental health
care provided are not reported in the study and results are presented for transfemales and
transmales separately, resulting in small patient numbers and possible underpowering.

In most of the included studies, details of the gender-affirming hormone treatment regimens
are poorly reported, with limited information provided about the medicines, doses and routes
of administration used. It is not clear whether the interventions used in the studies are
reflective of current UK practice for children and adolescents with gender dysphoria. There is
also the suggestion that the hormone dose used in 1 study may have been too low; the
authors of Klink et al. 2015 suggest that the relatively low initial dose of oestrogen for
transfemales may be the reason for the observed lack of effect on lumber spine bone
density. Duration of treatment with a GnRH analogue is also poorly reported and is only
stated in 3/10 studies.

There is a degree of indirectness in some studies, with some participants included that fall
outside of the population of this evidence review. For example, in Kuper et al. 2020 17% of
participants received puberty suppression alone, and in Achille et al. 2020, 30% of
participants received no treatment or puberty suppression alone. Some results and statistical
analyses are only reported for the whole cohort in these studies and not the subgroup of
participants who received gender-affirming hormones.

Participant numbers are poorly reported in some of the included studies. In Achille et al.
2020, 47% (45/95) of the people who entered the study did not have follow-up data and
were excluded from the analyses, with no explanation or description of those people lost to
follow-up. In Kuper et al. 2020, the number of participants varied by outcome, with less than


                                             48
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 49 of 156



two-thirds of participants providing data for some outcomes. The authors provide no
explanation for this incomplete reporting.

It is not clear whether some outcome measures, specifically those related to psychosocial
functioning, are relevant to the UK population. In Kaltiala et al. 2020, an observational study
conducted in Finland, the proportion of participants living with parents or guardians is
reported as marker of appropriate functioning. The authors state that in Finnish culture
young people tend to leave the parental home early, with only around one-quarter of 20 to
24 year olds still living at home. This is lower than in the UK, where around half of 20 to
24 year olds live with their parents or guardians (ONS: Why are more young people living
with their parents?).

It is difficult to draw firm conclusions for many of the effectiveness and safety outcomes
reported in the included studies because many different scoring tools and methods were
used to assess the same outcome, often with conflicting results. For example, bone density
is reported as bone mineral density (BMD) and bone mineral apparent density (BMAD) in the
same study, the latter being a size-adjusted measure often useful for people whose bones
are still growing. For some populations (transfemale versus transmale) and bone regions
(lumber spine versus femoral neck), statistically significant differences in BMD are reported
but not for BMAD, and vice versa.

In addition to this, most outcomes reported across the included studies do not have an
accepted minimal clinically important difference (MCID), making it difficult the determine
whether any observed statistically significant changes are clinically meaningful. However,
the authors of some studies report thresholds to interpret the results of the scoring tools, so
some conclusions can be made. For example, the mean Utrecht Gender Dysphoria Scale
(UGDS) score (a measure of gender dysphoria symptoms) reduced to about 15 points after
treatment with gender-affirming hormones (Lopez de Lara et al. 2020). The authors state
that scores of 40 points or above signify gender dysphoria, suggesting that after about
12 months of treatment with gender-affirming hormones, the majority of participants did not
have symptoms of gender dysphoria.

The impact of gender-affirming hormones on bone density was reported in 3 studies (Klink et
al. 2015, Stoffers et al. 2019 and Vlot et al. 2017). Although these studies did not include a
control group, comparisons to a reference population are reported using z-scores.
Comparisons were made to a cisgender population, meaning for example that bone density
in transfemales was compared with bone density in cisgender males. The authors of Klink et
al. 2015 note that this may not be the ideal comparison, because androgens and oestrogens
affect bone differently, and that bone properties in a trans population differ from their age-
and sex assigned at birth-matched controls. Beyond this, a major limitation when trying to
determine the impact of gender-affirming hormones on the short- and long-term bone health
of children and adolescents is the lack of data on fracture rates and other patient-orientated
outcomes, including rates of osteoporosis. Studies of GnRH analogues in children and
adolescents with gender dysphoria suggest that GnRH analogue treatment may reduce the
expected increase in bone density (which is expected during puberty). Although
improvements in bone density were reported following treatment with gender-affirming
hormones, Z-scores suggest that bone density remained lower in transfemales and
transmales compared with an equivalent cisgender population.


                                               49
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 50 of 156



One study reported on cardiovascular risk factors at age 22 years in people who started
gender-affirming hormones for gender dysphoria as adolescents. While glucose levels,
insulin levels and insulin resistance were broadly unchanged at 22 years, statistically
significant increases in blood pressure and body mass index were seen. A small but
statistically significant worsening of the lipid profile in transmales who received testosterone
was also seen at age 22 years. However, further studies with a considerably longer follow-up
and a focus on patient-oriented outcomes, including cardiovascular events and mortality are
needed to determine the long-term impact on cardiovascular health of starting gender-
affirming hormones during childhood and adolescence.

Only 1 study reported adverse events and discontinuation rates with gender-affirming
hormones in children and adolescents. Conclusions on these outcomes cannot be made
based on this study alone.

This review did not identify sub-groups of people who may benefit more from gender-
affirming hormones. Limited evidence from 2 studies suggests there was no difference in
response to treatment between transfemales and transmales for mental health and quality of
life (Achille et al. 2020 and Allen et al. 2019).


7. Conclusion

This evidence review found limited evidence for the effectiveness and safety of gender-
affirming hormones in children and adolescents with gender dysphoria, with all studies being
uncontrolled, observational studies, and all outcomes of very low certainty. Any potential
benefits of treatment must be weighed against the largely unknown long-term safety profile of
these treatments.

The results from 5 uncontrolled, observational studies (Achille et al. 2020, Allen et al. 2019,
Kaltiala et al. 2020. Kuper et al. 2020, Lopez de Lara et al. 2020) suggest that, in children and
adolescents with gender dysphoria, gender-affirming hormones are likely to improve
symptoms of gender dysphoria, and may also improve depression, anxiety, quality of life,
suicidality, and psychosocial functioning. The impact of treatment on body image is unclear.
All results were of very low certainty. The clinical relevance of any improvements to the person
is difficult to determine because most outcomes do not have a recognised minimal clinically
important difference, and the authors do not present statistical analysis for some outcomes.

A further 5 uncontrolled, observational studies (Khatchadourian et al. 2014, Klaver et al. 2020,
Klink et al. 2015, Stoffers et al. 2019 and Vlot et al. 2017) reported on safety outcomes, all of
which provided very low certainty evidence. Statistically significant increases in some
measures of bone density were seen following treatment with gender-affirming hormones,
although results varied by bone region (lumber spine versus femoral neck) and by population
(transfemales versus transmales). However, z-scores suggest that bone density remained
lower in transfemales and transmales compared with an equivalent cisgender population.
Results from 1 study of gender-affirming hormones started during adolescence reported
statistically significant increases in blood pressure and body mass index, and worsening of
the lipid profile (in transmales) at age 22 years, although longer term studies that report on
cardiovascular event rates are needed. Adverse events and discontinuation rates associated
with gender-affirming hormones were only reported in 1 study, and no conclusions can be
made on these outcomes.
                                               50
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 51 of 156



This review did not identify sub-groups of people who may benefit more from gender-
affirming hormones. Limited evidence from 2 studies suggests there was no difference in
response to treatment between transfemales and transmales for mental health and quality of
life (Achille et al. 2020 and Allen et al. 2019).

No cost-effectiveness evidence was found to determine whether gender-affirming hormones
are a cost-effective treatment for children and adolescents with gender dysphoria.


Appendix A PICO

The review questions for this evidence review are:

       1. For children and adolescents with gender dysphoria, what is the clinical
          effectiveness of treatment with gender-affirming hormones compared with one or
          a combination of psychological support, social transitioning to the desired gender
          or no intervention?

       2. For children and adolescents with gender dysphoria, what is the short-term and
          long-term safety of gender-affirming hormones compared with one or a
          combination of psychological support, social transitioning to the desired gender or
          no intervention?

       3. For children and adolescents with gender dysphoria, what is the cost-
          effectiveness of gender-affirming hormones compared to one or a combination of
          psychological support, social transitioning to the desired gender or no
          intervention?

       4. From the evidence selected, are there particular sub-groups of children and
          adolescents with gender dysphoria that derive comparatively more (or less)
          benefit from treatment with gender-affirming hormones than the wider population
          of children and adolescents with gender dysphoria?

       5. From the evidence selected,

           (a)   what are the criteria used by the research studies to define gender
                 dysphoria, gender identity disorder and gender incongruence of childhood?

           (b)   what were the ages at which participants commenced treatment with
                 gender-affirming hormones?

           (c)   what was the duration of GnRH analogues treatment?

PICO table

                                     Children and adolescents aged 18 years or less who have
                                     gender dysphoria, gender identity disorder or gender
                                     incongruence of childhood as defined by the study.
 P –Population and Indication
                                     The following subgroups of children and adolescents with
                                     gender dysphoria, gender identity disorder or gender
                                     incongruence of childhood need to be considered:

                                             51
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 52 of 156



                            •   Sex assigned at birth males
                            •   Sex assigned at birth females
                            •   The duration of gender dysphoria: less than 6 months, 6-
                                24 months, and more than 24 months)
                            •   The age at which treatment was initiated with GnRH
                                analogues and with gender-affirming hormones.
                            •   The age of onset of gender dysphoria
                            •   The age of onset of puberty
                            •   Adolescents with gender dysphoria who have a pre-
                                existing diagnosis of autistic spectrum disorder.
                            •   Adolescents with gender dysphoria who had a significant
                                mental health symptom load at diagnosis including
                                anxiety, depression (with or without a history of self-harm
                                and suicidality), psychosis, personality disorder, Attention
                                Deficit Hyperactivity Disorder and eating disorders.

                            Gender-affirming hormone treatments:
                               • A testosterone preparation for sex assigned at birth
                                   female patients which may include testosterone in the
                                   form of Sustanon injections*; testosterone enantate
                                   injections; Tostran gel*; Testogel; Testim gel; oral
                                   testosterone capsules in the form of testosterone
                                   undecanoate ( Restandol); Andriol testocaps; Nebido

                                •   An oestradiol preparation** for sex assigned at birth
I – Intervention                    male patients which may include: oral estradiol
                                    valerate*; oestrogen patches (7β-oestradiol patches
                                    e.g. Evorel or Estradem); Estradot patches;
                                    ethinyloestradiol ***

                            *These are the used by Leeds Hospital, England.
                            ** Be aware that the American spelling is oestrogen without
                            the ‘o’.
                            ***Ethinyloestradiol is rarely used.

                            One or a combination of:
                            • Psychological support
                            • Social transitioning to the gender with which the individual
C – Comparator(s)
                               identifies.

                            No intervention
                            There are no known minimal clinically important differences
                            and there are no preferred timepoints for the outcome
                            measures selected.

                            All outcomes should be stratified by:

                                •   The age at which treatment with gender-affirming
                                    hormones was initiated
                                •   The length of treatment with GnRH analogues where
O – Outcomes                        possible.

                            A: Clinical Effectiveness

                            Critical to decision making

                                 • Impact on gender dysphoria
                            This outcome is critical because gender dysphoria in
                            adolescents and children is associated with significant
                            distress and problems functioning. Impact on gender
                                    52
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 53 of 156



                            dysphoria may be measured by the Utrecht Gender
                            Dysphoria Scale. Other measures as reported in studies may
                            be used as an alternative to the stated measure.

                                 • Impact on mental health
                            Examples of mental health problems include self-harm,
                            thoughts of suicide, suicide attempts, suicide, eating
                            disorders, depression/low mood and anxiety. These
                            outcomes are critical because self-harm and thoughts of
                            suicide have the potential to result in significant physical harm
                            and for completed suicides the death of the young person.
                            Disordered eating habits may cause significant morbidity in
                            young people. Depression and anxiety are also critical
                            outcomes because they may impact on social, occupational,
                            or other areas of functioning of children and adolescents. The
                            Child and Adolescent Psychiatric Assessment (CAPA) may
                            be used to measure depression and anxiety. The impact on
                            self-harm and suicidality (ideation and behaviour) may be
                            measured using the Suicide Ideation Questionnaire Junior.
                            Other measures may be used as an alternative to the stated
                            measure.

                                • Impact on Quality of Life
                            This outcome is critical because gender dysphoria in children
                            and adolescents may be associated with a significant
                            reduction in health-related quality of life. Quality of Life may
                            be measured by the KINDL questionnaire, Kidscreen 52.

                            Other measures as reported in studies may be used as an
                            alternative to the stated measures.

                            Important to decision making

                                • Impact on body image
                            This outcome is important because some young people with
                            gender dysphoria may desire to take steps to suppress
                            features of their physical appearance associated with their
                            sex assigned at birth or accentuate physical features of their
                            experienced gender. The Body Image Scale could be used as
                            a measure. Other measures as reported in studies may also
                            be used as an alternative to the stated measure.

                                 • Psychosocial Impact
                            Examples of psychosocial impact are: coping mechanisms
                            which may impact on substance misuse; family relationships;
                            peer relationships. This outcome is important because gender
                            dysphoria in adolescents and children is associated with
                            internalising and externalising behaviours and emotional and
                            behavioural problems which may impact on social and
                            occupational functioning. The child behavioural check list
                            (CBCL) may be used to measure the impact on psychosocial
                            functioning. Other measures as reported in studies may be
                            used as an alternative to the stated measure.

                                • Engagement with health care services
                            This outcome is important because patient engagement with
                            healthcare services will impact on their clinical outcomes.
                            Engagement with health care services may be measured
                            using the Youth Health Care measure-satisfaction, utilization,
                            and needs (YHC-SUN) questionnaire. Loss to follow up and

                                    53
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 54 of 156



                            should also be ascertained as part of this outcome.
                            Alternative measures to the YHC-SUN questionnaire may be
                            used as reported in studies.

                                •    Transitioning surgery - Impact on extent of and
                                     satisfaction with surgery
                            This outcome is important because some children and
                            adolescents with gender dysphoria may in adulthood proceed
                            to transitioning surgery. Stated measures of the extent of
                            surgery and satisfaction with surgery in studies may be
                            reported.

                                 • De-transition
                            The proportion of patients who de-transition following the
                            commencement of gender-affirming hormone treatment and
                            the reasons why. This outcome is important to patients
                            because there is uncertainty about the short and long term
                            safety and adverse effects of gender-affirming hormones in
                            children and adolescents with gender dysphoria.


                            B: Safety
                                • Short and long -term safety and adverse effects of
                                    taking gender-affirming hormones is important to
                                    assess whether treatment causes acute side effects
                                    that may lead to withdrawing the treatment or long
                                    term effects that may impact on decisions for
                                    transitioning or de-transitioning.

                            Aspects to be reported on should include
                            Impact of the drug use such as clinically relevant
                            derangement in renal and liver function tests, lipids, glucose,
                            insulin and glycosylated haemoglobin, cognitive development
                            and functioning.

                            The clinical and physical impact of temporary and permanent
                            withdrawal the drug such as when patients decide to de-
                            transition – e.g. delay in the attainment of peak bone mass,
                            attenuation of peak bone mass, permanent physical effects.

                            C: Cost effectiveness

                            Cost effectiveness studies should be reported.


Inclusion criteria

                            Systematic reviews, randomised controlled trials, controlled
                            clinical trials, cohort studies.
Study design
                            If no higher level quality evidence is found, case series can
                            be considered.

Language                    English only

Patients                    Human studies only

Age                         18 years or less

Date limits                 2000-2020

                                    54
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 55 of 156



 Exclusion criteria

                                       Conference abstracts, non-systematic reviews, narrative
 Publication type                      reviews, commentaries, letters, editorials, guidelines and pre-
                                       publication prints

 Study design                          Case reports, resource utilisation studies



Appendix B Search strategy

Medline, Embase, the Cochrane Library, HTA and APA PsycInfo were searched on 21 July
2020, limiting the search to papers published in English language in the last 20 years.
Conference abstracts, non-systematic reviews, narrative reviews, commentaries, letters,
editorials, guidelines, pre-publication prints, case reports and resource utilisation studies were
excluded.


Database: Medline
Platform: Ovid
Version: Ovid MEDLINE(R) <1946 to July 17, 2020>
Search date: 21 Jul 2020
Number of results retrieved: 650
Search strategy:
Database: Ovid MEDLINE(R) <1946 to July 17, 2020>
Search Strategy:
--------------------------------------------------------------------------------
1 Gender Dysphoria/ (485)
2 Gender Identity/ (18431)
3 "Sexual and Gender Disorders"/ (75)
4 Transsexualism/ (3758)
5 Transgender Persons/ (3134)
6 Health Services for Transgender Persons/ (136)
7 exp Sex Reassignment Procedures/ (835)
8 (gender* adj3 (dysphori* or incongru* or identi* or disorder* or confus* or minorit* or
queer*)).tw. (7223)
9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*).tw. (12665)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(102312)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (6969)
12 (male-to-female or m2f or female-to-male or f2m).tw. (114785)
13 or/1-12 (252562)
14 exp Infant/ or Infant Health/ or Infant Welfare/ (1137237)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born*
or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn.
(852126)
16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (1912796)
17 Minors/ (2572)
18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (2360626)
19 exp pediatrics/ (58102)
20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (835833)
21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (2023650)
22 Puberty/ (13277)
                                               55
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 56 of 156



23 (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(424041)
24 Schools/ (38087)
25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (7199)
26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (468784)
27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
or "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (89314)
28 (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (887443)
29 or/14-28 (5532185)
30 13 and 29 (79220)
31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
(7)
32 30 or 31 (79220)
33 Hormones/ad, tu, th (4514)
34 exp Progesterone/ad, tu, th (10899)
35 exp Estrogens/ad, tu, th (28936)
36 exp Gonadal Steroid Hormones/ad, tu, th (34137)
37 (progesteron* or oestrogen* or estrogen*).tw. (196074)
38 ((cross-sex or crosssex or gender-affirm*) and (hormon* or steroid* or therap* or
treatment* or prescri* or pharm* or medici* or drug* or intervention* or care)).tw. (544)
39 exp Estradiol/ad, tu, th (10823)
40 exp Testosterone/ad, tu, th (8318)
41 (testosteron* or sustanon* or tostran or testogel or testim or restandol or andriol or
testocaps* or nebido or testavan).tw. (74936)
42 (oestrad* or estrad* or evorel or ethinyloestrad* or ethinylestrad* or elleste or
progynova or zumenon or bedol or femseven or nuvelle).tw. (90464)
43 or/33-42 (304239)
44 32 and 43 (3183)
45 limit 44 to yr="2000 -Current" (2019)
46 animals/ not humans/ (4685420)
47 45 not 46 (1194)
48 limit 47 to english language (1155)
49 (MEDLINE or pubmed).tw. (163678)
50 systematic review.tw. (121198)
51 systematic review.pt. (130231)
52 meta-analysis.pt. (117148)
53 intervention$.ti. (123904)
54 or/49-53 (380217)
55 randomized controlled trial.pt. (509468)
56 randomi?ed.mp. (796957)
57 placebo.mp. (194937)
58 or/55-57 (848627)
59 exp cohort studies/ or exp epidemiologic studies/ or exp clinical trial/ or exp evaluation
studies as topic/ or exp statistics as topic/ (5562241)
60 ((control and (group* or study)) or (time and factors)).mp. (3274107)
61 (program or survey* or ci or cohort or comparative stud* or evaluation studies or follow-
up*).mp. (4624419)
62 or/59-61 (9030680)
63 Observational Studies as Topic/ (5177)
64 Observational Study/ (81866)
65 Epidemiologic Studies/ (8358)
                                               56
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 57 of 156



66     exp Case-Control Studies/ (1090891)
67     exp Cohort Studies/ (2011414)
68     Cross-Sectional Studies/ (332273)
69     Controlled Before-After Studies/ (526)
70     Historically Controlled Study/ (185)
71     Interrupted Time Series Analysis/ (913)
72     Comparative Study.pt. (1866044)
73     case control$.tw. (112152)
74     case series.tw. (59119)
75     (cohort adj (study or studies)).tw. (170281)
76     cohort analy$.tw. (6758)
77     (follow up adj (study or studies)).tw. (45131)
78     (observational adj (study or studies)).tw. (86247)
79     longitudinal.tw. (204239)
80     prospective.tw. (495367)
81     retrospective.tw. (442876)
82     cross sectional.tw. (284856)
83     or/63-82 (4368140)
84     54 or 58 or 62 or 83 (9402123)
85     48 and 84 (683)
86     limit 85 to (letter or historical article or comment or editorial or news or case reports)
(33)
87     85 not 86 (650)

Database: Medline in-process
Platform: Ovid
Version: Ovid MEDLINE(R) In-Process & Other Non-Indexed Citations <1946 to July 17,
2020>
Search date: 21 July 2020
Number of results retrieved: 122
Search strategy:
Database: Ovid MEDLINE(R) In-Process & Other Non-Indexed Citations <1946 to July 17,
2020>
Search Strategy:
--------------------------------------------------------------------------------
1 Gender Dysphoria/ (0)
2 Gender Identity/ (0)
3 "Sexual and Gender Disorders"/ (0)
4 Transsexualism/ (0)
5 Transgender Persons/ (0)
6 Health Services for Transgender Persons/ (0)
7 exp Sex Reassignment Procedures/ (0)
8 (gender* adj3 (dysphori* or incongru* or identi* or disorder* or confus* or minorit* or
queer*)).tw. (1473)
9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*).tw. (2315)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(20821)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (963)
12 (male-to-female or m2f or female-to-male or f2m).tw. (15453)
13 or/1-12 (39735)
14 exp Infant/ or Infant Health/ or Infant Welfare/ (0)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born*
or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn.
(80295)
                                                 57
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 58 of 156



16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (0)
17 Minors/ (0)
18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (320315)
19 exp pediatrics/ (0)
20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (119124)
21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (0)
22 Puberty/ (0)
23 (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(59969)
24 Schools/ (0)
25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (0)
26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (68979)
27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
or "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (10287)
28 (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (112220)
29 or/14-28 (523053)
30 13 and 29 (9143)
31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
(3)
32 30 or 31 (9144)
33 Hormones/ad, tu, th (0)
34 exp Progesterone/ad, tu, th (0)
35 exp Estrogens/ad, tu, th (0)
36 exp Gonadal Steroid Hormones/ad, tu, th (0)
37 (progesteron* or oestrogen* or estrogen*).tw. (13291)
38 ((cross-sex or crosssex or gender-affirm*) and (hormon* or steroid* or therap* or
treatment* or prescri* or pharm* or medici* or drug* or intervention* or care)).tw. (241)
39 exp Estradiol/ad, tu, th (0)
40 exp Testosterone/ad, tu, th (0)
41 (testosteron* or sustanon* or tostran or testogel or testim or restandol or andriol or
testocaps* or nebido or testavan).tw. (5458)
42 (oestrad* or estrad* or evorel or ethinyloestrad* or ethinylestrad* or elleste or
progynova or zumenon or bedol or femseven or nuvelle).tw. (4772)
43 or/33-42 (19706)
44 32 and 43 (316)
45 limit 44 to yr="2000 -Current" (303)
46 animals/ not humans/ (1)
47 45 not 46 (303)
48 limit 47 to english language (303)
49 (MEDLINE or pubmed).tw. (36030)
50 systematic review.tw. (29830)
51 systematic review.pt. (1007)
52 meta-analysis.pt. (49)
53 intervention$.ti. (21354)
54 or/49-53 (68976)
55 randomized controlled trial.pt. (277)
56 randomi?ed.mp. (74978)
57 placebo.mp. (18290)
58 or/55-57 (81427)
59 exp cohort studies/ or exp epidemiologic studies/ or exp clinical trial/ or exp evaluation
studies as topic/ or exp statistics as topic/ (455)
                                               58
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 59 of 156



60 ((control and (group* or study)) or (time and factors)).mp. (214372)
61 (program or survey* or ci or cohort or comparative stud* or evaluation studies or follow-
up*).mp. (339764)
62 or/59-61 (507046)
63 Observational Studies as Topic/ (0)
64 Observational Study/ (91)
65 Epidemiologic Studies/ (0)
66 exp Case-Control Studies/ (1)
67 exp Cohort Studies/ (1)
68 Cross-Sectional Studies/ (0)
69 Controlled Before-After Studies/ (0)
70 Historically Controlled Study/ (0)
71 Interrupted Time Series Analysis/ (0)
72 Comparative Study.pt. (46)
73 case control$.tw. (14451)
74 case series.tw. (13070)
75 (cohort adj (study or studies)).tw. (29119)
76 cohort analy$.tw. (1039)
77 (follow up adj (study or studies)).tw. (3540)
78 (observational adj (study or studies)).tw. (17421)
79 longitudinal.tw. (34485)
80 prospective.tw. (63689)
81 retrospective.tw. (73761)
82 cross sectional.tw. (60195)
83 or/63-82 (250805)
84 54 or 58 or 62 or 83 (687622)
85 48 and 84 (126)
86 limit 85 to (letter or historical article or comment or editorial or news or case reports) (4)
87 85 not 86 (122)


Database: Medline epubs ahead of print
Platform: Ovid
Version: Ovid MEDLINE(R) Epub Ahead of Print <July 17, 2020>
Search date: 21 July 2020
Number of results retrieved: 32
Search strategy:
Database: Ovid MEDLINE(R) Epub Ahead of Print <July 17, 2020>
Search Strategy:
--------------------------------------------------------------------------------
1 Gender Dysphoria/ (0)
2 Gender Identity/ (0)
3 "Sexual and Gender Disorders"/ (0)
4 Transsexualism/ (0)
5 Transgender Persons/ (0)
6 Health Services for Transgender Persons/ (0)
7 exp Sex Reassignment Procedures/ (0)
8 (gender* adj3 (dysphori* or incongru* or identi* or disorder* or confus* or minorit* or
queer*)).tw. (430)
9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*).tw. (637)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(1499)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (179)
12 (male-to-female or m2f or female-to-male or f2m).tw. (2460)
                                               59
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 60 of 156



13 or/1-12 (4883)
14 exp Infant/ or Infant Health/ or Infant Welfare/ (0)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born*
or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn.
(15416)
16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (0)
17 Minors/ (0)
18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (53285)
19 exp pediatrics/ (0)
20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (22649)
21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (0)
22 Puberty/ (0)
23 (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(13005)
24 Schools/ (0)
25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (0)
26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (12420)
27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
or "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (1407)
28 (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (20083)
29 or/14-28 (87968)
30 13 and 29 (1618)
31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
(1)
32 30 or 31 (1618)
33 Hormones/ad, tu, th (0)
34 exp Progesterone/ad, tu, th (0)
35 exp Estrogens/ad, tu, th (0)
36 exp Gonadal Steroid Hormones/ad, tu, th (0)
37 (progesteron* or oestrogen* or estrogen*).tw. (1876)
38 ((cross-sex or crosssex or gender-affirm*) and (hormon* or steroid* or therap* or
treatment* or prescri* or pharm* or medici* or drug* or intervention* or care)).tw. (63)
39 exp Estradiol/ad, tu, th (0)
40 exp Testosterone/ad, tu, th (0)
41 (testosteron* or sustanon* or tostran or testogel or testim or restandol or andriol or
testocaps* or nebido or testavan).tw. (846)
42 (oestrad* or estrad* or evorel or ethinyloestrad* or ethinylestrad* or elleste or
progynova or zumenon or bedol or femseven or nuvelle).tw. (665)
43 or/33-42 (2850)
44 32 and 43 (64)
45 limit 44 to yr="2000 -Current" (61)
46 animals/ not humans/ (0)
47 45 not 46 (61)
48 limit 47 to english language (61)
49 (MEDLINE or pubmed).tw. (7948)
50 systematic review.tw. (7508)
51 systematic review.pt. (28)
52 meta-analysis.pt. (37)
53 intervention$.ti. (4267)
54 or/49-53 (15048)
55 randomized controlled trial.pt. (1)
                                               60
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 61 of 156



56 randomi?ed.mp. (14113)
57 placebo.mp. (3097)
58 or/55-57 (15128)
59 exp cohort studies/ or exp epidemiologic studies/ or exp clinical trial/ or exp evaluation
studies as topic/ or exp statistics as topic/ (34)
60 ((control and (group* or study)) or (time and factors)).mp. (31615)
61 (program or survey* or ci or cohort or comparative stud* or evaluation studies or follow-
up*).mp. (65735)
62 or/59-61 (88222)
63 Observational Studies as Topic/ (0)
64 Observational Study/ (4)
65 Epidemiologic Studies/ (0)
66 exp Case-Control Studies/ (0)
67 exp Cohort Studies/ (0)
68 Cross-Sectional Studies/ (0)
69 Controlled Before-After Studies/ (0)
70 Historically Controlled Study/ (0)
71 Interrupted Time Series Analysis/ (0)
72 Comparative Study.pt. (0)
73 case control$.tw. (2577)
74 case series.tw. (2480)
75 (cohort adj (study or studies)).tw. (7959)
76 cohort analy$.tw. (287)
77 (follow up adj (study or studies)).tw. (632)
78 (observational adj (study or studies)).tw. (3763)
79 longitudinal.tw. (7079)
80 prospective.tw. (12148)
81 retrospective.tw. (16600)
82 cross sectional.tw. (9459)
83 or/63-82 (48534)
84 54 or 58 or 62 or 83 (119752)
85 48 and 84 (32)
86 limit 85 to (letter or historical article or comment or editorial or news or case reports) (0)
87 85 not 86 (32)

Database: Medline daily update
Platform: Ovid
Version: Ovid MEDLINE(R) Daily Update <July 21, 2020>
Search date: 22 July 2020
Number of results retrieved: 3
Search strategy

Database: Ovid MEDLINE(R) Daily Update <July 21, 2020>
Search Strategy:
--------------------------------------------------------------------------------
1 Gender Dysphoria/ (4)
2 Gender Identity/ (38)
3 "Sexual and Gender Disorders"/ (0)
4 Transsexualism/ (2)
5 Transgender Persons/ (26)
6 Health Services for Transgender Persons/ (1)
7 exp Sex Reassignment Procedures/ (3)
8 (gender* adj3 (dysphori* or incongru* or identi* or disorder* or confus* or minorit* or
queer*)).tw. (22)


                                               61
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 62 of 156



9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*).tw. (39)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(87)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (15)
12 (male-to-female or m2f or female-to-male or f2m).tw. (181)
13 or/1-12 (358)
14 exp Infant/ or Infant Health/ or Infant Welfare/ (932)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born*
or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (981)
16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (1756)
17 Minors/ (3)
18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (3672)
19 exp pediatrics/ (75)
20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (1658)
21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (2006)
22 Puberty/ (8)
23 (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(732)
24 Schools/ (56)
25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (5)
26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (622)
27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
or "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (98)
28 (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (1301)
29 or/14-28 (6705)
30 13 and 29 (130)
31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
(0)
32 30 or 31 (130)
33 Hormones/ad, tu, th (3)
34 exp Progesterone/ad, tu, th (3)
35 exp Estrogens/ad, tu, th (8)
36 exp Gonadal Steroid Hormones/ad, tu, th (22)
37 (progesteron* or oestrogen* or estrogen*).tw. (161)
38 ((cross-sex or crosssex or gender-affirm*) and (hormon* or steroid* or therap* or
treatment* or prescri* or pharm* or medici* or drug* or intervention* or care)).tw. (3)
39 exp Estradiol/ad, tu, th (8)
40 exp Testosterone/ad, tu, th (8)
41 (testosteron* or sustanon* or tostran or testogel or testim or restandol or andriol or
testocaps* or nebido or testavan).tw. (79)
42 (oestrad* or estrad* or evorel or ethinyloestrad* or ethinylestrad* or elleste or
progynova or zumenon or bedol or femseven or nuvelle).tw. (61)
43 or/33-42 (261)
44 32 and 43 (7)
45 limit 44 to yr="2000 -Current" (7)
46 animals/ not humans/ (3647)
47 45 not 46 (6)
48 limit 47 to english language (6)
49 (MEDLINE or pubmed).tw. (529)
50 systematic review.tw. (512)
                                               62
 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 63 of 156



51 systematic review.pt. (522)
52 meta-analysis.pt. (370)
53 intervention$.ti. (247)
54 or/49-53 (1065)
55 randomized controlled trial.pt. (595)
56 randomi?ed.mp. (1203)
57 placebo.mp. (219)
58 or/55-57 (1234)
59 exp cohort studies/ or exp epidemiologic studies/ or exp clinical trial/ or exp evaluation
studies as topic/ or exp statistics as topic/ (7958)
60 ((control and (group* or study)) or (time and factors)).mp. (4307)
61 (program or survey* or ci or cohort or comparative stud* or evaluation studies or follow-
up*).mp. (5828)
62 or/59-61 (11814)
63 Observational Studies as Topic/ (27)
64 Observational Study/ (449)
65 Epidemiologic Studies/ (7)
66 exp Case-Control Studies/ (2173)
67 exp Cohort Studies/ (3287)
68 Cross-Sectional Studies/ (837)
69 Controlled Before-After Studies/ (1)
70 Historically Controlled Study/ (0)
71 Interrupted Time Series Analysis/ (6)
72 Comparative Study.pt. (768)
73 case control$.tw. (182)
74 case series.tw. (139)
75 (cohort adj (study or studies)).tw. (561)
76 cohort analy$.tw. (22)
77 (follow up adj (study or studies)).tw. (40)
78 (observational adj (study or studies)).tw. (253)
79 longitudinal.tw. (429)
80 prospective.tw. (778)
81 retrospective.tw. (1032)
82 cross sectional.tw. (739)
83 or/63-82 (5471)
84 54 or 58 or 62 or 83 (12581)
85 48 and 84 (3)
86 limit 85 to (letter or historical article or comment or editorial or news or case reports) (0)
87 85 not 86 (3)

Database: Embase
Platform: Ovid
Version: Embase <1974 to 2020 July 22>
Search date: 23 July 2020
Number of results retrieved: 1207
Search strategy:

Database: Embase <1974 to 2020 July 22>
Search Strategy:
--------------------------------------------------------------------------------
1 exp Gender Dysphoria/ (5399)
2 Gender Identity/ (16820)
3 "Sexual and Gender Disorders"/ (24689)
4 Transsexualism/ (3869)
5 exp Transgender/ (6597)
                                                            63
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 64 of 156



6 Health Services for Transgender Persons/ (158848)
7 exp Sex Reassignment Procedures/ (1108)
8 (gender* adj3 (dysphori* or incongru* or identi* or disorder* or confus* or minorit* or
queer*)).tw. (12470)
9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*).tw. (22509)
10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(154446)
11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (10327)
12 (male-to-female or m2f or female-to-male or f2m).tw. (200166)
13 or/1-12 (581748)
14 exp juvenile/ or Child Behavior/ or Child Welfare/ or Child Health/ or infant welfare/ or
"minor (person)"/ or elementary student/ or adolescent health/ or middle school student/ or
high school student/ (3440943)
15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born*
or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn.
(1186161)
16 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (3586795)
17 exp pediatrics/ (106214)
18 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (1491597)
19 exp adolescence/ or exp adolescent behavior/ or adolescent health/ or high school
student/ or middle school student/ (105108)
20 (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(641660)
21 school/ or high school/ or kindergarten/ or middle school/ or primary school/ or nursery
school/ or day care/ (103791)
22 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (687437)
23 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
or "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (138908)
24 (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (1562903)
25 or/14-24 (7130881)
26 13 and 25 (181778)
27 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
(17)
28 26 or 27 (181778)
29 hormone/bd, ad, an, cr, do, it, dt, to, ei, ih, ia, ar, cv, dl, im, na, ip, ut, va, iv, ve, vi, po,
pa, pr, sc, li, th, tp, td (5160)
30 exp progesterone derivative/bd, ad, an, cr, do, it, dt, to, ei, ih, ia, ar, cv, dl, im, na, ip,
ut, va, iv, ve, vi, po, pa, pr, sc, li, th, tp, td (23479)
31 exp estrogen/bd, ad, an, cr, do, it, dt, to, ei, ih, ia, ar, cv, dl, im, na, ip, ut, va, iv, ve, vi,
po, pa, pr, sc, li, th, tp, td (57641)
32 steroid hormone/bd, ad, an, cr, do, it, dt, to, ei, ih, ia, ar, cv, dl, im, na, ip, ut, va, iv, ve,
vi, po, pa, pr, sc, li, th, tp, td (372)
33 sex hormone/bd, ad, an, cr, do, it, dt, to, ei, ih, ia, ar, cv, dl, im, na, ip, ut, va, iv, ve, vi,
po, pa, pr, sc, li, th, tp, td (1984)
34 hormonal therapy/ (42222)
35 (progesteron* or oestrogen* or estrogen*).tw. (254142)
36 ((cross-sex or crosssex or gender-affirm*) and (hormon* or steroid* or therap* or
treatment* or prescri* or pharm* or medici* or drug* or intervention* or care)).tw. (1224)
37 exp estradiol derivative/bd, ad, an, cr, do, it, dt, to, ei, ih, ia, ar, cv, dl, im, na, ip, ut, va,
iv, ve, vi, po, pa, pr, sc, li, th, tp, td (30740)
                                                  64
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 65 of 156



38 exp testosterone derivative/bd, ad, an, cr, do, it, dt, to, ei, ih, ia, ar, cv, dl, im, na, ip, ut,
va, iv, ve, vi, po, pa, pr, sc, li, th, tp, td (15868)
39 (testosteron* or sustanon* or tostran or testogel or testim or restandol or andriol or
testocaps* or nebido or testavan).tw. (99596)
40 (oestrad* or estrad* or evorel or ethinyloestrad* or ethinylestrad* or elleste or
progynova or zumenon or bedol or femseven or nuvelle).tw. (114290)
41 or/29-40 (438737)
42 28 and 41 (6053)
43 limit 42 to yr="2000 -Current" (4741)
44 nonhuman/ not human/ (4649157)
45 43 not 44 (3636)
46 limit 45 to english language (3513)
47 (MEDLINE or pubmed).tw. (261145)
48 exp systematic review/ or systematic review.tw. (302985)
49 meta-analysis/ (191173)
50 intervention$.ti. (200041)
51 or/47-50 (660206)
52 random:.tw. (1552336)
53 placebo:.mp. (455979)
54 double-blind:.tw. (210671)
55 or/52-54 (1807280)
56 cohort analysis/ (596360)
57 exp epidemiology/ (3434332)
58 exp clinical trial/ (1504711)
59 evaluation study/ (45870)
60 statistics/ (301181)
61 ((control and (group* or study)) or (time and factors)).mp. (3324555)
62 (program or survey* or ci or cohort or comparative stud* or evaluation studies or follow-
up*).mp. (6067112)
63 or/56-62 (11048972)
64 Clinical study/ (155444)
65 Case control study/ (157943)
66 Family study/ (26047)
67 Longitudinal study/ (141660)
68 Retrospective study/ (937696)
69 comparative study/ (859061)
70 Prospective study/ (613138)
71 Randomized controlled trials/ (182542)
72 70 not 71 (606604)
73 Cohort analysis/ (596360)
74 cohort analy$.tw. (13020)
75 (Cohort adj (study or studies)).tw. (302159)
76 (Case control$ adj (study or studies)).tw. (137432)
77 (follow up adj (study or studies)).tw. (63423)
78 (observational adj (study or studies)).tw. (168428)
79 (epidemiologic$ adj (study or studies)).tw. (106448)
80 (cross sectional adj (study or studies)).tw. (220073)
81 case series.tw. (104089)
82 prospective.tw. (861922)
83 retrospective.tw. (886445)
84 or/64-69,72-83 (4047788)
85 51 or 55 or 63 or 84 (12494560)
86 46 and 85 (2151)
87 86 not (letter or editorial).pt. (2137)


                                                 65
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 66 of 156



88 87 not (conference abstract or conference paper or conference proceeding or
"conference review").pt. (1207)


Database: APA PsycInfo

Platform: Ovid
Version: APA PsycInfo <1806 to July Week 2 2020>
Search date: 22 July 2020
Number of results retrieved: 581
Search strategy:

Database: APA PsycInfo <1806 to July Week 2 2020>
Search Strategy:
--------------------------------------------------------------------------------
1 Gender Dysphoria/ (936)
2 Gender Identity/ (8648)
3 Transsexualism/ (2825)
4 Transgender/ (5257)
5 exp Gender Reassignment/ (568)
6 (gender* adj3 (dysphori* or incongruen* or identi* or disorder* or confus* or minorit* or
queer*)).tw. (15276)
7 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*).tw. (13028)
8 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
(7679)
9 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (5796)
10 (male-to-female or m2f or female-to-male or f2m).tw. (63688)
11 or/1-10 (99498)
12 exp Infant Development/ (21841)
13 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born*
or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn.
(150219)
14 Child Characteristics/ or exp Child Behavior/ or Child Psychology/ or exp Child
Welfare/ or Child Psychiatry/ (23423)
15 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (984230)
16 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (78962)
17 Adolescent Psychiatry/ or Adolescent Behavior/ or Adolescent Development/ or
Adolescent Psychology/ or Adolescent Characteristics/ or Adolescent Health/ (62142)
18 Puberty/ (2753)
19 (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
(347604)
20 Schools/ (29181)
21 Child Day Care/ or Nursery Schools/ (2836)
22 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
pupil* or student*).ti,ab,jn. (772814)
23 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
or "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
aged)).ti,ab. (21475)
24 (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
adj2 (year or years or age or ages or aged)).ti,ab. (285697)
25 or/12-24 (1765408)
26 11 and 25 (49560)
27 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
(14)
                                                            66
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 67 of 156



28 26 or 27 (49561)
29 hormones/ (8408)
30 sex hormones/ (1777)
31 exp progestational hormones/ (2409)
32 estrogens/ (3889)
33 steroids/ (3797)
34 (progesteron* or oestrogen* or estrogen*).tw. (11188)
35 ((cross-sex or crosssex or gender-affirm*) and (hormon* or steroid* or therap* or
treatment* or prescri* or pharm* or medici* or drug* or intervention* or care)).tw. (457)
36 estradiol/ (3120)
37 testosterone/ (5606)
38 (testosteron* or sustanon* or tostran or testogel or testim or restandol or andriol or
testocaps* or nebido or testavan).tw. (9625)
39 (oestrad* or estrad* or evorel or ethinyloestrad* or ethinylestrad* or elleste or
progynova or zumenon or bedol or femseven or nuvelle).tw. (6741)
40 or/29-39 (30344)
41 28 and 40 (1005)
42 limit 41 to yr="2000 -Current" (749)
43 limit 42 to english language (692)
44 limit 43 to ("0200 book" or "0240 authored book" or "0280 edited book" or "0300
encyclopedia" or "0400 dissertation abstract") (111)
45 43 not 44 (581)


Database: Cochrane Library – incorporating Cochrane Database of Systematic
Reviews (CDSR); CENTRAL

Platform: Wiley
Version:
       CDSR –Issue 7 of 12, July 2020
       CENTRAL – Issue 7 of 12, July 2020
Search date: 22 July 2020
Number of results retrieved: CDSR 0 ; CENTRAL 67.

ID     Search Hits
#1     MeSH descriptor: [Gender Dysphoria] this term only3
#2     MeSH descriptor: [Gender Identity] this term only 227
#3     MeSH descriptor: [Sexual and Gender Disorders] this term only 2
#4     MeSH descriptor: [Transsexualism] this term only 27
#5     MeSH descriptor: [Transgender Persons] this term only        36
#6     MeSH descriptor: [Health Services for Transgender Persons] this term only            0
#7     MeSH descriptor: [Sex Reassignment Procedures] explode all trees             4
#8     (gender* near/3 (dysphori* or incongru* or identi* or disorder* or confus* or minorit*
or queer*)):ti,ab,kw 702
#9     (transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*):ti,ab,kw 959
#10    (trans or crossgender* or cross-gender* or crossex* or cross-sex* or
genderqueer*):ti,ab,kw        3969
#11    ((sex or gender*) near/3 (reassign* or chang* or transform* or transition*)):ti,ab,kw
       524
#12    (male-to-female or m2f or female-to-male or f2m):ti,ab,kw 516
#13    #1 or #2 or #3 or #4 or #5 or #6 or #7 or #8 or #9 or #10 or #11 or #12      6413
#14    MeSH descriptor: [Infant] explode all trees 28440
#15    MeSH descriptor: [Infant Health] this term only       49
#16    MeSH descriptor: [Infant Welfare] this term only      82

                                              67
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 68 of 156



#17     (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born*
or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*):ti,ab,kw,so
        89530
#18     MeSH descriptor: [Child] explode all trees 44089
#19     MeSH descriptor: [Child Behavior] explode all trees 2061
#20     MeSH descriptor: [Child Health] this term only           98
#21     MeSH descriptor: [Child Welfare] this term only          325
#22     MeSH descriptor: [Minors] this term only         8
#23     (child* or minor or minors or boy* or girl* or kid or kids or young*):ti,ab,kw,so
        265417
#24     MeSH descriptor: [Pediatrics] explode all trees          661
#25     (pediatric* or paediatric* or peadiatric*):ti,ab,kw,so 57725
#26     MeSH descriptor: [Adolescent] this term only             102154
#27     MeSH descriptor: [Adolescent Behavior] this term only            1358
#28     MeSH descriptor: [Adolescent Health] this term only29
#29     MeSH descriptor: [Puberty] this term only 295
#30     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or
prepubert* or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or
under*age*):ti,ab,kw,so          140927
#31     MeSH descriptor: [Schools] this term only 1914
#32     MeSH descriptor: [Child Day Care Centers] this term only 231
#33     MeSH descriptor: [Nurseries, Infant] explode all trees           17
#34     MeSH descriptor: [Schools, Nursery] this term only 37
#35     (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school*
or pupil* or student*):ti,ab,kw,so       97810
#36     (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
or "sixteen" or "seventeen" or "eighteen" or "nineteen") near/2 (year or years or age or ages
or aged)):ti,ab 6710
#37     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
near/2 (year or years or age or ages or aged)):ti,ab 196881
#38     #14 or #15 or #16 or #17 or #18 or #19 or #20 or #21 or #22 or #23 or #24 or #25 or
#26 or #27 or #28 or #29 or #30 or #31 or #32 or #33 or #34 or #35 or #36 or #37 516067
#39     #13 and #38 2488
#40     (transchild* or transyouth* or transteen* or transadoles* or transgirl* or
transboy*):ti,ab,kw      0
#41     #39 or #40       2488
#42     MeSH descriptor: [Hormones] this term only 2241
#43     MeSH descriptor: [Progesterone] explode all trees 3135
#44     MeSH descriptor: [Estrogens] explode all trees           1841
#45     MeSH descriptor: [Gonadal Steroid Hormones] explode all trees 10747
#46     (progesteron* or oestrogen* or estrogen*):ti,ab,kw 18387
#47     ((cross-sex or crosssex or gender-affirm*) and (hormon* or steroid* or therap* or
treatment* or prescri* or pharm* or medici* or drug* or intervention* or care)):ti,ab,kw          24
#48     MeSH descriptor: [Estradiol] explode all trees           4434
#49     MeSH descriptor: [Testosterone] explode all trees 2945
#50     (testosteron* or sustanon* or tostran or testogel or testim or restandol or andriol or
testocaps* or nebido or testavan):ti,ab,kw 7386
#51     (oestrad* or estrad* or evorel or ethinyloestrad* or ethinylestrad* or elleste or
progynova or zumenon or bedol or femseven or nuvelle):ti,ab,kw 11410
#52     #42 or #43 or #44 or #45 or #46 or #47 or #48 or #49 or #50 or #51               31870
#53     #41 and #52 121
#54     "conference":pt or (clinicaltrials or trialsearch):so    492465
#55     #53 not #54 72

Database: HTA
                                                 68
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 69 of 156



Platform: Wiley
Version: up to 2018
Search date: 22nd July 2020
Number of results retrieved: 4
Search strategy:

#1      MeSH DESCRIPTOR Gender Dysphoria                 0
#2      MeSH DESCRIPTOR Gender Identity                  12
#3      MeSH DESCRIPTOR Sexual and Gender Disorders                      2
#4      MeSH DESCRIPTOR Transsexualism                   12
#5      MeSH DESCRIPTOR Transgender Persons 3
#6      MeSH DESCRIPTOR Health Services for Transgender Persons 0
#7      MeSH DESCRIPTOR Sex Reassignment Procedures EXPLODE ALL TREES                              1
#8      ((gender* near3 (dysphori* or incongru* or identi* or disorder* or confus* or minorit*
or queer*))) 28
#9      ((transgend* or transex* or transsex* or transfem* or transwom* or transma* or
transmen* or transperson* or transpeopl*)) 76
#10     ((trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*))
        83
#11     (((sex or gender*) near3 (reassign* or chang* or transform* or transition*)))              24
#12     ((male-to-female or m2f or female-to-male or f2m)) 86
#13     #1 OR #2 OR #3 OR #4 OR #5 OR #6 OR #7 OR #8 OR #9 OR #10 OR #11 OR #12
        261
#14     MeSH DESCRIPTOR Infant EXPLODE ALL TREES                         2964
#15     MeSH DESCRIPTOR Infant Health 0
#16     MeSH DESCRIPTOR Infant Welfare 22
#17     ((prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-
born* or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*))
        5510
#18     MeSH DESCRIPTOR Child EXPLODE ALL TREES 4935
#19     MeSH DESCRIPTOR Child Behavior EXPLODE ALL TREES                          64
#20     MeSH DESCRIPTOR Child Health 2
#21     MeSH DESCRIPTOR Child Welfare 80
#22     MeSH DESCRIPTOR Minors 2
#23     ((child* or minor or minors or boy* or girl* or kid or kids or young*)) 13575
#24     MeSH DESCRIPTOR Pediatrics EXPLODE ALL TREES 119
#25     ((pediatric* or paediatric* or peadiatric*))     2842
#26     MeSH DESCRIPTOR Adolescent               4594
#27     MeSH DESCRIPTOR Adolescent Behavior 94
#28     MeSH DESCRIPTOR Adolescent Health                0
#29     MeSH DESCRIPTOR Puberty                  3
#30     ((adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or
prepubert* or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or
under*age*)) 5621
#31     MeSH DESCRIPTOR Schools                  168
#32     MeSH DESCRIPTOR Child Day Care Centers                   12
#33     MeSH DESCRIPTOR Schools, Nursery                 3
#34     ((pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school*
or pupil* or student*)) 4454
#35     ((("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
or "sixteen" or "seventeen" or "eighteen" or "nineteen") near2 (year or years or age or ages
or aged)))       380
#36     ((("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or
"19") near2 (year or years or age or ages or aged))) 7996


                                                 69
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 70 of 156



#37   #14 OR #15 OR #16 OR #17 OR #18 OR #19 OR #20 OR #21 OR #22 OR #23 OR
#24 OR #25 OR #26 OR #27 OR #28 OR #29 OR #30 OR #31 OR #32 OR #33 OR #34 OR
#35 OR #36 22640
#38   #13 AND #37 116
#39   (#13 AND #37) IN HTA     4


Appendix C Evidence selection

The literature searches identified 1,997 references. These were screened using their titles
and abstracts and 54 references were obtained and assessed for relevance. Of these,
10 references are included in the evidence review. The remaining 44 references were
excluded and are listed in appendix D.

Figure 1 – Study selection flow diagram

                                                   Titles and abstracts
                                                   identified, N= 1,997




                           Full copies retrieved                       Excluded, N= 1,943 (not
                             and assessed for                        relevant population, design,
                             eligibility, N= 54                       intervention, comparison,
                                                                         outcomes, unable to
                                                                               retrieve)



       Publications included in            Publications excluded
            review, N= 10                   from review, N= 44
                                             (refer to excluded
                                                 studies list)




References submitted with Preliminary Policy Proposal

There is no preliminary policy proposal for this policy.


Appendix D Excluded studies table

 Study reference                                                          Reason for exclusion
 Aranda G, Mora M, Hanzu FA et al. (2019) Effects                         Excluded on population – adult
 of sex steroids on cardiovascular risk profile in                        study, participants not 18 years or
 transgender men under gender affirming hormone                           less (mean age 27.1 years).
 therapy. Endocrinologia, diabetes y nutricion 66(6):
 385–392
 Arnold, Justin D, Sarkodie, Eleanor P, Coleman,                          Excluded on population – adult
 Megan E et al. (2016) Incidence of Venous                                study, participants not 18 years or
 Thromboembolism in Transgender Women                                     less (mean age 33.2 years).

                                                          70
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 71 of 156



Study reference                                      Reason for exclusion
Receiving Oral Estradiol. The journal of sexual
medicine 13(11): 1773–1777
Asscheman, Henk, Giltay, Erik J, Megens, Jos A J     Excluded on population – although
et al. (2011) A long-term follow-up study of         some participants started gender-
mortality in transsexuals receiving treatment with   affirming hormones when young, the
cross-sex hormones. European journal of              study does not report the proportion
endocrinology 164(4): 635–42                         who started treatment when
                                                     18 years or less. Mean ages at start
                                                     of treatment were 31.4 years
                                                     (transfemales) and 26.1 years
                                                     (transmales), suggesting the
                                                     majority of participants were older
                                                     than 18 years at the start of
                                                     treatment. Outcomes not reported
                                                     separately for people aged 18 years
                                                     or less.
Author not, found (2014) Hormone therapy for the     Full text paper not available.
treatment of gender dysphoria. Lansdale, PA:
HAYES, Inc
Baba, T., Endo, T., Honnma, H. et al. (2007)         Excluded on population – although
Association between polycystic ovary syndrome        study included some younger
and female-to-male transsexuality. Human             people (age range 17 to 47), most
Reproduction 22(4): 1011–1016                        participants were adults (mean age
                                                     around 25 years) and the proportion
                                                     who started treatment when
                                                     18 years or less is not reported.
                                                     Outcomes not reported separately
                                                     for people aged 18 years or less.
Becerra-Fernandez A, Perez-Lopez G, Roman MM         Excluded on population – although
et al. (2014) Prevalence of hyperandrogenism and     study included some younger
polycystic ovary syndrome in female to male          people (age range 18 to 45), most
transsexuals. Endocrinologia y Nutricion: Organo     participants were adults (mean age
de la Sociedad Espanola de Endocrinologia y          around 25 years) and the proportion
Nutricion 61(7): 351–8                               who started treatment when
                                                     18 years or less is not reported.
                                                     Outcomes not reported separately
                                                     for people aged 18 years or less.
Becker I, Auer M, Barkmann C et al. (2018) A         Excluded on population – study
Cross-Sectional Multicenter Study of                 included people aged 14 to 21
Multidimensional Body Image in Adolescents and       years. Outcomes not reported
Adults with Gender Dysphoria Before and After        separately for people aged 18 years
Transition-Related Medical Interventions. Archives   or less.
of Sexual Behavior 47(8): 2335–2347                  Better evidence available – only 11
                                                     participants received gender-
                                                     affirming hormones. The majority of
                                                     the study cohort were either pre-
                                                     treatment, received puberty
                                                     suppression alone, or received
                                                     hormones and underwent surgery.
Chew D, Anderson J, Williams K et al. (2018)         Excluded on better available
Hormonal Treatment in Young People With Gender       evidence - systematic review did not
Dysphoria: A Systematic Review. Pediatrics           meta-analyse results from.
141(4): e20173742                                    Individual studies from this
                                                     systematic review are either
                                           71
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 72 of 156



Study reference                                         Reason for exclusion
                                                        included, or excluded because they
                                                        did not meet the PICO criteria.
Connolly MD, Zervos MJ, Barone CJ 2nd et al.            Excluded on intervention - review
(2016) The Mental Health of Transgender Youth:          did not investigate gender-affirming
Advances in Understanding. The Journal of               hormones
Adolescent Health: Official Publication of the
Society for Adolescent Medicine 59(5): 489–495
de Vries ALC, McGuire JK, Steensma TD et al.            Exclude on intervention – all
(2014) Young adult psychological outcome after          participants had surgery after
puberty suppression and gender reassignment.            gender-affirming hormones. Unable
Pediatrics 134(4): 696–704                              to determine whether changes were
                                                        due to hormones or surgery.
                                                        Complete data only available for 40
                                                        patients. Details of gender-affirming
                                                        hormones are poorly reported.
                                                        Outcomes reported in other study
                                                        (with a population that more closely
                                                        matches PICO)
Elamin MB, Garcia MZ, Murad MH et al. (2010)            Exclude on population – all included
Effect of sex steroid use on cardiovascular risk in     studies conducted in adult
transsexual individuals: a systematic review and        population. Unclear whether
meta-analyses. Clinical Endocrinology 72(1): 1–10       hormones were started when
                                                        participants were aged 18 years or
                                                        less. Outcomes not reported by age
                                                        at treatment initiation.
Fernandez JD and Tannock LR (2016) Metabolic            Excluded on population – adult
effects of hormone therapy in transgender patients.     study, participants not 18 years or
Endocrine Practice: Official Journal of the             less (mean ages 31 and 27 years).
American College of Endocrinology and the
American Association of Clinical Endocrinologists
22(4): 383–8
Fighera TM, Ziegelmann PK, Da Silva TR et al.           Excluded on population – all
(2019) Bone mass effects of cross-sex hormone           included studies conducted in adult
therapy in transgender people: Updated systematic       population. Unclear whether
review and meta-analysis. Journal of the Endocrine      hormones were started when
Society 3(5): 943–964                                   participants were aged 18 years or
                                                        less. Outcomes not reported by age
                                                        at treatment initiation.
Getahun D, Nash R, Flanders WD et al. (2018)            Excluded on population – adult
Cross-sex Hormones and Acute Cardiovascular             study, participants not 18 years or
Events in Transgender Persons: A Cohort Study.          less.
Annals of Internal Medicine 169(4): 205–213
Gomez-Gil E, Zubiaurre-Elorza L, de Antonio IE et       Excluded on population – although
al. (2014) Determinants of quality of life in Spanish   study included some younger
transsexuals attending a gender unit before genital     people (age range 16 to 67), most
sex reassignment surgery. Quality of Life               participants were adults (mean age
Research: an International Journal of Quality of Life   31.2 years) and the proportion who
Aspects of Treatment, Care and Rehabilitation           started treatment when 18 years or
23(2): 669–76                                           less is not reported. Outcomes not
                                                        reported separately for people aged
                                                        18 years or less.
Gomez-Gil E, Zubiaurre-Elorza L, Esteva I et al.        Excluded on population – adult
(2012) Hormone-treated transsexuals report less         study, participants not 18 years or
                                                        less (mean age 24.6 years).
                                             72
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 73 of 156



Study reference                                        Reason for exclusion
social distress, anxiety and depression.
Psychoneuroendocrinology 37(5): 662–70
Gooren LJ, van Trotsenburg MAA, Giltay EJ et al.       Excluded on population – study
(2013) Breast cancer development in transsexual        reports on cancer rates in people
subjects receiving cross-sex hormone treatment.        aged 18-80 years. The 3 cases of
The Journal of Sexual Medicine 10(12): 3129–34         cancer all started gender-affirming
                                                       hormone treatment >18 years.
Grimstad FW, Boskey E, Grey M (2020) New-              Excluded on population – adult
Onset Abdominopelvic Pain After Initiation of          study, participants not 18 years or
Testosterone Therapy Among TransMasculine              less.
Persons: A Community-Based Exploratory Survey.
LGBT health 7(5): Published Online:13 Jul
2020https://doi.org/10.1089/lgbt.2019.0258
Hannema SE, Schagen SEE, Cohen-Kettenis PT             Excluded on better evidence
et al. (2017) Efficacy and Safety of Pubertal          available – small study (n=28) with
Induction Using 17beta-Estradiol in Transgirls. The    high drop-out rate (n=16 at final
Journal of Clinical Endocrinology and Metabolism       follow-up). Same outcomes reported
102(7): 2356–2363                                      in larger studies.
Jarin J, Pine-Twaddell E, Trotman G et al. (2017)      Excluded on population and better
Cross-Sex Hormones and Metabolic Parameters in         evidence available. Although the
Adolescents With Gender Dysphoria. Pediatrics          study included some younger
139(5)                                                 people (age range 13 to 25; mean
                                                       age 16 and 18), the proportion who
                                                       started treatment when 18 years or
                                                       less is not reported. Outcomes not
                                                       reported separately for people aged
                                                       18 years or less. Outcomes were
                                                       limited to physiological results
                                                       (including haemoglobin, lipids and
                                                       BMI). Follow-up only 6 months,
                                                       other included studies report same
                                                       outcomes with longer follow-up (12
                                                       to 31 months).
Keo-Meier CL, Herman LI, Reisner SL et al. (2015)      Excluded on population – although
Testosterone treatment and MMPI-2 improvement          study included some younger
in transgender men: a prospective controlled study.    people (age range 18 to 54), most
Journal of consulting and clinical psychology 83(1):   participants were adults (mean age
143–56                                                 26.6 years) and the proportion who
                                                       started treatment when 18 years or
                                                       less is not reported. Outcomes not
                                                       reported separately for people aged
                                                       18 years or less.
Klaver M, de Mutsert R, Wiepjes CM et al. (2018)       Excluded on outcomes – reported
Early Hormonal Treatment Affects Body                  outcomes not included in PICO
Composition and Body Shape in Young                    document. The risk of obesity with
Transgender Adolescents. The Journal of Sexual         gender-affirmed hormones was
Medicine 15(2): 251–260                                reported in an included study.
McFarlane T, Zajac JD, Cheung AS (2018)                Exclude on population – all included
Gender-affirming hormone therapy and the risk of       studies conducted in adult
sex hormone-dependent tumours in transgender           population.
individuals-A systematic review. Clinical
Endocrinology 89(6): 700-711


                                            73
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 74 of 156



Study reference                                        Reason for exclusion
Meriggiola MC, Armillotta F, Costantino A et al.       Excluded on population – adult
(2008) Effects of testosterone undecanoate             study, participants not 18 years or
administered alone or in combination with letrozole    less.
or dutasteride in female to male transsexuals. The
Journal of Sexual Medicine 5(10): 2442–53
Nota NM, Wiepjes CM, de Blok, CJM et al. (2018)        Excluded on population – adult
The occurrence of benign brain tumours in              study, participants not 18 years or
transgender individuals during cross-sex hormone       less.
treatment. Brain: A Journal of Neurology 141(7):
2047–2054
Oda H and Kinoshita T (2017) Efficacy of hormonal      Excluded on population – although
and mental treatments with MMPI in FtM                 study included some younger
individuals: Cross-sectional and longitudinal          people (age range 15 to 43), most
studies. BMC Psychiatry 17(1): 256                     participants were adults (mean age
                                                       around 25.6 years) and the
                                                       proportion who started treatment
                                                       when 18 years or less is not
                                                       reported. Outcomes not reported
                                                       separately for people aged 18 years
                                                       or less.
Olson-Kennedy J, Okonta V, Clark LF et al. (2018)      Excluded on population – although
Physiologic Response to Gender-Affirming               study included some younger
Hormones Among Transgender Youth. The Journal          people (age range 12 to 23; mean
of Adolescent Health: Official Publication of the      age 18 years). Outcomes not
Society for Adolescent Medicine 62(4): 397–401         reported separately for people aged
                                                       18 years or less. Outcomes limited
                                                       to physiological results (including
                                                       haemoglobin, lipids, liver enzymes
                                                       and BMI). Same outcomes reported
                                                       in included studies that had a less
                                                       indirect population and a longer
                                                       follow-up.
Ott J, Kaufmann U, Bentz K et al. (2010) Incidence     Excluded on population – adult
of thrombophilia and venous thrombosis in              study, participants not 18 years or
transsexuals under cross-sex hormone therapy.          less.
Fertility and sterility 93(4): 1267–72
Pakpoor J, Wotton CJ, Schmierer K et al. (2016)        Excluded on population – although
Gender identity disorders and multiple sclerosis       study included some younger
risk: A national record-linkage study. Multiple        people, outcomes not reported
sclerosis. Multiple Sclerosis Journal. 22(13): 1759–   separately for people aged 18 years
1762                                                   or less. Also exclude for intervention
                                                       – unclear if people received gender-
                                                       affirming hormones.
Pyra M, Casimiro I, Rusie L et al. (2020) An           Excluded on population – adult
Observational Study of Hypertension and                study (age range 20-70). Age at
Thromboembolism among Transgender Patients             which gender-affirming hormones
Using Gender-Affirming Hormone Therapy.                started not reported.
Transgender Health 5(1): 1–9
Quiros C, Patrascioiu I, Mora M et al. (2015) Effect   Excluded on population – adult
of cross-sex hormone treatment on cardiovascular       study, participants not 18 years or
risk factors in transsexual individuals. Experience    less.
in a specialized unit in Catalonia. Endocrinologia y
nutricion : organo de la Sociedad Espanola de
Endocrinologia y Nutricion 62(5): 210–6
                                              74
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 75 of 156



Study reference                                        Reason for exclusion
Rowniak S, Bolt L, Sharifi C (2019) Effect of cross-   Exclude on population – all included
sex hormones on the quality of life, depression and    studies conducted in adult
anxiety of transgender individuals: A quantitative     population.
systematic review. JBI Database of Systematic
Reviews and Implementation Reports 17(9): 1826–
1854
Sequeira GM, Kidd K, El Nokali NE et al. (2019)        Exclude on outcome - study only
Early Effects of Testosterone Initiation on Body       reports BMI z-score over 12 month
Mass Index in Transmasculine Adolescents.              testosterone treatment. BMI not
Journal of Adolescent Health 65(6): 818–820            listed as an outcome of interest in
                                                       the PICO document. Other included
                                                       studies have investigated the impact
                                                       of gender-affirming hormone
                                                       treatment on CV risk profile,
                                                       including longer term obesity rates,
                                                       with a longer follow-up and more
                                                       participants.
Shim JY, Laufer MR, Grimstad FW (2020)                 Exclude on population – only 2
Dysmenorrhea and Endometriosis in Transgender          participants taking testosterone
Adolescents. Journal of Pediatric and Adolescent       before diagnosis of dysmenorrhea.
Gynecology. Available online 11 June 2020.
https://doi.org/10.1016/j.jpag.2020.06.001
Slabbekoorn D, Van Goozen SHM, Gooren, LJG et          Excluded on population – adult
al. (2001) Effects of cross-sex hormone treatment      study (age range 21 to 28 years)
on emotionality in transsexuals. International
Journal of Transgenderism 5(3):
http://www.symposion.com/ijt/ijtvo05no03_02.htm
Smith YLS., Van Goozen SHM, Kuiper AJ et al.           Excluded on population – results on
(2005) Sex reassignment: Outcomes and                  adults only used to assess hormone
predictors of treatment for adolescent and adult       treatment.
transsexuals. Psychological Medicine 35(1): 89–99
Sutherland N, Espinel W, Grotzke M et al. (2020)       Excluded on study type – narrative
Unanswered Questions: Hereditary breast and            review of 3 case reports.
gynecological cancer risk assessment in
transgender adolescents and young adults. Journal
of Genetic Counseling 29(4): 625–633
van Velzen DM, Paldino A, Klaver M et al. (2019)       Excluded on population – adult
Cardiometabolic Effects of Testosterone in             study, participants not 18 years or
Transmen and Estrogen Plus Cyproterone Acetate         less.
in Transwomen. The Journal of Clinical
Endocrinology and Metabolism 104(6): 1937–1947
White Hughto JM and Reisner SL (2016) A                Exclude on population – all included
Systematic Review of the Effects of Hormone            studies conducted in adult
Therapy on Psychological Functioning and Quality       population.
of Life in Transgender Individuals. Transgender
Health 1(1): 21–31
Wiepjes CM, de Blok CJM, Staphorsius AS et al.         Excluded on population – adult
(2020) Fracture Risk in Trans Women and Trans          study, all participants started
Men Using Long-Term Gender-Affirming Hormonal          gender-affirming hormones after
Treatment: A Nationwide Cohort Study. Journal of       18 years.
Bone and Mineral Research 35(1): 64–70
Wierckx K, Mueller S, Weyers S et al. (2012) Long-     Excluded on population – adult
term evaluation of cross-sex hormone treatment in      study, participants not 18 years or
                                                       less.
                                            75
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 76 of 156



Study reference                                        Reason for exclusion
transsexual persons. The Journal of Sexual
Medicine 9(10): 2641–51
Wierckx K, Van Caenegem E, Schreiner T et al.          Excluded on population – adult
(2014) Cross-sex hormone therapy in trans              study, participants not 18 years or
persons is safe and effective at short-time follow-    less.
up: results from the European network for the
investigation of gender incongruence. The journal
of sexual medicine 11(8): 1999–2011
Wilson R, Jenkins C, Miller H et al. (2006) The        Excluded on population – adult
effect of oestrogen on cytokine and antioxidant        study, participants not 18 years or
levels in male to female transsexual patients.         less.
Maturitas 55(1): 14–8
Witcomb GL, Bouman WP, Claes L et al. (2018)           Excluded on population – although
Levels of depression in transgender people and its     study included some younger
predictors: Results of a large matched control study   people (age range 15 to 79), most
with transgender people accessing clinical             participants were adults (mean age
services. Journal of Affective Disorders 235: 308–     around 30.4 years) and the
315                                                    proportion who started treatment
                                                       when 18 years or less is not
                                                       reported. Outcomes not reported
                                                       separately for people aged 18 years
                                                       or less.




                                            76
                                    Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 77 of 156




Appendix E Evidence tables

Study details             Population                  Interventions               Study outcomes                                      Appraisal and Funding
Full citation             Inclusion and exclusion     Intervention                Critical Outcomes                                   This study was appraised
Achille, C., Taggart,     not reported- it appears                                Impact on mental health                             using the Newcastle-Ottawa
T., Eaton, N.R. et al.    from the description in                                                                                     tool for cohort studies.
                                                      Endocrine interventions     Depression symptoms were assessed using
(2020) Longitudinal       the publication that all
                                                      (the collective term used   the Center for Epidemiologic Studies
impact of gender-         people referred for
                                                      by authors for puberty      Depression Scale (CESD-R). Statistically            Domain 1: Selection domain
affirming endocrine       gender dysphoria were
                                                      suppression and gender-     significant improvements in CESD-R score            1. b) somewhat
intervention on the       invited to participate,
                                                      affirming hormones) were    were observed from baseline (initial                   representative
mental health and         and the vast majority
                                                      introduced as per           assessment; 21.4 points) to about 12 months
well-being of             agreed. Of the                                                                                              2. c) no-non exposed cohort
                                                      Endocrine Society and       follow-up (13.9 points; p<0.001).
transgender youths:       95 treatment naïve                                                                                          3. a) secure record
                                                      the World Professional      Regression analysis, controlling for reported
Preliminary results.      people who entered the                                                                                      4. b) no
                                                      Association for             medicines for mental health problems and
International Journal     study, 50 people
                                                                                  engagement in counselling, found no                 Domain 2: Comparability
of Pediatric              completed all follow-up
Endocrinology             questionnaires and were                                 statistically significant change from baseline in   1. c) no comparator
2020(1): 8                included in the analysis.                               transfemales (p=0.27) and transmales                Domain 3: Outcome
                          No description of the                                   (p=0.43).                                           1. c) self-report
Study location            45 people without                                                                                           2. a) yes – 6 monthly
Single centre, New        follow-up data reported.                                The Patient Health Questionnaire Modified for          assessment up to 12
York, United States                                                               Teens (PHQ 9_Modified for Teens) was also              months (preliminary
                          The study included                                      used to assess depression symptoms.                    results from an ongoing
Study type                                                                        Depression scores improved from baseline               study)
                          50 children, adolescents
Prospective                                                                       (p< 0.001; absolute scores not reported
                          and young adults with                                                                                       3. c) Follow up rate less than
longitudinal study                                                                numerically).
                          gender dysphoria.                                                                                              80% and no description of
                                                                                  Regression analysis, controlling for reported          those lost
Study aim                                                                         medicines for mental health problems and
To assess the                                                                     engagement in counselling, found no                 Overall quality is assessed
psychological                                                                     statistically significant change from baseline in   as poor
wellbeing and quality                                                             transfemales (p=0.07) and transmales
of life in children and                                                           (p=0.67).
                                                                                                                                      Other comments: Although
adolescents who have                                                                                                                  regression analysis results for
sought endocrine                                                                  Suicidal ideation measured using the                some outcomes were
                                                                                  additional questions from the PHQ 9_Modified        controlled for use of medicines
                                                                                  for Teens, was presented in 10% (5/50) of           for mental health problems,

                                                                                     77
                                    Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 78 of 156


intervention to help     17 transfemales and        Transgender Health           participants at baseline and 6% (3/50) at           details of these is not
with gender dysphoria.   33 transmales.             (WPATH) guidelines.          about 12-month follow-up, no statistical            reported. Other co-morbidities
                                                                                 analysis reported.                                  not reported.
Study dates              Diagnostic criteria for    Puberty suppression was:     The study also reported results by gender:
Study recruitment ran    gender dysphoria not       •   GnRH agonist and/or      In transfemales, 11.8% (2/17) had suicidal          Source of funding: None
from December 2013       reported.                      anti-androgens           ideation at baseline compared with 5.9%
to December 2018;                                       (transfemales)           (1/17) at 12-month follow-up (no statistically
study is ongoing                                                                 analysis reported)
                         Mean age at baseline       •   GnRH agonist or
                         was 16.2 years (SD             medroxyprogesterone      In transmales, 9.1% (3/33) had suicidal
                         2.2).                          (transmales)             ideation at baseline compared with 6.1%
                                                                                 (2/33) at 12-month follow-up (no statistically
                                                                                 analysis reported)
                         Mean age at the start of   Average duration of
                         gender-affirming           GnRH analogue
                         hormone treatment not      treatment not reported.      Impact on quality of life
                         reported.                                               Quality of Life Enjoyment and Satisfaction
                                                                                 Questionnaire (QLES-Q-SF) scores: there
                                                    Once eligible, gender-       was no statistically significant change in score
                                                    affirming hormones were      from baseline to about 12-months (p=0.085;
                                                    offered, these were:         absolute scores not reported numerically).
                                                    •   Oestradiol               Regression analysis, controlling for reported
                                                        (transfemales)           medicines for mental health problems and
                                                    •   Testosterone             engagement in counselling, found not
                                                        (transmales)             statistically significant change from baseline in
                                                    Doses and route of           transfemales (p=0.06) and transmales
                                                    administration not           (p=0.08).
                                                    reported.
                                                                                 No other critical or important outcomes
                                                    After about 12-months        reported
                                                    treatment (‘wave 3’ in the
                                                    study):
                                                    •   24 people (48%)
                                                        were on gender-
                                                        affirming hormones
                                                        alone
                                                    •   12 people (24%)
                                                        were on puberty
                                                        suppression alone

                                                                                    78
                                   Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 79 of 156


Study details            Population                 Interventions               Study outcomes                                   Appraisal and Funding
                                                    •   11 people (22%)
                                                        were on both gender-
                                                        affirming hormones
                                                        and puberty
                                                        suppression
                                                    •   3 people (6%) were
                                                        on no endocrine
                                                        intervention
                                                    Results not represented
                                                    separately for the sub-
                                                    group of people who
                                                    received gender-affirming
                                                    hormones.

                                                    Average duration of
                                                    treatment with gender-
                                                    affirming hormones not
                                                    reported.

                                                    Comparison

                                                    No comparison group.
                                                    Change overtime
                                                    reported.

Study details            Population                 Interventions               Study outcomes                                   Appraisal and Funding
Full citation            The study included         39 participants received    Critical Outcomes                                This study was appraised
Allen, LR, Watson, LB,   adolescents and young      gender-affirming            Impact on mental health                          using the Newcastle-Ottawa
Egan, AM et al. (2019)   adults (age range 13-      hormones only               The Ask Suicide-Screening Questions (ASQ)        tool for cohort studies.
Well-being and           20 years) who received                                 instrument was used to assess suicidality.
suicidality among        services for gender        8 participants received a   Following an average of about 12 months          Domain 1: Selection domain
transgender youth        dysphoria in a clinic in   GnRH analogue followed      treatment with gender-affirming hormones,        1. b) somewhat
after gender-affirming   the United States.         by gender-affirming         adjusted mean ASQ score was statistically           representative
hormones. Clinical       Participants were          hormones.                   significantly lower (from 1.11 [standard error   2. c) no-non exposed cohort
Practice in Pediatric    required to have
                         received gender-

                                                                                   79
                                     Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 80 of 156


Study details             Population                  Interventions               Study outcomes                                      Appraisal and Funding
Psychology 7(3): 302-     affirming hormones for      Mean duration of            (SE) 0.22] at baseline to 0.27 [SE 0.12] at         3. a) secure record
311                       at least 3 months, and      treatment in the gender-    final assessment; p<0.001).                         4. b) no
                          have pre-test and final     affirming hormones only                                                         Domain 2: Comparability
Study location            assessment data points.     subgroup was 366 days.      The authors also reported change in ASQ             2. c) no comparator
Single centre, Kansas     No exclusion criteria                                   separately for transfemales (from 1.21 [SE          Domain 3: Outcome
City, United States       reported.                   Mean duration of gender-    0.36] at baseline to 0.24 [SE 0.19] at final        1. b) record linkage
                                                      affirming hormone           assessment) and transmales (from 1.01 [SE           2. a) yes – mean duration of
Study type                In total 47 adolescents     treatment in people who     0.36] at baseline to 0.29 [0.13] at final              treatment was 366 days
Retrospective             and young adults with       had previously received a   assessment). There was no statistically             3. a) complete follow up - all
longitudinal study        gender dysphoria were       GnRH analogue was not       significant difference in change from baseline         subjects accounted for
                          included: 14                reported.                   between transfemales and transmales
Study aim                 transfemales (sex                                       (p=0.79)                                            Overall quality is assessed
To examine suicidality    assigned at birth male)     Mean duration of                                                                as poor
and general well-being    and 33 transmales (sex      treatment with a GnRH       Impact on quality of life
following                 assigned at birth           analogue was not            Assessed using the General Well-Being Scale         Other comments: None
administration            female).                    reported.                   (GWBS) of the Pediatric Quality of Life
of gender-affirming                                                               Inventory. Following an average of about            Source of funding: Not
hormones.                 Diagnostic criteria for     Participants were           12 months treatment with gender-affirming           reported
                          gender dysphoria not        assessed at the start of    hormones, adjusted mean GWBS score was
Study dates               reported.                   treatment and at least 3    statistically significantly higher (from 61.7 [SE
Participants first                                    months after treatment.     2.43] at baseline to 70.23 [2.15] at final
presented to the clinic   Mean age at pre-test                                    assessment; p<0.002).
between 2015 and          (before administration of
2018.                     gender-affirming                                        The authors also reported change in GWBS
                          hormones) was                                           of the Pediatric Quality of Life Inventory for
                          16.59 years (range                                      transfemales (from 58.44 [SE 4.09] at
                          13.73 to 19.04).                                        baseline to 69.52 [SE 3.62] at final
                                                                                  assessment) and transmales (from 64.95 [SE
                          Mean age at the start of                                2.66] at baseline to 70.94 [2.35] at final
                          treatment in the sub-                                   assessment). There was no statistically
                          group who received                                      significant difference in change from baseline
                          gender-affirming                                        between transfemales and transmales
                          hormones-only was                                       (p=0.32)
                          16.72 years.
                                                                                  No other critical or important outcomes
                          Mean age at the start of                                reported
                          treatment with gender-
                          affirming hormones in
                          people who previously

                                                                                     80
                                     Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 81 of 156


Study details              Population                  Interventions                   Study outcomes                                     Appraisal and Funding
                           received a GnRH
                           analogue was not
                           reported.




Study details              Population                  Interventions                   Study outcomes                                     Appraisal and Funding
Full citation              The study included          Intervention referred to as     Critical Outcomes                                  This study was appraised
Kaltiala, R., Heino, E.,   adolescents who were        ‘hormonal sex                   Impact on mental health                            using the Newcastle-Ottawa
Tyolajarvi, M. et al.      referred to the gender      reassignment treatment’                                                            tool for cohort studies.
                                                                                       Of the 52 people who received gender-
(2020) Adolescent          identity service before     – details of intervention
                                                                                       affirming hormones, 50% (26/52) needed
development and            they 18 years old, were     not reported, although
                                                                                       mental health treatment before or during the       Domain 1: Selection domain
psychosocial               diagnosed with gender       gender-affirming
                                                                                       assessment and 46% (24/51) needed mental           1. b) somewhat
functioning after          dysphoria, received         hormones were
                                                                                       health treatment during the 12-month ‘real life’      representative
starting cross-sex         gender-affirming            prescribed to all
                                                                                       phase (no statistically significant difference).
hormones for gender        hormones and                participants. It is not clear                                                      2. c) no-non exposed cohort
dysphoria. Nordic          completed a follow-up of    from the study whether          For specific symptoms / conditions:
                                                                                                                                          3. a) secure record
Journal of Psychiatry      approximately               additional interventions        •   depression: 54% (28/52) needed
                                                                                                                                          4. b) no
74(3): 213-219             12 months after starting    were prescribed.                    treatment before or during the
                           hormones.                                                       assessment and 15% (8/52) needed               Domain 2: Comparability
Study location                                         Medical records reviewed            treatment during the 12-month ‘real life’      1. c) cohorts are not
Single centre,                                         for the ‘real-life phase’ –         phase (statistically significant reduction,       comparable on the basis
                           In total 52 adolescents
Tampere, Finland                                       the approximately 12                p<0.001)                                          of the design or analysis
                           were included,
                                                       months follow-up period         •   anxiety: 48% (25/52) needed treatment             controlled for confounders
                           comprising of 11
Study type                                             for this population in              before or during the assessment and 15%        Domain 3: Outcome
                           transfemales and
Retrospective chart                                    Finland.                            (8/52) needed treatment during the 12-
                           41 transmales.                                                                                                 1. b) record linkage
review                                                                                     month ‘real life’ phase (statistically
                                                                                                                                          2. a) yes – 12 month follow-
                                                                                           significant reduction, p<0.001)
Study aim                  Gender dysphoria was                                                                                              up
To evaluate the            diagnosed according to                                      •   suicidality/self-harm: 35% (18/52) needed      3. a) complete follow up - all
psychosocial               International                                                   treatment before or during the                    subjects accounted for
functioning                Classification of Disease                                       assessment and 4% (2/52) needed
and need for mental        10 (ICD-10). The                                                treatment during the 12-month ‘real life’
health treatment           authors state that the                                          phase (statistically significant reduction,    Overall quality is assessed
during the gender          corresponding diagnosis                                         p<0.001)                                       as poor
identity diagnostic        to ‘gender dysphoria’ in                                    •   conduct problems/antisocial: 14% (7/52)
phase and after about                                                                      needed treatment before or during the
                                                                                           81
                                Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 82 of 156


Study details         Population               Interventions    Study outcomes                                 Appraisal and Funding
a year on gender-     the ICD-10 is                                assessment and 6% (3/52) needed             Other comments: None
affirming hormones.   ‘transsexualism’.                            treatment during the 12-month ‘real life’
                                                                   phase (no statistically significant
                                                                                                               Source of funding: No source
Study dates                                                        difference, p= 0.18)
                      Mean age at diagnosis                                                                    of funding reported
2011 to 2017                                                    • psychotic symptoms/psychosis: 2% (1/52)
                      18.1 years (range 15.2
                                                                   needed treatment before or during the
                      to 19.9)
                                                                   assessment and 4% (2/52) needed
                                                                   treatment during the 12-month ‘real life’
                                                                   phase (no statistically significant
                                                                   difference, p= 0.56)
                                                                • substance abuse: 4% (2/52) needed
                                                                   treatment before or during the
                                                                   assessment and 2% (1/52) needed
                                                                   treatment during the 12-month ‘real life’
                                                                   phase (no statistically significant
                                                                   difference, p= 0.56)
                                                                • autism: 12% (6/52) needed treatment
                                                                   before or during the assessment and 6%
                                                                   (3/52) needed treatment during the 12-
                                                                   month ‘real life’ phase (no statistically
                                                                   significant difference, p= 0.30)
                                                                • ADHD: 10% (5/52) needed treatment
                                                                   before or during the assessment and 2%
                                                                   (1/52) needed treatment during the 12-
                                                                   month ‘real life’ phase (no statistically
                                                                   significant difference, p= 0.09)
                                                                • eating disorder: 2% (1/52) needed
                                                                   treatment before or during the
                                                                   assessment and 2% (1/52) needed
                                                                   treatment during the 12-month ‘real life’
                                                                   phase (no statistically significant
                                                                   difference, p= 1.0).
                                                                No details of actual treatment reported.

                                                                Important Outcomes
                                                                Psychosocial Impact
                                                                Study reported on measures of functioning in
                                                                different domains of adolescent development,

                                                                   82
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 83 of 156


                                reported over the approximately 12-month
                                period after starting gender-affirming
                                hormones (referred to as the ‘real-life phase’
                                in Finland)

                                Significantly fewer participants were living
                                with parent(s)/ guardians during the real-life
                                phase (40%; 21/50) compared with during
                                gender identity assessment (73%; 38/52;
                                p=0.001))

                                There was a statistically significant reduction
                                in the number of participants with normative
                                peer contacts, from gender identity
                                assessment (89%; 46/52) to the real-life
                                phase (81%; 42/52; p<0.001).

                                There was no significant difference in the
                                number of participants who were progressing
                                normally in school or work during gender
                                identity assessment (64%; 33/52) compared
                                with the real-life phase (60%; 31/52).

                                There was no significant difference in the
                                number of participants who have been dating
                                or were in steady relationships during gender
                                identity assessment (62%; 32/50) compared
                                with the real-life phase (58%; 30/52).

                                There was no significant difference in the
                                number of participants who were able to deal
                                with matters outside of the home in an age-
                                appropriate manner during gender identity
                                assessment (81% (42/52) compared with the
                                real-life phase (81%; 42/52)




                                   83
                                      Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 84 of 156


Study details              Population                   Interventions               Study outcomes                                  Appraisal and Funding
                                                                                    No other critical or important outcomes
                                                                                    reported



Study details              Population                   Interventions               Study outcomes                                  Appraisal and Funding
Full citation              Inclusion criteria were at   Intervention                Critical Outcomes                               This study was appraised
Khatchadourian K,          least Tanner stage 2         Transfemales: Oestrogen                                                     using the Newcastle-Ottawa
Amed S, Metzger DL         pubertal development,        (oral micronized 17β-       No critical outcomes assessed.                  tool for cohort studies.
(2014) Clinical            previous assessment by       oestradiol)
management of youth        a mental health              Transmales:                 Important outcomes
                                                                                                                                    Domain 1: Selection domain
with gender dysphoria      professional and a           Testosterone (injectable
in Vancouver. The          confirmed diagnosis of       testosterone enanthate                                                      1. b) somewhat
                                                                                    Safety
Journal of pediatrics      gender dysphoria             and/or cypionate)                                                              representative
                                                                                    Of the 63 participants who received gender-
164(4): 906-11             (diagnostic criteria not                                 affirming hormones:                             2. c) no-non exposed cohort
                           specified). No exclusion     19 participants (30%) had                                                   3. a) secure record*
Study location             criteria are specified.      previously received a       •   No participants permanently discontinued
                                                                                        gender-affirming hormones                   4. b) no
Single centre study,                                    GnRH analogue. The
Vancouver, Canada          63 children, adolescents     median time from start of   •   3 participants (5%) temporarily             Domain 2: Comparability
                           and young people with        GnRH analogue to start          discontinued treatment:                     1. c) cohorts are not
Study type                 gender dysphoria who         of gender-affirming                 o 2 transmales due to concomitant          comparable on the basis
Retrospective chart        started gender-affirming     hormones was                             mental health comorbidities           of the design or analysis
review                     hormones, out of 84          11.3 months (range 2.2 to                                                      controlled for confounders
                                                                                            o 1 transmale due to androgenic
                           young people seen in         42.0). 11 participants                                                      Domain 3: Outcome
                                                                                                 alopecia.
Study aim                  the unit between 1998        continued GnRH
                           and 2011.                    analogues after starting            o No transfemale stopped                1. b) record linkage
To describe the
                           39 transfemales and          gender-affirming                         treatment.                         2. b) no – although follow-up
patient characteristics,
clinical management,       24 transmales.               hormones.                           The authors report that all patients       time is reported for
and response to                                                                             eventually restarted gender-affirming      patients with more than 1
treatment in a cohort      Diagnostic criteria for      Average duration of                 hormones, although they do not             clinic visit, duration of
of people seen in a        gender dysphoria not         treatment with a GnRH               report how long treatment was              treatment with gender-
single clinic.             reported.                    analogue not reported                                                          affirming hormones is not
                                                                                                                                       reported
Study dates                Mean age at the start of     Comparison                                                                  3. c) incomplete - missing
1998 to 2011               gender-affirming             No comparator                                                                  data
                           hormone treatment was
                           17.4 years (SD 1.9).                                                                                     Overall quality is assessed
                                                                                                                                    as poor

                                                                                        84
                                   Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 85 of 156


Study details            Population                  Interventions              Study outcomes                                 Appraisal and Funding
                                                                                       stopped for, or what the effect of      Other comments: Mental
                                                                                       stopped treatment was.                  health comorbidity was
                                                                                •   No participants reported major             reported for all participants but
                                                                                    complications                              not for the gender-affirming
                                                                                                                               hormone cohort separately.
                                                                                •   12 participants (19%) had minor            Concomitant use of other
                                                                                    complications:                             medicines was not reported.
                                                                                        o 7 transmales had severe acne
                                                                                             (requiring isotretinoin)
                                                                                                                               Source of funding: No source
                                                                                        o 1 transmale had andogenic            of funding identified.
                                                                                             alopecia
                                                                                        o 3 transmales had mild
                                                                                             dyslipidaemia (levels not
                                                                                             reported)
                                                                                        o 1 transmale had significant mood
                                                                                             swings
                                                                                        o No transfemales had minor
                                                                                             complications



Study details            Population                  Interventions              Study outcomes                                 Appraisal and Funding
Full citation            Participants were           Transfemales:              Critical Outcomes                              This study was appraised
Klaver, Maartje, de      included if i) they had     Oestrogen (17-β                                                           using the Newcastle-Ottawa
Mutsert, Renee, van      started GnRH analogue       oestradiol [E2]) orally,   No critical outcomes assessed.                 tool for cohort studies.
der Loos, Maria A T C    treatment before            starting with 5 mcg/kg
et al. (2020) Hormonal   18 years, ii) if whole      body weight per day,       Important outcomes
                                                                                                                               Domain 1: Selection domain
Treatment and            body dual-energy            which was increased
Cardiovascular Risk      radiograph                  every 6 months until the                                                  1. b) somewhat
                                                                                Safety
Profile in Transgender   absorptiometry was          maintenance dose of                                                          representative
                                                                                Safety outcomes reported separately for
Adolescents.             performed at                2 mg per day was           transfemales and transmales.                   2. c) no-non exposed cohort
Pediatrics 145(3)        least once during           reached.                                                                  3. a) secure record*
                         treatment (4 months
Study location           before or after the start   Transmales: mixed          For transfemales, from the start of gender-    4. b) no
Single centre,           of GnRH analogues or        testosterone esters        affirming hormone treatment to age 22 years:   Domain 2: Comparability
Amsterdam,               gender-affirming            (Sustanon), 25 mg/m2       •   Mean BMI statistically significantly       1. c) cohorts are not
Netherlands              hormones, or                body surface area every        increased (mean change +1.9, 95% CI           comparable on the basis
                                                     2 weeks intramuscularly,       0.6 to 3.2, p<0.005; mean BMI at

                                                                                    85
                                     Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 86 of 156


Study details             Population                  Interventions                Study outcomes                                     Appraisal and Funding
Study type                within 1.5 years before     increased every 6 months        22 years= 23.2, 95% CI 21.6 to 24.8). At           of the design or analysis
Retrospective chart       or after the                to maintenance dose of          age 22 years, 9.9% of the cohort were              controlled for confounders
review                    22nd birthday), iii) if     250 mg every 3 to               obese, compared with 3.0% in reference          Domain 3: Outcome
                          they were likely to have    4 weeks.                        cisgender population1.
                                                                                                                                      1. b) record linkage
Study aim                 had at least 1 medical                                   •   Mean systolic blood pressure (SBP) did
To examine the            consultation in young       When GnRH analogues                                                             2. a) yes- follow-up from
                                                                                       not significantly change (mean change -
effects of treatment on   adulthood.                  were started after the age                                                         start of gender-affirming
                                                                                       3 mmHg, 95% CI -8 to 2; mean SBP at 22
changes in                                            of 16 years a different                                                            hormones to age 22
                                                                                       years= 117 mmHg, 95% CI 113 to 122)
cardiovascular            The study included          hormone starter dose                                                               years, around 5 years
risk factors, including   192 young people with       was used (1 mg               •   Mean diastolic blood pressure (DBP)            3. a) complete follow up - all
BMI, blood                dysphoria who met the       oestrogen daily and              statistically significantly increased (mean       subjects accounted for
pressure, insulin         above inclusion criteria:   75 mg testosterone               change +6 mmHg, 95% CI 3 to 10,
sensitivity, and lipid    71 transfemales and         weekly).                         p<0.001; mean DBP at 22 years=
                                                                                       75 mmHg, 95% CI 72 to 78)                      Overall quality is assessed
levels.                   121 transmales.
                                                                                   •   Mean glucose level did not significantly       as poor
Study dates               Gender dysphoria was        Median (IQR) duration of         change (mean change +0.1 mmol/L, 95%
1998-2015                 diagnosed according to      GnRH analogue                    CI -0.1 to 0.2; mean glucose level at 22       Other comments: None
                          the Diagnostic and          (monotherapy) was                years= 5.0 mmol/L, 95% CI 4.8 to 5.1)
                          Statistical                 2.1 years (1.0 to 2.7) in    •   Mean insulin level did not significantly       Source of funding: No external
                          Manual of Mental            transfemales and 1.0 (0.5        change (mean change +2.7 mU/L, 95%             funding
                          Disorders, Fourth           to 2.9) for transmales.          CI -1.7 to 7.1; mean insulin level at
                          Edition criteria.                                            22 years= 5.0 mU/L (4.8 to 5.1)
                                                                                   •   Insulin resistance (mean Homeostatic
                          Mean age at the start of                                     Model Assessment of Insulin Resistance
                          gender-affirming                                             [HOMA-IR]) did not significantly change
                          hormones was                                                 (mean change +0.7, 95% CI -0.2 to 1.5;
                          16.4 years (SD 1.1) for                                      mean HOMA-IR at 22 years 2.9, 95% CI
                          transfemales and                                             1.9 to 3.9)
                          16.9 years (SD 0.9) for                                  •   Mean total cholesterol did not significantly
                          transmales.                                                  change (mean change +0.1 mmol/L, 95%
                                                                                       CI -0.2 to 0.4; mean total cholesterol at
                                                                                       22 years 4.1 mmol/L, 95% CI 3.8 to 4.4)
                                                                                   •   Mean HDL cholesterol did not significantly
                                                                                       change (mean change +0.0 mmol/L, 95%
                                                                                       CI -0.1 to 0.2; mean HDL cholesterol at
                                                                                       22 years 1.6 mmol/L, 95% CI 1.4 to 1.7)
                                                                                   •   Mean LDL cholesterol did not significantly
                                                                                       change (mean change +0.0 mmol/L, 95%
                                                                                       86
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 87 of 156


                                    CI -0.3 to 0.2; mean LDL cholesterol at
                                    22 years 2.0 mmol/L, 95% CI 1.8 to 2.3)
                                •   Mean triglycerides statistically significantly
                                    increased (mean change +0.2 mmol/L,
                                    95% CI 0.0 to 0.5, p<0.05; triglyceride
                                    level at 22 years 1.1 mmol/L, 95% CI 0.9
                                    to 1.4)

                                For transmales, from the start of gender-
                                affirming hormone treatment to age 22 years:
                                •   Mean BMI statistically significantly
                                    increased (mean change +1.4, 95% CI
                                    0.8 to 2.0, p<0.005; mean BMI at
                                    22 years= 23.9, 95% CI 23.0 to 24.7). At
                                    age 22 years, 6.6% of the cohort were
                                    obese, compared with 2.2% in reference
                                    cisgender population1.
                                •   Mean systolic blood pressure (SBP)
                                    statistically significantly increased (mean
                                    change +5 mmHg, 95% CI 1 to 9; mean
                                    SBP at 22 years= 126 mmHg, 95% CI
                                    122 to 130)
                                •   Mean diastolic blood pressure (DBP)
                                    statistically significantly increased (mean
                                    change +6 mmHg, 95% CI 4 to 9,
                                    p<0.001; mean DBP at 22 years=
                                    74 mmHg, 95% CI 72 to 77)
                                •   Mean glucose level did not significantly
                                    change (mean change 0.0 mmol/L, 95%
                                    CI -0.2 to 0.2; mean glucose level at 22
                                    years= 4.8 mmol/L, 95% CI 4.7 to 5.0)
                                •   Mean insulin level statistically significantly
                                    decreased (mean change -2.1 mU/L, 95%
                                    CI -3.9 to -0.3, p<0.05; mean insulin level
                                    at 22 years= 8.6 mU/L (6.9 to 10.2)
                                •   Insulin resistance (mean Homeostatic
                                    Model Assessment of Insulin Resistance
                                    [HOMA-IR]) statistically significantly
                                    87
                                     Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 88 of 156


 Study details            Population                  Interventions   Study outcomes                                       Appraisal and Funding
                                                                         decreased (mean change -0.5, 95% CI -
                                                                         1.0 to -0.1, p<0.05; mean HOMA-IR at
                                                                         22 years 1.8, 95% CI 1.4 to 2.2)
                                                                      •   Mean total cholesterol statistically
                                                                          significantly increased (mean change
                                                                          +0.4 mmol/L, 95% CI 0.2 to 0.6, p<0.001;
                                                                          mean total cholesterol at 22 years
                                                                          4.6 mmol/L, 95% CI 4.3 to 4.8)
                                                                      •   Mean HDL cholesterol statistically
                                                                          significantly decreased (mean change -
                                                                          0.3 mmol/L, 95% CI -0.4 to -0.2, p<0.001;
                                                                          mean HDL cholesterol at 22 years
                                                                          1.3 mmol/L, 95% CI 1.2 to 1.3)
                                                                      •   Mean LDL cholesterol statistically
                                                                          significantly increased (mean change
                                                                          +0.4 mmol/L, 95% CI 0.2 to 0.6, p<0.001;
                                                                          mean LDL cholesterol at 22 years
                                                                          2.6 mmol/L, 95% CI 2.4 to 2.8)
                                                                      •   Mean triglycerides statistically significantly
                                                                          increased (mean change +0.5 mmol/L,
                                                                          95% CI 0.3 to 0.7, p<0.001; triglyceride
                                                                          level at 22 years 1.3 mmol/L, 95% CI 1.1
                                                                          to 1.5)
1 Reference population taken from Fredriks et al. (2000)




                                                                          88
                                  Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 89 of 156


Study details           Population                 Interventions              Study outcomes                                Appraisal and Funding
Full citation           34 young people with       Intervention               Critical outcomes                             This study was appraised
Klink D, Caris M,       gender dysphoria who                                                                                using the Newcastle-Ottawa
Heijboer A et al.       received GnRH                                                                                       tool for cohort studies.
                                                   Transfemales - oral 17-β   No critical outcomes reported
(2015) Bone mass in     analogues, gender-
                                                   oestradiol
young adulthood         affirming hormones and
                                                   (incremental dosing)                                                     Domain 1: Selection domain
following               gonadectomy.                                          Important outcomes
gonadotropin-                                                                                                               1. b) somewhat
releasing hormone       The study included 15                                                                                  representative
                                                   Transmales – IM            Safety
analog treatment and    transfemales and 19        testosterone (Sustanon                                                   2. c) no-non exposed cohort
cross-sex hormone       transmales; mean age       250 mg/ml; incremental                                                   3. a) secure record*
treatment in            at start of gender-        dosing)                    Bone density: lumbar spine
adolescents with        affirming hormones was                                                                              4. b) no
gender dysphoria. The   16.6 years (SD 1.4) and                               Lumbar spine bone mineral apparent            Domain 2: Comparability
Journal of Clinical     16.4 years (SD 2.3)        Median duration of         density (BMAD)                                1. c) cohorts are not
Endocrinology and       respectively.              treatment with gender-     Change from starting gender-affirming            comparable on the basis
Metabolism 100(2):                                 affirming hormones for     hormones to age 22 years in transfemales-        of the design or analysis
e270-5                  Participants were          transfemales was           Mean (SD); g/m3                                  controlled for confounders
                        required to meet the       5.8 years (range 3.0 to    • Start of gender-affirming hormones: 0.22    Domain 3: Outcome
Study location          DSM-IV-TR criteria for     8.0) and for transmales        (0.02)
Single centre,          gender identity disorder   was 5.4 years (range 2.8                                                 1. b) record linkage
                                                                              • Age 22 years: 0.23 (0.03)
Amsterdam,              of adolescence.            to 7.8).                                                                 2. a) yes – mean duration of
                                                                              • p=0.003
Netherlands             Participants were                                     z-score (range)                                  gender-affirming hormone
                        included if they had                                                                                   treatment was 5.8 and
                                                   The GnRH analogue was      • Start of gender-affirming hormones: -0.90
Study type              undergone                                                                                              5.4 years.
                                                   SC triptorelin 3.75 mg         (0.80)
Retrospective           gonadectomy between        every 4 weeks.             • Age 22 years: -0.78 (1.03)                  3. c) follow-up rate variable
longitudinal study      June 1998 and August                                                                                   across timepoints and no
                                                                              • No statistically significant difference
                        2012, and they were at                                                                                 description of those lost
                                                   No details of              Change from starting gender-affirming
                        least 21 years old when
Study aim                                          gonadectomy reported.      hormones to age 22 years in transmales-
                        they had the surgery.
To assess peak bone                                                           Mean (SD); g/m3                               Overall quality is assessed
                        Bone mineral density
mass in young adults                                                          • Start of gender-affirming hormones: 0.24    as poor
                        data were also required    Comparison
with gender dysphoria                                                             (0.02)
                        at the start of GnRH
who had received                                                              • Age 22 years: 0.25 (0.28                    Other comments: Within
                        analogue, gender-
GnRH analogues and                                 No comparison group.       • p=0.001                                     person comparison. Small
                        affirming hormones and
gender-affirming                                   Comparison over time       z-score (SD)                                  numbers of participants in
                        at the age of 22 years.
hormones during their                              reported.                  • Start of gender-affirming hormones: -0.50   each subgroup. No
pubertal years.                                                                   (0.81)
                        No concomitant
                        treatments were                                       • Age 22 years: -0.033 (0.95)
Study dates                                                                   • p=0.002
                        reported.

                                                                                 89
                                Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 90 of 156


Study details          Population                Interventions   Study outcomes                                Appraisal and Funding
Gonadectomy took                                                                                               concomitant treatments or
place between June     At the start of gender-                   Lumbar spine bone mineral density (BMD)       comorbidities were reported.
1998 and August 2012   affirming hormone                         Change from starting gender-affirming
                       treatment, in the                         hormones to age 22 years in transfemales-     Source of funding: None
                       transfemale subgroup                      Mean (SD); g/m2                               disclosed
                       the median Tanner P                       • Start of gender-affirming hormones: 0.84
                       was 4 (IQR 2) and the                         (0.11)
                       median Tanner G was                       • Age 22 years: 0.93 (0.10)
                       12 (IQR 11). In the
                                                                 • p<0.001
                       transmale subgroup the
                                                                 z-score (range)
                       median Tanner B was 5
                                                                 • Start of gender-affirming hormones: -1.01
                       (IQR 2) and the median
                                                                     (0.98)
                       Tanner P was 5 (IQR 0).
                                                                 • Age 22 years: -1.36 (0.83)
                                                                 • No statistically significant difference
                                                                 Change from starting gender-affirming
                                                                 hormones to age 22 years in transmales-
                                                                 Mean (SD); g/m2
                                                                 • Start of gender-affirming hormones: 0.91
                                                                     (0.10)
                                                                 • Age 22 years: 0.99 (0.13)
                                                                 • P<0.001
                                                                 z-score (range)
                                                                 • Start of gender-affirming hormones: -0.72
                                                                     (0.99)
                                                                 • Age 22 years: -0.33 (1.12)
                                                                 • No statistically significant difference

                                                                 Bone density: femoral region,
                                                                 nondominant side

                                                                 Femoral region, nondominant side BMAD
                                                                 Change from starting gender-affirming
                                                                 hormones to age 22 years in transfemales-
                                                                 Mean (SD); g/m3
                                                                 • Start of gender-affirming hormones: 0.26
                                                                    (0.04)
                                                                 • Age 22 years: 0.28 (0.05)

                                                                    90
                        Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 91 of 156


Study details   Population         Interventions        Study outcomes                                Appraisal and Funding
                                                        • No statistically significant difference
                                                        z-score (SD)
                                                        • Start of gender-affirming hormones: -1.57
                                                            (1.74)
                                                        • Age 22 years: Not reported
                                                        • No statistical analysis reported
                                                        Change from starting gender-affirming
                                                        hormones to age 22 years in transmales-
                                                        Mean (SD); g/m3
                                                        • Start of gender-affirming hormones: 0.31
                                                            (0.04)
                                                        • Age 22 years: 0.33 (0.05)
                                                        • p=0.010
                                                        z-score (SD)
                                                        • Start of gender-affirming hormones: -0.28
                                                            (0.74)
                                                        • Age 22 years: Not reported
                                                        • No statistical analysis reported

                                                        Femoral region, nondominant side BMD
                                                        Change from starting gender-affirming
                                                        hormones to age 22 years in transfemales-
                                                        Mean (SD); g/m2
                                                        • Start of gender-affirming hormones: 0.87
                                                            (0.08)
                                                        • Age 22 years: 0.94 (0.11)
                                                        • P=0.009
                                                        z-score (SD)
                                                        • Start of gender-affirming hormones: -0.95
                                                            (0.63)
                                                        • Age 22 years: -0.69 (0.74)
                                                        • No statistically significant difference
                                                        Change from starting gender-affirming
                                                        hormones to age 22 years in transmales-
                                                        Mean (SD); g/m2
                                                        • Start of gender-affirming hormones: 0.88
                                                            (0.09)
                                                        • Age 22 years: 0.95 (0.10)

                                                           91
                                  Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 92 of 156


Study details           Population                 Interventions               Study outcomes                                     Appraisal and Funding
                                                                               • P<0.001
                                                                               z-score (SD)
                                                                               • Start of gender-affirming hormones: -0.35
                                                                                   (0.79)
                                                                               • Age 22 years: -0.35 (0.74)
                                                                               • p=0.006




Study details           Population                 Interventions               Study outcomes                                     Appraisal and Funding
Full citation           148 children and           Hormone therapy, guided     Critical Outcomes                                  This study was appraised
Kuper, Laura E,         adolescents with gender    by Endocrine Society                                                           using the Newcastle-Ottawa
Stewart, Sunita,        dysphoria, n=148, of       Clinical Practice                                                              tool for cohort studies.
                                                                               Impact on mental health
Preston, Stephanie et   whom:                      Guidelines
al. (2020) Body         • 25 received puberty                                  Mean depression score, assessed using the
                                                                               Quick Inventory of Depressive Symptoms             Domain 1: Selection domain
Dissatisfaction and         suppression only       Follow-up at least
Mental Health           • 93 received gender-      18 months from initial      (QIDS), self-reported was 9.6 (SD 5.0) at          1. b) somewhat
Outcomes of Youth on        affirming hormone      assessment at the clinic.   baseline and 7.4 (SD 4.5) at follow-up. The           representative
Gender-Affirming            therapy only                                       authors did not present statistical analysis for   2. c) no-non exposed cohort
Hormone Therapy.        • 30 received both         Mean duration of gender-    the sub-group of participants receiving
                                                                                                                                  3. a) secure record
Pediatrics 145(4)       Results for treatments     affirming hormone           gender-affirming hormones and it is unclear
                                                   therapy before follow-up    whether the change in score was statistically      4. b) no
                        reported separately.
Study location                                     was 10.9 months (range      significant.                                       Domain 2: Comparability
Single centre, Texas,   Mean age at initial        1 to 18; SD 3.3)                                                               1. c) cohorts are not
USA                     assessment was                                         Mean depression score, assessed using the             comparable on the basis
                        15.4 years (range 9 to                                 QIDS, clinician-reported was 5.9 (SD 4.1) at          of the design or analysis
Study type              18).                                                   baseline and 6.0 (SD 3.8) at follow-up. The           controlled for confounders
Prospective                                                                    authors did not present statistical analysis for   Domain 3: Outcome
longitudinal study      Mean age at start of                                   the sub-group of participants receiving            1. d) assessors not blinded
                        gender-affirming                                       gender-affirming hormones and it is unclear           to treatment
Study aim               hormone therapy was                                    whether the change in score was statistically
To:                     16.2 years (range 13.2                                                                                    2. a) yes – follow-up at least
                                                                               significant.
• explore how           to 18.6).                                                                                                    18 months from initial
    baseline body                                                                                                                    assessment. Mean
    dissatisfaction,    All participants met the                               Mean anxiety score, assessed using the                duration of gender-
    depression, and     Diagnostic and                                         Screen for Child Anxiety Related Emotional            affirming hormone
    anxiety symptoms    Statistical                                            Disorders (SCARED) questionnaire was 32.6
    vary by gender,                                                            (SD 16.3) at baseline and 28.4 (SD 15.9) at

                                                                                  92
                                    Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 93 of 156


Study details            Population                   Interventions   Study outcomes                                   Appraisal and Funding
   age at initial        Manual of Mental                             follow-up. The authors did not present              treatment was
   assessment, and       Disorders, Fifth                             statistical analysis for the sub-group of           10.9 months.
   Tanner stage at       Edition criteria for                         participants receiving gender-affirming          3. c) patient numbers vary by
   first medical visit   gender                                       hormones and it is unclear whether the              outcome with no
• examine how            dysphoria.                                   change in score was statistically significant.      explanation
   body
   dissatisfaction,      Specific inclusion and
                                                                      Mean panic score, assessed using specific        Overall quality is assessed
   depression, and       exclusion criteria for the
                                                                      questions from the SCARED questionnaire          as poor
   anxiety symptoms      study are not reported. It
                                                                      was 8.1 (SD 6.3) at baseline and 7.1 (SD 6.5)
   change over the       would appear that all
                                                                      at follow-up. The authors did not present
   first year of         children and                                                                                  Other comments: None
                                                                      statistical analysis for the sub-group of
   gender-affirming      adolescents eligible for
                                                                      participants receiving gender-affirming
   hormone               gender-affirming
                                                                      hormones and it is unclear whether the           Source of funding: Supported
   treatment             hormones were
                                                                      change in score was statistically significant.   by Children’s Health. The
• explore how any        considered eligible for
                                                                                                                       Research Electronic Data
   changes vary by       the study. The authors
                                                                                                                       Capture database was funded
   affirmed gender,      state that before initial                    Mean generalised anxiety score, assessed
                         assessment with a                                                                             by the Clinical and
   Tanner stage,                                                      using specific questions from the SCARED
                         psychologist,                                                                                 Translational Science Awards
   age, type of                                                       questionnaire was 10.0 (SD 5.1) at baseline
                                                                                                                       program
   treatment, months     psychiatrist, and/or                         and 8.8 (SD 6.5) at follow-up. The authors did
   on gender-            clinical therapist,                          not present statistical analysis for the sub-
   affirming hormone     parents completed a                          group of participants receiving gender-
   therapy, mental       phone intake survey.                         affirming hormones and it is unclear whether
   health treatment      Around one-third of                          the change in score was statistically
   received, and         families did not follow-up                   significant.
   whether chest         after the phone intake.
   surgery was also
                                                                      Mean social anxiety score, assessed using
   obtained (among
                                                                      specific questions from the SCARED
   transmales).
                                                                      questionnaire was 8.5 (SD 4.1) at baseline
                                                                      and 7.7 (SD 4.2) at follow-up. The authors did
Study dates
                                                                      not present statistical analysis for the sub-
Initial participant
                                                                      group of participants receiving gender-
assessments took
                                                                      affirming hormones and it is unclear whether
place between August
                                                                      the change in score was statistically
2014 and March 2018.
                                                                      significant.

                                                                      Mean separation anxiety score, assessed
                                                                      using specific questions from the SCARED

                                                                         93
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 94 of 156


                                questionnaire was 3.5 (SD 3.0) at baseline
                                and 3.1 (SD 2.5) at follow-up. The authors did
                                not present statistical analysis for the sub-
                                group of participants receiving gender-
                                affirming hormones and it is unclear whether
                                the change in score was statistically
                                significant.

                                Mean school avoidance score, assessed
                                using specific questions from the SCARED
                                questionnaire was 2.6 (SD 2.1) at baseline
                                and 2.0 (SD 2.0) at follow-up. The authors did
                                not present statistical analysis for the sub-
                                group of participants receiving gender-
                                affirming hormones and it is unclear whether
                                the change in score was statistically
                                significant.

                                The authors also reported results separately
                                for transfemales and transmales:

                                Transfemales No statistical analyses were
                                reported for this sub-group and it is unclear
                                whether any changes in score were
                                statistically significant.
                                •   Mean depression symptoms, assessed
                                    using the QIDS, self-reported was 7.5 (SD
                                    4.9) at baseline and 6.6 (SD 4.4) at
                                    follow-up.
                                •   Mean depression symptoms, assessed
                                    using the QIDS, clinician-reported was
                                    4.2 (SD 3.2) at baseline and 5.4 (SD 3.4)
                                    at follow-up.
                                •   Mean anxiety symptoms, assessed using
                                    the SCARED questionnaire was 26.4 (SD
                                    14.2) at baseline and 24.3 (SD 15.4) at
                                    follow-up.


                                    94
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 95 of 156


                                •   Mean panic symptoms, assessed using
                                    specific questions from the SCARED
                                    questionnaire was 5.7 (SD 4.9) at
                                    baseline and 5.1 (SD 4.9) at follow-up.
                                •   Mean generalised anxiety symptoms,
                                    assessed using specific questions from
                                    the SCARED questionnaire was 8.6 (SD
                                    5.1) at baseline and 8.0 (SD 5.1) at
                                    follow-up.
                                •   Mean social anxiety symptoms, assessed
                                    using specific questions from the
                                    SCARED questionnaire was 7.1 (SD 3.9)
                                    at baseline and 6.8 (SD 4.4) at follow-up.
                                •   Mean separation anxiety symptoms,
                                    assessed using specific questions from
                                    the SCARED questionnaire was 3.4 (SD
                                    3.3) at baseline and 2.7 (SD 2.3) at
                                    follow-up.
                                •   Mean school avoidance symptoms,
                                    assessed using specific questions from
                                    the SCARED questionnaire was 1.8 (SD
                                    1.7) at baseline and 1.9 (SD 2.1) at
                                    follow-up.

                                Transmales No statistical analyses were
                                reported for this sub-group and it is unclear
                                whether any changes in score were
                                statistically significant.
                                •   Mean depression symptoms, assessed
                                    using the QIDS, self-reported was 10.4
                                    (SD 5.0) at baseline and 7.5 (SD 4.5) at
                                    follow-up.
                                •   Mean depression symptoms, assessed
                                    using the QIDS, clinician-reported was
                                    6.7 (SD 4.4) at baseline and 6.2 (SD 4.1)
                                    at follow-up.
                                •   Mean anxiety symptoms, assessed using
                                    the SCARED questionnaire was 35.4 (SD
                                    95
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 96 of 156


                                    16.5) at baseline and 29.8 (SD 15.5) at
                                    follow-up.
                                •   Mean panic symptoms, assessed using
                                    specific questions from the SCARED
                                    questionnaire was 9.3 (SD 6.5) at
                                    baseline and 7.9 (SD 6.5) at follow-up.
                                •   Mean generalised anxiety symptoms,
                                    assessed using specific questions from
                                    the SCARED questionnaire was 10.4 (SD
                                    5.0) at baseline and 9.0 (SD 5.1) at
                                    follow-up.
                                •   Mean social anxiety symptoms, assessed
                                    using specific questions from the
                                    SCARED questionnaire was 8.5 (SD 4.0)
                                    at baseline and 7.8 (SD 4.1) at follow-up.
                                •   Mean separation anxiety symptoms,
                                    assessed using specific questions from
                                    the SCARED questionnaire was 4.2 (SD
                                    3.4) at baseline and 3.4 (SD 2.6) at
                                    follow-up.
                                •   Mean school avoidance symptoms,
                                    assessed using specific questions from
                                    the SCARED questionnaire was 2.6 (SD
                                    2.1) at baseline and 2.0 (SD 2.0) at
                                    follow-up.

                                No difference in impact on mental health
                                found by Tanner age. Numerical results,
                                statistical analysis and information on specific
                                outcomes not reported. It is unclear from the
                                paper whether Tanner age is at initial
                                assessment, start of GnRH analogues, start
                                of gender-affirming hormones, or another
                                timepoint.

                                Important Outcomes
                                Impact on body image

                                    96
                        Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 97 of 156


Study details   Population         Interventions        Study outcomes                                       Appraisal and Funding
                                                        Mean Body Image Scale (BIS) score was 70.7
                                                        (SD 15.2) at baseline and 51.4 (SD 18.3) at
                                                        follow-up. The authors do not present
                                                        statistical analysis for this population and it is
                                                        unclear whether the change in score was
                                                        statistically significant.

                                                        The authors also reported body image results
                                                        separately for transfemales and transmales.
                                                        No statistical analyses were reported for this
                                                        sub-groups and it is unclear whether changes
                                                        in score were statistically significant.
                                                        •   In transfemales, BIS score was 67.5
                                                            (SD 19.5) at baseline and 49.0 (SD 21.6)
                                                            at follow-up.
                                                        •   In transmales, BIS score was 71.1 (SD
                                                            13.4) at baseline and 52.9 (SD 16.8) at
                                                            follow-up.

                                                        No difference in body image score found by
                                                        Tanner age. Numerical results, statistical
                                                        analysis and information on specific outcomes
                                                        not reported. It is unclear from the paper
                                                        whether Tanner age is at initial assessment,
                                                        start of GnRH analogues, start of gender-
                                                        affirming hormones, or another timepoint.

                                                        No other critical or important outcomes
                                                        reported




                                                            97
                                      Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 98 of 156


Study details               Population                  Interventions            Study outcomes                                    Appraisal and Funding
Study dates                 23 adolescents with         Gender-affirming         Critical Outcomes                                 This study was appraised
Lopez de Lara, D.,          gender dysphoria;           hormones-                Impact on gender dysphoria                        using the Newcastle-Ottawa
Perez Rodriguez, O.,        16 transmale and            •   Oral oestradiol                                                        tool for cohort studies.
                                                                                 Following gender-affirming hormones for 12
Cuellar Flores, I. et al.   7 transfemale.
                                                        •   Intramuscular        months, mean (±SD) Utrecht Gender
(2020) Psychosocial
                                                            testosterone         Dysphoria Scale (UGDS) score statistically        Domain 1: Selection domain
assessment in               Participants were
                                                                                 significantly improved, from 57.1 (±4.1) at       1. b) somewhat
transgender                 required to be at a stage
                                                                                 baseline to 14.7 (±3.2; p<0.001)                     representative
adolescents. Anales         of pubertal development     Participants had
de Pediatria                of Tanner 2 or higher.      previously received                                                        2. Not applicable – although
                            People with mental          gonadotropin-releasing   Impact on mental health                              a control group is reported
Study location              health comorbidity that     hormone (GnRH)           Mean depression score statistically                  on, people in this group
Single centre in            could affect the            analogues in the         significantly improved following treatment with      did not have gender
Madrid, Spain               experience of gender        intermediate pubertal    gender-affirming hormones. Mean Beck                 dysphoria.
                            dysphoria were              stages (Tanner 2---3).   Depression Inventory II (BDI-II) score (±SD)      3. a) secure record*
                            excluded.                                            reduced from 19.3 points (±5.5) at baseline to
Study type                                                                                                                         4. b) no
Prospective analytical                                                           9.7 points (±3.9) at 12 months (p<0.001).
                            Mean age at baseline                                                                                   Domain 2: Comparability
study
                            was 16 years (range 14                                                                                 1. Not applicable – although
                            to 18).                                              Mean anxiety scores statistically significantly      a control group is reported
Study aim                                                                        improved following treatment with gender-            on, people in this group
To assess the               30 cisgender controls,                               affirming hormones. Mean (±SD) State-Trait           did not have gender
psychosocial status of      matched for age,                                     Anxiety Inventory (STAI) State subscale score        dysphoria.
patients seeking care       ethnicity, and                                       improved from 33.3 points (±9.1) at baseline
                                                                                                                                   Domain 3: Outcome
in the paediatric           socioeconomic status                                 to 16.8 points (±8.1) at 12 months (p<0.001).
endocrinology clinic                                                             Mean (±SD) State-Trait Anxiety Inventory          1. d) assessors not blinded
for gender dysphoria,                                                            (STAI) Trait subscale score improved from            to treatment
and the impact on                                                                33.0 points (±7.2) at baseline to 18.5 points     2. a) yes – 12 months
psychosocial status of                                                           (±8.4) at 12 months (p<0.001).                       treatment with gender-
gender-affirming                                                                                                                      affirming hormones
hormone therapy at                                                                                                                 3. a) complete follow up - all
12 months of                                                                     Important Outcomes
                                                                                                                                      subjects accounted for
treatment                                                                        Psychosocial Impact
                                                                                 There was not change in family functioning,
Study dates                                                                      measured using the Family APGAR test, from        Overall quality is assessed
Not reported                                                                     baseline (17.9 points) to 1 year after starting   as poor




                                                                                    98
                        Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 99 of 156


Study details   Population         Interventions        Study outcomes                                  Appraisal and Funding
                                                        gender-affirming hormones (18.0 points; no      Other comments: None
                                                        statistical analysis reported).
                                                                                                        Source of funding: Not
                                                        Results from the Strengths and Difficulties     reported
                                                        Questionnaire, Spanish Version (SDQ-Cas)
                                                        showed statistically significant improvements
                                                        from baseline (14.7 points; SD±3.3) to 12
                                                        months after gender-affirming hormones
                                                        (10.3 points; SD±2.9; p<0.001)

                                                        No other critical or important outcomes
                                                        reported




                                                           99
                                  Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 100 of 156


Study details            Population               Interventions              Study outcomes                                   Appraisal and Funding
Full citation            62 transmales with       Testosterone               Critical Outcomes                                This study was appraised
Stoffers, Iris E; de     gender dysphoria.        intramuscular injection                                                     using the Newcastle-Ottawa
Vries, Martine C;        participants were        (Sustanon 250 mg).         No critical outcomes assessed.                   tool for cohort studies.
Hannema, Sabine E        required to have been    Dose escalated every
(2019) Physical          receiving testosterone   6 months up to the         Important outcomes                               Domain 1: Selection domain
changes, laboratory      therapy for at least     standard adult dose of                                                      1. b) somewhat
parameters, and bone     6 months. Further        125 mg every 2 weeks or    Safety                                              representative
mineral density during   inclusion or exclusion   250 mg every 3-4 weeks.                                                     2. c) no-non exposed cohort
testosterone treatment   criteria not reported.   A more rapid dose          Bone mineral density (BMD): lumbar spine         3. a) secure record*
in adolescents with                               escalation was using in    There was no statistically significant           4. b) no
gender dysphoria. The    Gender dysphoria was     patients who started       difference in lumber spine bone mineral          Domain 2: Comparability
journal of sexual        diagnosed according to   GnRH analogue              density (BMD) from start of testosterone         1. c) cohorts are not
medicine 16(9): 1459-    the Diagnostic and       treatment at 16 years or   treatment to any timepoint, up to 24 months         comparable on the basis
1468                     Statistical              older.                     follow-up.                                          of the design or analysis
                         Manual of Mental                                    Mean (±SD), g/cm2:                                  controlled for confounders
Study location           Disorders, Fifth         Median age at start of     • Start of testosterone: 0.90 (±0.11)            Domain 3: Outcome
Single centre, Leiden,   Edition criteria.        testosterone treatment     • 6 months: 0.94 (±0.10)                         1. b) record linkage
Netherlands              .                        was 17.2 years (range      • 12 months: 0.95 (±0.09)                        2. a) yes – mean duration of
                                                  14.9 to 18.4)              • 24 months: 0.95 (±0.11)                           gender-affirming hormone
Study type                                                                   z-score (±SD):                                      treatment was 5.8 and 5.4
Retrospective chart                               Median duration of         • Start of testosterone: -0.81 (±1.02)              years.
review                                            testosterone treatment     • 6 months: -0.67 (±0.95)                        3. a) complete follow up - all
                                                  was 12 months (range 5     • 12 months: -0.66 (±0.81)                          subjects accounted for
Study aim                                         to 33)
                                                                             • 24 months: -0.74 (±1.17)
To report changes in                                                                                                          Overall quality is assessed
height, BMI, blood                                Median duration of GnRH                                                     as poor
                                                                             Bone mineral density (BMD): femoral neck
pressure, laboratory                              analogue treatment was
                                                                             (hip)
parameters and                                    8 months (range 3 to 39)                                                    Other comments: None
                                                                             There was no statistically significant
bone density.
                                                                             difference in right or left femoral neck (hip)
                                                                                                                              Source of funding: None
                                                                             bone mineral density (BMD) from start of
Study dates
November 2010 to
August 2018




                                                                               100
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 101 of 156


                                testosterone treatment to any timepoint, up to
                                24 months follow-up.
                                Right
                                Mean (±SD), g/cm2:
                                • Start of testosterone: 0.77 (±0.08)
                                • 6 months: 0.84 (±0.11)
                                • 12 months: 0.82 (±0.08)
                                • 24 months: 0.85 (±0.11)
                                z-score (±SD):
                                • Start of testosterone: -0.97 (0.79)
                                • 6 months: -0.54 (±0.96)
                                • 12 months: -0.80 (±0.69)
                                • 24 months: -0.31 (±0.84)
                                Left
                                Mean (±SD), g/cm2:
                                • Start of testosterone: 0.76 (±0.09)
                                • 6 months: 0.83 (±0.12)
                                • 12 months: 0.81 (±0.08)
                                • 24 months: 0.86 (±0.09)
                                z-score (±SD):
                                • Start of testosterone: -1.07 (0.85)
                                • 6 months: -0.62 (±1.12)
                                • 12 months: -0.93 (±0.63)
                                • 24 months: -0.20 (±0.70)

                                Other safety-related outcomes
                                • Alkaline phosphatase: statistically
                                   significant increases observed from start
                                   of testosterone treatment to 6 months and
                                   12 months (p<0.001), although difference
                                   at 24 months was not statistically
                                   significant. Median (IQR), U/L
                                        o Start of testosterone: 102 (78 to
                                            136)
                                        o 6 months: 115 (102 to 147)
                                        o 12 months: 112 (88 to 143)
                                        o 24 months: 81 (range 69 to 98)
                                • Creatinine: statistically significant
                                   increases observed from start of

                                  101
                        Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 102 of 156


Study details   Population          Interventions       Study outcomes                                  Appraisal and Funding
                                                           testosterone treatment to 6, 12 and
                                                           24 months (p<0.001). Mean (±SD),
                                                           umol/L
                                                               o Start of testosterone: 62 (±7)
                                                               o 6 months: 70 (±9)
                                                               o 12 months: 74 (±10)
                                                               o 24 months: 81 (±10)

                                                        There was no statistically significant change
                                                        from start of testosterone treatment in:
                                                        • HbA1c
                                                        • Aspartate aminotransferase (AST)
                                                        • Alanine aminotransferase (ALT)
                                                        • Gamma-glutamyl transferase
                                                        • Urea
                                                        Numerical results, follow-up duration and
                                                        further details of statistical analysis not
                                                        reported.




                                                          102
                                 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 103 of 156


Study details           Population                  Interventions                 Study outcomes                                  Appraisal and Funding
Full citation           70 adolescents with         Transfemales:                 Critical outcomes                               This study was appraised
Vlot MC, Klink DT,      gender dysphoria            Oestradiol oral                                                               using the Newcastle-Ottawa
den Heijer M et al.     (42 transmales and          Dose escalated every          No critical outcomes reported                   tool for cohort studies.
(2017) Effect of        28 transfemales).           6 months until standard
pubertal suppression                                adult dose of 2 mg daily      Important outcomes
                                                                                                                                  Domain 1: Selection domain
and cross-sex                                       was reached
                        Median age (range) at                                                                                     1. b) somewhat
hormone therapy on                                                                Bone density: lumbar spine
                        the start of gender-                                                                                         representative
bone turnover markers                               Transmales:
                        affirming hormones was
and bone mineral                                    Testosterone                  Lumbar spine bone mineral apparent              2. c) no-non exposed cohort
                        16.3 years (15.9 to 19.5)
apparent density                                    intramuscular injection       density (BMAD)                                  3. a) secure record*
                        for transmales and
(BMAD) in                                           (Sustanon 250 mg).
                        16.0 years (14.0 to 18.9)                                                                                 4. b) no
transgender                                         Dose escalated every          Transfemales (bone age <15 years), change
                        for transfemales.                                                                                         Domain 2: Comparability
adolescents. Bone 95:                               6 months up to the            from starting gender-affirming hormones to
11-19                                               standard adult dose of        24 months follow-up.                            1. c) cohorts are not
                        Participants were           250 mg every 4 weeks or       Median (range), g/m3                               comparable on the basis
Study location          included if they had a      250 mg every 3-4 weeks.       • Start of gender-affirming hormones (C0):         of the design or analysis
Single centre,          diagnosis of gender                                           0.20 (0.18 to 0.24)                            controlled for confounders
Amsterdam,              dysphoria according to      All participants previously   • 24-month follow-up (C24): 0.22 (0.19 to       Domain 3: Outcome
Netherlands             DSM-IV-TR criteria who      received a GnRH                   0.27)                                       1. b) record linkage
                        received GnRH               analogue (triptorelin         • Statistically significant increase (p≤0.01)
Study type              analogues and then          3.75 mg subcutaneously                                                        2. a) yes- 24 month follow-up
                                                                                  z-score (range)
Retrospective chart     gender-affirming            every 4 weeks)                • Start of gender-affirming hormones (C0): -    3. a) complete follow up - all
review                  hormones.                                                     1.52 (-2.36 to 0.42)                           subjects accounted for
                                                    Median duration of GnRH       • 24-month follow-up (C24):
Study aim                                           analogue therapy not          • Statistically significant increase (p≤0.05)   Overall quality is assessed
                        No concomitant
To investigate the                                  reported.                                                                     as poor.
                        treatments were
impact of GnRH
                        reported.                                                 Transfemales (bone age ≥15 years), change
analogues and
gender-affirming                                                                  from starting gender-affirming hormones to      Other comments: None
hormones on bone        The study categorised                                     24 months follow-up.
mineral apparent        participants into a young                                 Median (range), g/m3                            Source of funding: grant from
density (BMAD) in       and old pubertal group,                                   • Start of gender-affirming hormones: 0.22      Abbott diagnostics
transgender             based on their bone                                           (0.19 to 0.24)
adolescents. The        age. The young                                            • 24-months: 0.23 (0.21 to 0.26)
study also report on    transmales had a bone                                     • Statistically significant increase (p≤0.05)
levels of bone          age of <14 years and                                      z-score (range)
turnover markers,       the old transmales had a                                  • Start of gender-affirming hormones: -1.15
although the authors    bone age of ≥14 years.                                        (-2.21 to 0.08)
concluded that the      The young transfemales                                    • 24-months: -0.66 (-1.66 to 0.54)
                                                                                    103
                                Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 104 of 156


Study details          Population                Interventions   Study outcomes                                  Appraisal and Funding
added value of these   group had a bone age of                   Statistically significant increase (p≤0.05)
seems to be limited.   <15 years and the old
                       transfemales group ≥15
                                                                 Transmales (bone age <14 years), change
Study dates            years.
                                                                 from starting gender-affirming hormones to
Participants started
                                                                 24 months follow-up.
gender-affirming
                                                                 Median (range), g/m3
therapy between 2001
and 2011                                                         • Start of gender-affirming hormones: 0.23
                                                                     (0.19 to 0.28)
                                                                 • 24-months: 0.25 (0.22 to 0.28)
                                                                 • Statistically significant increase (p≤0.01)
                                                                 z-score (range)
                                                                 • Start of gender-affirming hormones: -0.84
                                                                     (-2.2 to 0.87)
                                                                 • 24-months: -0.15 (-1.38 to 0.94)
                                                                 Statistically significant increase (p≤0.01)

                                                                 Transmales (bone age ≥14 years), change
                                                                 from starting gender-affirming hormones to
                                                                 24 months follow-up.
                                                                 Median (range), g/m3
                                                                 • Start of gender-affirming hormones: 0.24
                                                                     (0.20 to 0.28)
                                                                 • 24-months: 0.25 (0.21 to 0.30)
                                                                 • Statistically significant increase (p≤0.01)
                                                                 z-score (range)
                                                                 • Start of gender-affirming hormones: -0.29
                                                                     (-2.28 to 0.90)
                                                                 • 24-months: -0.06 (-1.75 to 1.61)
                                                                 Statistically significant increase (p≤0.01)

                                                                 Bone density: femoral neck

                                                                 Femoral neck BMAD

                                                                 Transfemales (bone age <15 years), change
                                                                 from starting gender-affirming hormones to
                                                                 24 months follow-up.

                                                                   104
                        Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 105 of 156


Study details   Population          Interventions       Study outcomes                                  Appraisal and Funding
                                                        Median (range), g/m3
                                                        • Start of gender-affirming hormones: 0.27
                                                            (0.20 to 0.33)
                                                        • 24-months: 0.27 (0.20 to 0.36)
                                                        • No statistically significant change
                                                        z-score (range)
                                                        • Start of gender-affirming hormones: -1.32
                                                            (-3.39 to 0.21)
                                                        • 24-months: -1.30 (-3.51 to 0.92)
                                                        • No statistically significant change

                                                        Transfemales (bone age ≥15 years), change
                                                        from starting gender-affirming hormones to
                                                        24 months follow-up.
                                                        Median (range), g/m3
                                                        • Start of gender-affirming hormones: 0.30
                                                            (0.26 to 0.34)
                                                        • 24-months: 0.29 (0.24 to 0.38)
                                                        • No statistically significant change
                                                        z-score (range)
                                                        • Start of gender-affirming hormones: -0.36
                                                            (-1.50 to 0.46)
                                                        • 24-months: -0.56 (-2.17 to 1.29)
                                                        • No statistically significant change

                                                        Transmales (bone age <14 years), change
                                                        from starting gender-affirming hormones to
                                                        24 months follow-up.
                                                        Median (range), g/m3
                                                        • Start of gender-affirming hormones: 0.30
                                                            (0.22 to 0.35)
                                                        • 24-months: 0.33 (0.23 to 0.37)
                                                        • Statistically significant increase (p≤0.01)
                                                        z-score (range)
                                                        • Start of gender-affirming hormones: -0.37
                                                            (-2.28 to 0.47)
                                                        • 24-months: -0.37 (-2.03 to 0.85)

                                                          105
                        Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 106 of 156


Study details   Population          Interventions       Study outcomes                                     Appraisal and Funding
                                                        •    Statistically significant increase (p≤0.01)

                                                        Transmales (bone age ≥14 years), change
                                                        from starting gender-affirming hormones to
                                                        24 months follow-up.
                                                        •   Start of gender-affirming hormones: 0.30
                                                            (0.23 to 0.41)
                                                        • 24-months: 0.32 (0.23 to 0.41)
                                                        • Statistically significant increase (p≤0.01)
                                                        z-score (range)
                                                        • Start of gender-affirming hormones: -0.27
                                                            ((-1.91 to 1.29)
                                                        • 24-months: 0.02 (-2.1 to 1.35)
                                                        • Statistically significant increase (p≤0.05)




                                                            106
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 107 of 156




Appendix F Quality appraisal checklists

Newcastle-Ottawa Quality Assessment Form for Cohort Studies
Note: A study can be given a maximum of one star for each numbered item within the
Selection and Outcome categories. A maximum of two stars can be given for Comparability.
Selection
1) Representativeness of the exposed cohort
       a) Truly representative (one star)
       b) Somewhat representative (one star)
       c) Selected group
       d) No description of the derivation of the cohort
2) Selection of the non-exposed cohort
       a) Drawn from the same community as the exposed cohort (one star)
       b) Drawn from a different source
       c) No description of the derivation of the non exposed cohort
3) Ascertainment of exposure
       a) Secure record (e.g., surgical record) (one star)
       b) Structured interview (one star)
       c) Written self report
       d) No description
       e) Other
4) Demonstration that outcome of interest was not present at start of study
       a) Yes (one star)
       b) No
Comparability
1) Comparability of cohorts on the basis of the design or analysis controlled for confounders
       a) The study controls for age, sex and marital status (one star)
       b) Study controls for other factors (list) _________________________________
       (one star)
       c) Cohorts are not comparable on the basis of the design or analysis controlled for
       confounders
Outcome
1) Assessment of outcome
       a) Independent blind assessment (one star)
       b) Record linkage (one star)
       c) Self report
       d) No description
       e) Other
2) Was follow-up long enough for outcomes to occur
       a) Yes (one star)
       b) No
       Indicate the median duration of follow-up and a brief rationale for the assessment
       above:____________________
3) Adequacy of follow-up of cohorts
       a) Complete follow up- all subject accounted for (one star)



                                             107
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 108 of 156



       b) Subjects lost to follow up unlikely to introduce bias- number lost less than or equal
       to 20% or description of those lost suggested no different from those followed. (one
       star)
       c) Follow up rate less than 80% and no description of those lost
       d) No statement

Thresholds for converting the Newcastle-Ottawa scales to AHRQ standards (good, fair, and
poor):
Good quality: 3 or 4 stars in selection domain AND 1 or 2 stars in comparability domain
AND 2 or 3 stars in outcome/exposure domain
Fair quality: 2 stars in selection domain AND 1 or 2 stars in comparability domain AND 2 or
3 stars in outcome/exposure domain
Poor quality: 0 or 1 star in selection domain OR 0 stars in comparability domain OR 0 or 1
stars in outcome/exposure domain




                                             108
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 109 of 156




Appendix G Grade profiles


Table 2: Question 1: For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with gender-affirming hormones compared with one or a combination of psychological support, social transitioning to the
desired gender or no intervention? - Gender dysphoria
                                                                                                       Summary of findings
                                  QUALITY
                                                                                      No of patients                         Effect              IMPORTANCE            CERTAINTY
    Study       Risk of bias   Indirectness    Inconsistency    Imprecision    Intervention   Comparator                     Result
 Impact on gender dysphoria (1 uncontrolled, prospective observational study)
 Change from baseline in mean gender dysphoria score, measured using the UGDS (duration of treatment 12 months). Higher scores indicate
 greater gender dysphoria.
   1 cohort
                                                                                                                T0 (baseline) = 57.1 (SD 4.1)
    study
                  Serious       No serious       No serious         Not                                        T1 (12 months) = 14.7 (SD 3.2)
  Lopez de                                                                        N=23           None                                                 Critical         VERY LOW
                limitations1   indirectness    inconsistency     calculable                                         Statistically significant
  Lara et al.
                                                                                                                   improvement, p<0.001
    2020

Abbreviations: p: p-value; SD: standard deviation; UGDS: Utrecht Gender Dysphoria Scale

1 Downgraded 1 level - the cohort study by Lopez de Lara et al. 2020 was assessed at high risk of bias (poor quality overall; lack of blinding and no control group)



Table 3: Question 1: For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with gender-affirming hormones compared with one or a combination of psychological support, social transitioning to the
desired gender or no intervention? – Mental health
                                                                                                       Summary of findings
                                  QUALITY
                                                                                       No of events                          Effect              IMPORTANCE            CERTAINTY
    Study       Risk of bias   Indirectness    Inconsistency    Imprecision    Intervention   Comparator                     Result
 Impact on mental health (3 uncontrolled, prospective observational studies and 2 uncontrolled, retrospective observational studies)
 Change from baseline in mean depression score, measured using the BDI-II (duration of treatment 12 months). Higher scores indicate more
 severe depression.
                                                                                      109
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 110 of 156




                                                                                                  Summary of findings
                                QUALITY
                                                                                   No of events                         Effect                IMPORTANCE    CERTAINTY
  Study       Risk of bias   Indirectness    Inconsistency   Imprecision   Intervention   Comparator                    Result
 1 cohort                                                                                                  T0 (baseline) = 19.3 (SD 5.5)
  study                       No serious       No serious       Not                                        T1 (12 months) = 9.7 (SD 3.9)
                Serious                                                       N=23           None                                                Critical   VERY LOW
Lopez de
              limitations1   indirectness    inconsistency   calculable                                         Statistically significant
Lara et al.
  2020                                                                                                         improvement, p<0.001
Change from baseline in mean depression score, measured using the CESD-R (approximately 12-month follow-up). Higher scores indicate more
severe depression.
                                                                                                            Wave 1 (baseline) = 21.4
1 cohort                                                                                                   Wave 3 (approx. 12 months) =
 study          Serious         Serious        No serious       Not
                                                                              N=50           None                       13.9                     Critical   VERY LOW
Achille et    limitations2   indirectness3   inconsistency   calculable
al. 2020                                                                                                      Statistically significant
                                                                                                             improvement (p<0.001)
Change from baseline in depression score, measured using the Patient Health Questionnaire Modified for Teens (PHQ 9_Modified for Teens)
(approximately 12-month follow-up). Higher scores indicate more severe depression.
                                                                                                               Statistically significant
                                                                                                             reductions in mean score,
1 cohort                                                                                                               p<0.001
 study          Serious         Serious        No serious       Not
                                                                              N=50           None                Results presented               Critical   VERY LOW
Achille et    limitations2   indirectness3   inconsistency   calculable
al. 2020                                                                                                    diagrammatically, numerical
                                                                                                             results for mean score not
                                                                                                                       reported
Change from baseline in depression symptoms, measured using the Quick Inventory of Depressive Symptoms (QIDS), self-reported (mean
duration of gender-affirming hormone treatment 10.9 months). Higher scores indicate more severe depression.
                                                                                                               Baseline = 9.6 (SD 5.0)
 1 cohort                                                                                                      Follow-up = 7.4 (SD 4.5)
  study         Serious       No serious       No serious       Not                                        No statistical analysis reported
                                                                             N=105           None                                                Critical   VERY LOW
 Kuper et     limitations4   indirectness    inconsistency   calculable                                   for the sub-group of participants
 al. 2020                                                                                                    receiving gender-affirming
                                                                                                                      hormones
Change from baseline in depression symptoms, measured using the Quick Inventory of Depressive Symptoms (QIDS), clinician-reported (mean
duration of gender-affirming hormone treatment 10.9 months). Higher scores indicate more severe depression.
 1 cohort       Serious       No serious       No serious       Not                                           Baseline = 5.9 (SD 4.1)
                                                                             N=106           None                                                Critical   VERY LOW
  study       limitations4   indirectness    inconsistency   calculable                                       Follow-up = 6.0 (SD 3.8)
                                                                                  110
                             Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 111 of 156




                                                                                                 Summary of findings
                                QUALITY
                                                                                  No of events                         Effect                  IMPORTANCE    CERTAINTY
  Study       Risk of bias   Indirectness   Inconsistency   Imprecision   Intervention   Comparator                    Result
 Kuper et                                                                                                 No statistical analysis reported
 al. 2020                                                                                                for the sub-group of participants
                                                                                                          who received gender-affirming
                                                                                                                     hormones
Need for treatment due to depression, during and before gender identity assessment, and during real life phase (approximately 12 months
follow-up)
                                                                                                            During and before gender
                                                                                                                identity assessment
 1 cohort                                                                                                           54% (28/52)
  study         Serious       No serious      No serious       Not
                                                                             N=52           None               During real life phase             Critical   VERY LOW
Kaltiala et   limitations7   indirectness   inconsistency   calculable
 al. 2020                                                                                                            15% (8/52)
                                                                                                         Statistically significant reduction
                                                                                                                      (p<0.001)
Change from baseline in anxiety score, measured using the STAI-State subscale (duration of treatment 12 months). Higher scores indicate more
severe anxiety.
 1 cohort                                                                                                 T0 (baseline) = 33.3 (SD 9.1)
  study                       No serious      No serious       Not                                       T1 (12 months) = 16.8 (SD 8.1)
                Serious                                                      N=23           None                                                  Critical   VERY LOW
Lopez de
              limitations1   indirectness   inconsistency   calculable                                        Statistically significant
Lara et al.
  2020                                                                                                       improvement, p<0.001
Change from baseline in anxiety score, measured using the STAI-Trait subscale (duration of treatment 12 months). Higher scores indicate more
severe anxiety.
 1 cohort                                                                                                 T0 (baseline) = 33.0 (SD 7.2)
  study                       No serious      No serious       Not                                       T1 (12 months) = 18.5 (SD 8.4)
                Serious                                                      N=23           None                                                  Critical   VERY LOW
Lopez de
              limitations1   indirectness   inconsistency   calculable                                        Statistically significant
Lara et al.
  2020                                                                                                       improvement, p<0.001
Change from baseline in anxiety symptoms, measured using the SCARED questionnaire (mean duration of gender-affirming hormone treatment
10.9 months). Higher scores indicate more severe anxiety.
 1 cohort                                                                                                    Baseline = 32.6 (SD 16.3)
  study         Serious       No serious      No serious       Not                                          Follow-up = 28.4 (SD 15.9)
                                                                             N=80           None                                                  Critical   VERY LOW
 Kuper et     limitations4   indirectness   inconsistency   calculable                                    No statistical analysis reported
 al. 2020                                                                                                for the sub-group of participants

                                                                                 111
                           Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 112 of 156




                                                                                               Summary of findings
                              QUALITY
                                                                                No of events                         Effect                IMPORTANCE    CERTAINTY
  Study     Risk of bias   Indirectness   Inconsistency   Imprecision   Intervention   Comparator                    Result
                                                                                                        who received gender-affirming
                                                                                                                 hormones
Change from baseline in panic symptoms, measured using specific questions from the SCARED questionnaire (mean duration of gender-
affirming hormone treatment 10.9 months). Higher scores indicate more severe symptoms.
                                                                                                            Baseline = 8.1 (SD 6.3)
 1 cohort                                                                                                   Follow-up = 7.1 (SD 6.5)
  study       Serious       No serious      No serious       Not                                        No statistical analysis reported
                                                                           N=82           None                                                Critical   VERY LOW
 Kuper et   limitations4   indirectness   inconsistency   calculable                                   for the sub-group of participants
 al. 2020                                                                                               who received gender-affirming
                                                                                                                   hormones
Change from baseline in generalised anxiety symptoms, measured using specific questions from the SCARED questionnaire (mean duration of
gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
                                                                                                            Baseline = 10.0 (SD 5.1)
 1 cohort                                                                                                   Follow-up = 8.8 (SD 5.0)
  study       Serious       No serious      No serious       Not                                        No statistical analysis reported
                                                                           N=82           None                                                Critical   VERY LOW
 Kuper et   limitations4   indirectness   inconsistency   calculable                                   for the sub-group of participants
 al. 2020                                                                                               who received gender-affirming
                                                                                                                   hormones
Change from baseline in social anxiety symptoms, measured using specific questions from the SCARED questionnaire (mean duration of
gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
                                                                                                            Baseline = 8.5 (SD 4.1)
 1 cohort                                                                                                   Follow-up = 7.7 (SD 4.2)
  study       Serious       No serious      No serious       Not                                        No statistical analysis reported
                                                                           N=82           None                                                Critical   VERY LOW
 Kuper et   limitations4   indirectness   inconsistency   calculable                                   for the sub-group of participants
 al. 2020                                                                                               who received gender-affirming
                                                                                                                   hormones
Change from baseline in separation anxiety symptoms, measured using specific questions from the SCARED questionnaire (mean duration of
gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                   Baseline = 3.5 (SD 3.0)
  study       Serious       No serious      No serious       Not                                            Follow-up = 3.1 (SD 2.5)
                                                                           N=81           None                                                Critical   VERY LOW
 Kuper et   limitations4   indirectness   inconsistency   calculable                                    No statistical analysis reported
 al. 2020                                                                                              for the sub-group of participants

                                                                               112
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 113 of 156




                                                                                                   Summary of findings
                                 QUALITY
                                                                                    No of events                         Effect                  IMPORTANCE    CERTAINTY
  Study        Risk of bias   Indirectness    Inconsistency   Imprecision   Intervention   Comparator                    Result
                                                                                                            who received gender-affirming
                                                                                                                     hormones
Change from baseline in school avoidance, measured using specific questions from the SCARED questionnaire (mean duration of gender-
affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
                                                                                                                Baseline = 2.6 (SD 2.1)
 1 cohort                                                                                                       Follow-up = 2.0 (SD 2.0)
  study          Serious       No serious       No serious       Not                                        No statistical analysis reported
                                                                               N=80           None                                                  Critical   VERY LOW
 Kuper et      limitations4   indirectness    inconsistency   calculable                                   for the sub-group of participants
 al. 2020                                                                                                   who received gender-affirming
                                                                                                                       hormones
Need for treatment due to anxiety, during and before gender identity assessment, and during real life phase (approximately 12 months follow-
up)
                                                                                                              During and before gender
                                                                                                                  identity assessment
 1 cohort                                                                                                             48% (25/52)
  study          Serious       No serious       No serious       Not
                                                                               N=52           None               During real life phase             Critical   VERY LOW
Kaltiala et    limitations7   indirectness    inconsistency   calculable
 al. 2020                                                                                                              15% (8/52)
                                                                                                           Statistically significant reduction
                                                                                                                        (p<0.001)
Change from baseline in adjusted mean suicidality score, measured using the ASQ instrument (mean treatment duration 349 days). Higher
scores indicate a greater degree of suicidality.
                                                                                                            T0 (baseline) = 1.11 (SE 0.22)
 1 cohort                                                                                                    T1 (final assessment) = 0.27
   study         Serious       No serious       No serious       Not                                                    (SE 0.12)
                                                                               N=39           None                                                  Critical   VERY LOW
Allen et al.   limitations5   indirectness    inconsistency   calculable                                        Statistically significant
   2019                                                                                                    improvement in score from T0 to
                                                                                                                      T1, p<0.001
Change from baseline in percentage of participants with suicidal ideation, measured using the additional questions from the PHQ 9_Modified for
Teens (approximately 12-month follow-up)
1 cohort                                                                                                   Wave 1 (baseline) = 10% (5/50)
 study           Serious         Serious        No serious       Not
                                                                               N=50           None         Wave 3 (approx. 12 months) =             Critical   VERY LOW
Achille et     limitations2   indirectness3   inconsistency   calculable
al. 2020                                                                                                             6% (3/50)

                                                                                   113
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 114 of 156




                                                                                                  Summary of findings
                                QUALITY
                                                                                   No of events                         Effect                IMPORTANCE    CERTAINTY
  Study       Risk of bias   Indirectness    Inconsistency   Imprecision   Intervention   Comparator                    Result
                                                                                                           No statistical analysis reported

Change from baseline in suicidal ideation (passive), information on which was collected by clinician, exact methods / tools not reported (mean
duration of gender-affirming hormone treatment was 10.9 months)
                                                                                                           Lifetime = 81% (105 people)
 1 cohort                                                                                                      1 month before initial
                               Serious
  study         Serious                        No serious       Not                                       assessment = 25% (33 people)
                             indirectness                                    N=130           None                                                Critical   VERY LOW
 Kuper et     limitations4         6         inconsistency   calculable                                       Follow-up period = 38%
 al. 2020                                                                                                           (51 people)
                                                                                                          No statistical analysis reported
Change from baseline in suicide attempts, information on which was collected by clinician, exact methods / tools not reported (mean duration of
gender-affirming hormone treatment was 10.9 months)
                                                                                                             Lifetime = 15% (20 people)
 1 cohort                                                                                                       3 months before initial
  study         Serious         Serious        No serious       Not                                         assessment = 2% (3 people)
                                                                             N=130           None                                                Critical   VERY LOW
 Kuper et     limitations4   indirectness6   inconsistency   calculable                                         Follow-up period = 5%
 al. 2020                                                                                                             (6 people)
                                                                                                           No statistical analysis reported
Change from baseline in non-suicidal self-injury, information on which was collected by clinician, exact methods / tools not reported (mean
duration of gender-affirming hormone treatment was 10.9 months)
                                                                                                            Lifetime = 52% (68 people)
 1 cohort                                                                                                      3 months before initial
  study         Serious         Serious        No serious       Not                                       assessment = 10% (13 people)
                                                                             N=130           None                                                Critical   VERY LOW
 Kuper et     limitations4   indirectness6   inconsistency   calculable                                       Follow-up period = 17%
 al. 2020                                                                                                           (23 people)
                                                                                                          No statistical analysis reported
Need for treatment due to suicidality / self-harm, during and before gender identity assessment, and during real life phase (approximately 12
months follow-up)
 1 cohort                                                                                                    During and before gender
  study         Serious       No serious       No serious       Not                                            identity assessment
                                                                              N=52           None                                                Critical   VERY LOW
Kaltiala et   limitations7   indirectness    inconsistency   calculable                                            35% (18/52)
 al. 2020                                                                                                     During real life phase

                                                                                  114
                             Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 115 of 156




                                                                                                 Summary of findings
                                QUALITY
                                                                                  No of events                         Effect                  IMPORTANCE    CERTAINTY
  Study       Risk of bias   Indirectness   Inconsistency   Imprecision   Intervention   Comparator                    Result
                                                                                                                      4% (2/52)
                                                                                                         Statistically significant reduction
                                                                                                                      (p<0.001)
Need for mental health treatment, during and before gender identity assessment, and during real life phase (approximately 12 months follow-up)

                                                                                                            During and before gender
                                                                                                              identity assessment
 1 cohort                                                                                                          50% (26/52)
  study         Serious       No serious      No serious       Not                                           During real life phase
                                                                             N=52           None                                                  Critical   VERY LOW
Kaltiala et   limitations7   indirectness   inconsistency   calculable                                             46% (24/51)
 al. 2020                                                                                                   No statistically significant
                                                                                                              difference (p= 0.77)

Need for treatment due to conduct problems / antisocial, during and before gender identity assessment, and during real life phase
(approximately 12 months follow-up)
                                                                                                            During and before gender
                                                                                                              identity assessment
 1 cohort                                                                                                          14% (7/52)
  study         Serious       No serious      No serious       Not
                                                                             N=52           None             During real life phase               Critical   VERY LOW
Kaltiala et   limitations7   indirectness   inconsistency   calculable
 al. 2020                                                                                                           6% (3/52)
                                                                                                            No statistically significant
                                                                                                              difference (p= 0.18)
Need for treatment due to psychotic symptoms or psychosis, during and before gender identity assessment, and during real life phase
(approximately 12 months follow-up)
                                                                                                            During and before gender
                                                                                                              identity assessment
 1 cohort                                                                                                           2% (1/52)
  study         Serious       No serious      No serious       Not
                                                                             N=52           None             During real life phase               Critical   VERY LOW
Kaltiala et   limitations7   indirectness   inconsistency   calculable
 al. 2020                                                                                                           4% (2/52)
                                                                                                            No statistically significant
                                                                                                              difference (p= 0.56)
Need for treatment due to substance abuse, during and before gender identity assessment, and during real life phase (approximately 12 months
follow-up)
                                                                                 115
                             Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 116 of 156




                                                                                                 Summary of findings
                                QUALITY
                                                                                  No of events                         Effect              IMPORTANCE    CERTAINTY
  Study       Risk of bias   Indirectness   Inconsistency   Imprecision   Intervention   Comparator                    Result
                                                                                                            During and before gender
                                                                                                              identity assessment
 1 cohort                                                                                                           4% (2/52)
  study         Serious       No serious      No serious       Not                                           During real life phase
                                                                             N=52           None                                              Critical   VERY LOW
Kaltiala et   limitations7   indirectness   inconsistency   calculable                                              2% (1/52)
 al. 2020                                                                                                   No statistically significant
                                                                                                              difference (p= 0.56)

Need for treatment due to autism, during and before gender identity assessment, and during real life phase (approximately 12 months follow-up)

                                                                                                            During and before gender
                                                                                                              identity assessment
 1 cohort                                                                                                          12% (6/52)
  study         Serious       No serious      No serious       Not                                           During real life phase
                                                                             N=52           None                                              Critical   VERY LOW
Kaltiala et   limitations7   indirectness   inconsistency   calculable                                              6% (3/52)
 al. 2020                                                                                                   No statistically significant
                                                                                                              difference (p= 0.30)

Need for treatment due to ADHD, during and before gender identity assessment, and during real life phase (approximately 12 months follow-up)

                                                                                                            During and before gender
                                                                                                              identity assessment
 1 cohort                                                                                                          10% (5/52)
  study         Serious       No serious      No serious       Not                                           During real life phase
                                                                             N=52           None                                              Critical   VERY LOW
Kaltiala et   limitations7   indirectness   inconsistency   calculable                                              2% (1/52)
 al. 2020                                                                                                   No statistically significant
                                                                                                              difference (p= 0.09)

Need for treatment due to eating disorder, during and before gender identity assessment, and during real life phase (approximately 12 months
follow-up)
 1 cohort                                                                                                   During and before gender
  study         Serious       No serious      No serious       Not
                                                                             N=52           None              identity assessment             Critical   VERY LOW
Kaltiala et   limitations7   indirectness   inconsistency   calculable
 al. 2020                                                                                                           2% (1/52)

                                                                                 116
                                Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 117 of 156




                                                                                                         Summary of findings
                                   QUALITY
                                                                                        No of events                           Effect              IMPORTANCE        CERTAINTY
    Study       Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention    Comparator                     Result


                                                                                                                      During real life phase
                                                                                                                           2% (1/52)

                                                                                                                    No statistically significant
                                                                                                                       difference (p=1.0)



Abbreviations: ADHD: attention deficit hyperactivity disorder; ASQ: Ask Suicide-Screening Questions; CESD-R: Center for Epidemiologic Studies
Depression Scale; BDI-II: Beck Depression Inventory II (BDI-II); p: p-value; PHQ 9_Modified for Teens: Patient Health Questionnaire Modified for Teens;
SCARED: Screen for Child Anxiety Related Emotional Disorders; SD: standard deviation; STAI: State-Trait Anxiety Inventory

1 Downgraded 1 level - the cohort study by Lopez de Lara et al. (2020) was assessed at high risk of bias (poor quality; lack of blinding and no control group).
2 Downgraded 1 level - the cohort study by Achille et al (2020) was assessed at high risk of bias (poor quality; lack of blinding, no control group and high number of participants
lost to follow-up).
3 Serious indirectness in Achille 2020- Outcome reported for full study cohort, of whom 30% were taking no treatment or puberty suppression alone at follow-up. Results for
people taking gender-affirming hormones not reported separately.4 Downgraded 1 level - the cohort study by Kuper et al. (2020) was assessed at high risk of bias (poor
quality).
5 Downgraded 1 level - the cohort study by Allen et al. (2019) was assessed at high risk of bias (poor quality; lack of blinding and no control group).
6 Serious indirectness in Kuper et al. 2020- Outcome reported for full study cohort, of whom approximately 17% received puberty suppression alone and did not receive
gender-affirming hormones
7 Downgraded 1 level - the cohort study by Kaltiala et al. (2020) was assessed at high risk of bias (poor quality; lack of blinding and no control group).



Table 4: Question 1: For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with gender-affirming hormones compared with one or a combination of psychological support, social transitioning to the
desired gender or no intervention? – Quality of life
                                                                                                         Summary of findings
                                    QUALITY
                                                                                        No of patients                         Effect              IMPORTANCE        CERTAINTY
     Study       Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator                     Result
 Impact on quality of life (1 uncontrolled, prospective observational study and 1 uncontrolled, retrospective observational study)


                                                                                       117
                                 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 118 of 156




                                                                                                        Summary of findings
                                   QUALITY
                                                                                       No of patients                         Effect                IMPORTANCE       CERTAINTY
     Study       Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator                    Result
 Change from baseline in mean quality of life score, measured using the QLES-Q-SF) (approximately 12-month follow-up). Higher scores
 indicated better quality of life.
                                                                                                                  Numerical improvements in
                                                                                                                mean score reported from wave
                                                                                                                1 (baseline) to wave 3 (approx.
                                                                                                                12 months), but difference not
   1 cohort                         Serious        No serious         Not                                          statistically significant (p =
                    Serious                                                         N=50           None                                                Critical      VERY LOW
 study Achille
                  limitations1   indirectness2   inconsistency     calculable                                                  0.085)
  et al. 2020
                                                                                                                        Results presented
                                                                                                                 diagrammatically, numerical
                                                                                                                   results for mean score not
                                                                                                                             reported
 Change from baseline in adjusted mean well-being score, measured using the GWBS of the Pediatric Quality of Life Inventory (mean treatment
 duration 349 days). Higher scores indicated better well-being.
                                                                                                                T0 (baseline) = 61.70 (SE 2.43)
   1 cohort                                                                                                      T1 (final assessment) = 70.23
     study          Serious       No serious       No serious         Not                                                   (SE 2.15)
                                                                                    N=39           None                                                Critical      VERY LOW
  Allen et al.    limitations3   indirectness    inconsistency     calculable                                        Statistically significant
     2019                                                                                                         improvement in well-being
                                                                                                                         score, p<0.002

Abbreviations: GWBS: General Well-Being Scale; p: p-value; QLES-Q-SF: Quality of Life Enjoyment and Satisfaction Questionnaire; SE: standard error

1 Downgraded 1 level - the cohort study by Achille et al (2020) was assessed at high risk of bias (poor quality; lack of blinding, no control group and high number of participants
lost to follow-up).
2 Serious indirectness in Achille et al. 2020 - Outcome reported for full study cohort, of whom 30% were taking no treatment or puberty suppression alone at follow-up. Results
for people taking gender-affirming hormones not reported separately.
3 Downgraded 1 level - the cohort study by Allen et al. (2019) was assessed at high risk of bias (poor quality; lack of blinding and no control group).

Table 5: Question 1: For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with gender-affirming hormones compared with one or a combination of psychological support, social transitioning to the
desired gender or no intervention? – Body image
                                   QUALITY                                                              Summary of findings                         IMPORTANCE       CERTAINTY

                                                                                       118
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 119 of 156




                                                                                      No of patients                         Effect
    Study       Risk of bias   Indirectness    Inconsistency    Imprecision    Intervention   Comparator                     Result
 Impact on body image (1 uncontrolled, prospective observational study)
 Change from baseline in mean body image, measured using the BIS (mean duration of gender-affirming hormone treatment was 10.9 months).
 Higher scores represent a higher degree of body dissatisfaction.
                                                                                                                   Baseline = 70.7 (SD 15.2)
  1 cohort                                                                                                        Follow-up = 51.4 (SD 18.3)
   study          Serious       No serious       No serious         Not                                         No statistical analysis reported
                                                                                  N=86           None                                                Important      VERY LOW
  Kuper et      limitations1   indirectness    inconsistency     calculable                                    for the sub-group of participants
  al. 2020                                                                                                      who received gender-affirming
                                                                                                                           hormones


Abbreviations: BIS: Body Image Scale; p: p-value; SD: standard deviation

1 Downgraded 1 level - the cohort study by Kuper et al. (2020) was assessed at high risk of bias (poor quality; lack of blinding, no control group and high number of participants
lost to follow-up).

Table 6: Question 1: For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with gender-affirming hormones compared with one or a combination of psychological support, social transitioning to the
desired gender or no intervention? – Psychological impact
                                                                                                       Summary of findings
                                  QUALITY
                                                                                      No of patients                         Effect                IMPORTANCE       CERTAINTY
    Study       Risk of bias   Indirectness    Inconsistency    Imprecision    Intervention   Comparator                Result (95% CI)
 Psychosocial Impact (1 uncontrolled, prospective observational study and 1 uncontrolled, retrospective observational study)
 Change from baseline in family functioning, measured using the Family APGAR test. Higher scores suggest more family dysfunction.

   1 cohort
    study                                                                                                            T0 (baseline) = 17.9
                  Serious       No serious       No serious         Not
  Lopez de                                                                        N=23           None               T1 (12 months) = 18.0            Important      VERY LOW
                limitations1   indirectness    inconsistency     calculable
  Lara et al.                                                                                                   No statistical analysis reported
    2020
 Change from baseline in mean patient strengths and difficulties score, measured using the SDQ, Spanish Version (total difficulties score)
 (duration of treatment 12 months). Higher scores suggest the presence of a behavioural disorder.
   1 cohort       Serious       No serious       No serious         Not                                         T0 (baseline) = 14.7 (SD 3.3)
                                                                                  N=23           None                                                Important      VERY LOW
    study       limitations1   indirectness    inconsistency     calculable                                    T1 (12 months) = 10.3 (SD 2.9)
                                                                                      119
                             Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 120 of 156




                                                                                                  Summary of findings
                                QUALITY
                                                                                 No of patients                         Effect                  IMPORTANCE    CERTAINTY
  Study       Risk of bias   Indirectness   Inconsistency   Imprecision   Intervention   Comparator                Result (95% CI)
Lopez de                                                                                                       Statistically significant
Lara et al.                                                                                                    improvement p<0.001
  2020
Functioning in adolescent development: Living with parent(s)/ guardians2 (outcome reported for the approximately 12-month period after
starting gender-affirming hormones; referred to as the ‘real-life phase’ in Finland). Not living with parent(s) or guardian in your early 20s is a
marker of age-appropriate functioning in Finnish culture.
                                                                                                               During gender identity
 1 cohort                                                                                                   assessment = 73% (38/52)
  study         Serious       No serious      No serious       Not                                         During real life phase = 40%
                                                                             N=52           None                                                  Important   VERY LOW
Kaltiala et   limitations3   indirectness   inconsistency   calculable                                                  (21/50)
 al. 2020                                                                                                 Statistically significant reduction
                                                                                                                       (p=0.001)
Functioning in adolescent development: Normative peer contacts4 (outcome reported for the approximately 12-month period after starting
gender-affirming hormones; referred to as the ‘real-life phase’ in Finland)
                                                                                                               During gender identity
 1 cohort                                                                                                   assessment = 89% (46/52)
  study         Serious       No serious      No serious       Not                                         During real life phase = 81%
                                                                             N=52           None                                                  Important   VERY LOW
Kaltiala et   limitations3   indirectness   inconsistency   calculable                                                  (42/52)
 al. 2020                                                                                                 Statistically significant reduction
                                                                                                                       (p<0.001)
Functioning in adolescent development: Progresses normatively in school/ work5 (outcome reported for the approximately 12-month period
after starting gender-affirming hormones; referred to as the ‘real-life phase’ in Finland)
                                                                                                              During gender identity
 1 cohort                                                                                                   assessment = 64% (33/52)
  study         Serious       No serious      No serious       Not                                          During real life phase = 60%
                                                                             N=52           None                                                  Important   VERY LOW
Kaltiala et   limitations3   indirectness   inconsistency   calculable                                                 (31/52)
 al. 2020                                                                                                    No statistically significant
                                                                                                                difference (p=0.69)
Functioning in adolescent development: Has been dating or had steady relationships6 (outcome reported for the approximately 12-month period
after starting gender-affirming hormones; referred to as the ‘real-life phase’ in Finland)
 1 cohort       Serious       No serious      No serious       Not                                             During gender identity
                                                                             N=52           None                                                  Important   VERY LOW
  study       limitations3   indirectness   inconsistency   calculable                                       assessment = 62% (32/50)

                                                                                 120
                                Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 121 of 156




                                                                                                          Summary of findings
                                   QUALITY
                                                                                         No of patients                         Effect                 IMPORTANCE          CERTAINTY
    Study       Risk of bias    Indirectness     Inconsistency     Imprecision    Intervention    Comparator               Result (95% CI)
  Kaltiala et                                                                                                       During real life phase = 58%
   al. 2020                                                                                                                    (30/52)
                                                                                                                     No statistically significant
                                                                                                                        difference (p=0.51)
 Functioning in adolescent development: Is age-appropriately able to deal with matters outside of the home7 (outcome reported for the
 approximately 12-month period after starting gender-affirming hormones; referred to as the ‘real-life phase’ in Finland)
                                                                                                                      During gender identity
   1 cohort                                                                                                         assessment = 81% (42/52)
    study         Serious        No serious        No serious          Not                                          During real life phase = 81%
                                                                                     N=52            None                                                 Important       VERY LOW
  Kaltiala et   limitations2    indirectness     inconsistency      calculable                                                 (42/52)
   al. 2020                                                                                                          No statistically significant
                                                                                                                        difference (p=1.00)


Abbreviations: APGAR: Adaptability, Partnership, Growth, Affection and Resolve; p: p-value; SD: standard deviation; SDQ: Strengths and Difficulties
Questionnaire

1 Downgraded 1 level - the cohort study by Lopez de Lara et al. (2020) was assessed at high risk of bias (poor quality; lack of blinding and no control group).
2 Living arrangements were classified as (1) living with at least one parent/guardian, (2) living in a boarding school, with an adult relative, in some form of supported
accommodation or the like, where supervision and guidance by a responsible adult is provided, (3) independently alone or in a shared household with a peer, (4) with a
romantic partner. In the analyses dichotomised living arrangements as (a) parent(s)/guardian(s) vs. in other arrangements.
3 Downgraded 1 level - the cohort study by Kaltiala et al. (2020) was assessed at high risk of bias (poor quality; lack of blinding and no control group).
4 Peer relationships were classified as: (1) socialises with friends in leisure time, outside of activities supervised by adults, (2) socialises with peers only at school or in the
context of rehabilitative activity, (3) spends time close to peers, for example in school or rehabilitative activity, but does not connect with them, (4) does not meet peers at all.
In the analyses, peer relationships during (a) gender identity assessment and (b) the real-life phase were dichotomized to age-appropriate (normative) (1) vs. restricted or
lacking (2–4).
5 School/work participation was classified as (1) age appropriate participation in mainstream curriculum, progresses without difficulties, (2) participates in mainstream
curriculum with difficulty, (3) participates in rehabilitative educational or work activity, (4) not involved in education and working life. Age-appropriate participation during (1) was
recorded if the adolescent attended mainstream secondary education or upper secondary education at a regular rate (a class per year in comprehensive school; has not
changed more than once between tracks in upper secondary education) or had proceeded to work life after completing vocational education. Participation with difficulty (2) was
recorded if the adolescent was enrolled in mainstream education but had to repeat a class, studied with special arrangements (for example, in a special small group), or
followed some form of adjusted curriculum. In the analyses, school/work life during (a) gender identity assessment and (b) real-life phase was dichotomised to normative (1) vs.
any other (2, 3 or 4).
6 Romantic involvement was recorded (1) has or has had a dating or steady relationship, not only online, (2) has had a romantic relationship only online, (3) has not had dating
or steady relationships. In the analyses we compared has or has had (1) vs. has not had (2,3) a dating or steady relationship during (a) gender identity assessment and (b)
real-life phase. Sexual history was recorded in more detail in case histories during gender identity assessment, and for this period we also collected the experiences of
(French) kissing (yes/no), intercourse (yes/no) and experience of any genitally intimate contact with a partner (petting under clothes or naked, intercourse, oral sex) (yes/no).
                                                                                          121
                                 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 122 of 156



7 In recording age-appropriate competence in managing everyday matters it was expected that early adolescents (up to 14 years) would be able, for example, to do shopping
and travel alone on local public transport, and to help with household duties assigned by their parents. Middle adolescents (15–17 years) were further assumed, for example, to
be able make telephone calls in matters important to them (for example, when seeking a summer job), to deal with school-related issues with school personnel without parental
participation, to select and start new hobbies independently and to fulfil their role in summer jobs and in similar responsibilities of young people. Late adolescents (18 years and
over), legally adults, were expected to have, in addition to the above, competence to talk to authorities such as professionals in health and social services, employment or
educational institutions, to deal with banks or health insurance, to manage their financial issues and to manage their housekeeping if they chose to move to live independently
of parents/guardians. Competence in managing everyday matters was recorded as follows: (1) the adolescent is able to cope age appropriately outside home, (2) the
adolescent needs support in age-appropriate matters outside home but functions age-appropriately in the home (manages her/his own hygiene, clothing and nutrition,
participates in (younger subjects) or takes responsibility for (older subjects) housekeeping) and (3) the adolescent’s functioning is inadequate both at home and outside home.
For the analyses, participants were determined to be able to age-appropriately able cope with matters outside of the home (1) vs. not (2,3).

Table 7: Question 2: For children and adolescents with gender dysphoria, what is the short-term and long-term safety of
gender-affirming hormones compared with one or a combination of psychological support, social transitioning to the
desired gender or no intervention? – Bone density
                                                                                                         Summary of findings
                                   QUALITY
                                                                                        No of patients                         Effect              IMPORTANCE         CERTAINTY
     Study       Risk of bias    Indirectness    Inconsistency     Imprecision   Intervention   Comparator               Result (95% CI)
 Lumbar spine bone mineral apparent density (BMAD) (2 uncontrolled, retrospective observational studies)
 Change from start of gender-affirming hormones to age 22 years in lumber spine BMAD in transfemales

                                                                                                                       Mean (SD), g/m3
                                                                                                                   Start of gender-affirming
                                                                                                                    hormones: 0.22 (0.02)
                                                                                                                   Age 22 years: 0.23 (0.03)
                                                                                     N=13                                   P=0.003
   1 cohort                                                                         (Mean)
     study          Serious         Serious                           Not
                                                 Not applicable                                    None                   z-score (SD)                Important       VERY LOW
  Klink et al.    limitations1   indirectness2                     calculable
                                                                                   N=14 (z-                         Start of gender-affirming
     2015
                                                                                    score)                          hormones: -0.90 (0.80)
                                                                                                                   Age 22 years: -0.78 (1.03)
                                                                                                                   No statistically significant
                                                                                                                            difference

 Change from baseline in lumbar spine BMAD in transfemales with a bone age less than 15 years (‘young’; 24 months follow-up)

   1 cohort                                                                                                          Median (range), g/m3
     study          Serious       No serious                          Not                                           Start of gender-affirming
                                                 Not applicable                      N=15          None                                               Important       VERY LOW
   Vlot et al.    limitations3   indirectness                      calculable                                     hormones (C0): 0.20 (0.18 to
     2017                                                                                                                     0.24)
                                                                                       122
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 123 of 156




                                                                                                   Summary of findings
                                QUALITY
                                                                                  No of patients                         Effect                 IMPORTANCE    CERTAINTY
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)
                                                                                                           24-month follow-up (C24): 0.22
                                                                                                                     (0.19 to 0.27)
                                                                                                           Statistically significant increase
                                                                                                                        (p≤0.01)

                                                                                                                   z-score (range)
                                                                                                              Start of gender-affirming
                                                                                                           hormones (C0): -1.52 (-2.36 to
                                                                                                                         0.42)
                                                                                                          24-month follow-up (C24): -1.10
                                                                                                                    (-2.44 to 0.69)
                                                                                                          Statistically significant increase
                                                                                                                       (p≤0.05)
Change from baseline in lumbar spine BMAD in transfemales with a bone age of 15 years or more (‘old’; 24 months follow-up)

                                                                                                                Median (range), g/m3
                                                                                                              Start of gender-affirming
                                                                                                            hormones (C0): 0.22 (0.19 to
                                                                                                                          0.24)
                                                                                                           24-month follow-up (C24): 0.23
                                                                                                                     (0.21 to 0.26)
                                                                                                           Statistically significant increase
 1 cohort                                                                                                               (p≤0.05)
   study         Serious       No serious                        Not
                                             Not applicable                    N=5           None                                                 Important   VERY LOW
 Vlot et al.   limitations3   indirectness                    calculable
   2017                                                                                                            z-score (range)
                                                                                                              Start of gender-affirming
                                                                                                           hormones (C0): -1.15 (-2.21 to
                                                                                                                         0.08)
                                                                                                          24-month follow-up (C24): -0.66
                                                                                                                    (-1.66 to 0.54)
                                                                                                          Statistically significant increase
                                                                                                                       (p≤0.05)
Change from start of gender-affirming hormones to age 22 years in lumber spine BMAD in transmales

                                                                                 123
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 124 of 156




                                                                                                     Summary of findings
                                 QUALITY
                                                                                    No of patients                         Effect                 IMPORTANCE    CERTAINTY
   Study        Risk of bias   Indirectness    Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)
                                                                                                                    Mean (SD), g/m3
                                                                                                                Start of gender-affirming
                                                                                                                 hormones: 0.24 (0.02)
                                                                                                                Age 22 years: 0.25 (0.28)
  1 cohort                                                                      N=19                                     P=0.001
    study         Serious         Serious                          Not
                                               Not applicable                 (Mean and        None                                                 Important   VERY LOW
 Klink et al.   limitations1   indirectness2                    calculable                                               z-score
    2015                                                                       z-score)                         Start of gender-affirming
                                                                                                                 hormones: -0.50 (0.81)
                                                                                                               Age 22 years: -0.033 (0.95)
                                                                                                                         P=0.002

Change from baseline in lumbar spine BMAD in transmales with a bone age of less than 14 years (‘young’; 24 months follow-up)

                                                                                                                  Median (range), g/m3
                                                                                                                Start of gender-affirming
                                                                                                              hormones (C0): 0.23 (0.19 to
                                                                                                                            0.28)
                                                                                                             24-month follow-up (C24): 0.25
                                                                                                                       (0.22 to 0.28)
                                                                                                             Statistically significant increase
 1 cohort                                                                                                                 (p≤0.01)
   study          Serious       No serious                         Not
                                               Not applicable                    N=11          None                                                 Important   VERY LOW
 Vlot et al.    limitations3   indirectness                     calculable
   2017                                                                                                              z-score (range)
                                                                                                               Start of gender-affirming
                                                                                                             hormones (C0): -0.84 (-2.2 to
                                                                                                                           0.87)
                                                                                                            24-month follow-up (C24): -0.15
                                                                                                                     (-1.38 to 0.94)
                                                                                                            Statistically significant increase
                                                                                                                         (p≤0.01)
Change from baseline in lumbar spine BMAD in transmales with a bone age of 14 years or more (‘old’; 24 months follow-up)

  1 cohort        Serious       No serious                         Not
                                               Not applicable                    N=23          None               Median (range), g/m3              Important   VERY LOW
   study        limitations3   indirectness                     calculable

                                                                                   124
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 125 of 156




                                                                                                     Summary of findings
                                 QUALITY
                                                                                    No of patients                         Effect                 IMPORTANCE    CERTAINTY
   Study        Risk of bias   Indirectness    Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)
 Vlot et al.                                                                                                    Start of gender-affirming
   2017                                                                                                       hormones (C0): 0.24 (0.20 to
                                                                                                                            0.28)
                                                                                                               24-month follow-up (C24):
                                                                                                                    0.25 (0.21 to 0.30)
                                                                                                             Statistically significant increase
                                                                                                                          (p≤0.01)

                                                                                                                     z-score (range)
                                                                                                                Start of gender-affirming
                                                                                                             hormones (C0): -0.29 (-2.28 to
                                                                                                                           0.90)
                                                                                                            24-month follow-up (C24): -0.06
                                                                                                                      (-1.75 to 1.61)
                                                                                                            Statistically significant increase
                                                                                                                         (p≤0.01)
Change in femoral neck BMAD (2 uncontrolled, retrospective observational studies)
Change from start of gender-affirming hormones to age 22 years in femoral neck BMAD in transfemales

                                                                                                                    Mean (SD), g/m3
                                                                                                                Start of gender-affirming
                                                                                                                 hormones: 0.26 (0.04)
                                                                                 N=14                           Age 22 years: 0.28 (0.05)
  1 cohort                                                                      (Mean)
                                  Serious                          Not                                          No statistically significant
    study         Serious                      Not applicable                                  None                                                 Important   VERY LOW
                                                                                                                        difference
 Klink et al.   limitations1   indirectness2                    calculable
    2015                                                                       N=10 (z-
                                                                                score)                                z-score (SD)
                                                                                                                Start of gender-affirming
                                                                                                                hormones: -1.57 (1.74)
                                                                                                               Age 22 years: Not reported
Change from baseline in femoral neck BMAD in transfemales with a bone age less than 15 years (‘young’; 24 months follow-up)

                                                                                                                 Median (range), g/m3
  1 cohort        Serious       No serious                         Not
                                               Not applicable                    N=16          None             C0: 0.27 (0.20 to 0.33)             Important   VERY LOW
   study        limitations3   indirectness                     calculable
                                                                                                                C24: 0.27 (0.20 to 0.36)

                                                                                   125
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 126 of 156




                                                                                                     Summary of findings
                                 QUALITY
                                                                                    No of patients                         Effect              IMPORTANCE    CERTAINTY
   Study        Risk of bias   Indirectness    Inconsistency    Imprecision   Intervention   Comparator              Result (95% CI)
 Vlot et al.                                                                                                    No statistically significant
   2017                                                                                                                  change

                                                                                                                   z-score (range)
                                                                                                               C0: -1.32 (-3.39 to 0.21)
                                                                                                               C24: -1.30 (-3.51 to 0.92)
                                                                                                               No statistically significant
                                                                                                                        change
Change from baseline in femoral neck BMAD in transfemales with a bone age of 15 years or more (‘old’; 24 months follow-up)

                                                                                                                 Median (range), g/m3
                                                                                                                 C0: 0.30 (0.26 to 0.34)
                                                                                                                C24: 0.29 (0.24 to 0.38)
                                                                                                                No statistically significant
 1 cohort                                                                                                                change
   study          Serious       No serious                         Not
                                               Not applicable                    N=6           None                                              Important   VERY LOW
 Vlot et al.    limitations3   indirectness                     calculable
   2017                                                                                                            z-score (range)
                                                                                                               C0: -0.36 (-1.50 to 0.46)
                                                                                                               C24: -0.56 (-2.17 to 1.29)
                                                                                                               No statistically significant
                                                                                                                        change
Change from start of gender-affirming hormones to age 22 years in femoral neck BMAD in transmales

                                                                                                                   Mean (SD), g/m3
                                                                                                               Start of gender-affirming
                                                                                 N=19                           hormones: 0.31 (0.04)
  1 cohort                                                                      (Mean)                         Age 22 years: 0.33 (0.05)
    study         Serious         Serious                          Not                                                  P=0.010
                                               Not applicable                                  None                                              Important   VERY LOW
 Klink et al.   limitations1   indirectness2                    calculable
    2015                                                                       N=18 (z-                               z-score (SD)
                                                                                score)                          Start of gender-affirming
                                                                                                                hormones: -0.28 (0.74)
                                                                                                               Age 22 years: Not reported
Change from baseline in femoral neck BMAD in transmales with a bone age of less than 14 years (‘young’; 24 months follow-up)

                                                                                   126
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 127 of 156




                                                                                                     Summary of findings
                                 QUALITY
                                                                                    No of patients                         Effect                 IMPORTANCE    CERTAINTY
   Study        Risk of bias   Indirectness    Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)
                                                                                                                  Median (range), g/m3
                                                                                                                 C0: 0.30 (0.22 to 0.35)
                                                                                                                C24: 0.33 (0.23 to 0.37)
                                                                                                             Statistically significant increase
 1 cohort                                                                                                                 (p≤0.01)
   study          Serious       No serious                         Not
                                               Not applicable                    N=10          None                                                 Important   VERY LOW
 Vlot et al.    limitations3   indirectness                     calculable
   2017                                                                                                               z-score (range)
                                                                                                                C0: -0.37 (-2.28 to 0.47)
                                                                                                                C24: -0.37 (-2.03 to 0.85)
                                                                                                             Statistically significant increase
                                                                                                                          (p≤0.01)
Change from baseline in femoral neck BMAD in transmales with a bone age of 14 years or more (‘old’; 24 months follow-up)

                                                                                                                  Median (range), g/m3
                                                                                                                 C0: 0.30 (0.23 to 0.41)
                                                                                                                C24: 0.32 (0.23 to 0.41)
                                                                                                             Statistically significant increase
 1 cohort                                                                                                                 (p≤0.01)
   study          Serious       No serious                         Not
                                               Not applicable                    N=23          None                                                 Important   VERY LOW
 Vlot et al.    limitations3   indirectness                     calculable
   2017                                                                                                               z-score (range)
                                                                                                                C0: -0.27 ((-1.91 to 1.29)
                                                                                                                 C24: 0.02 (-2.1 to 1.35)
                                                                                                             Statistically significant increase
                                                                                                                          (p≤0.05)
Change in lumbar spine BMD (2 uncontrolled, retrospective observational studies)
Change from start of gender-affirming hormones to age 22 years in lumbar spine BMD in transfemales

                                                                                                                    Mean (SD), g/m2
                                                                                N=15                            Start of gender-affirming
  1 cohort
                                  Serious                          Not         (Mean)                            hormones: 0.84 (0.11)
    study         Serious                      Not applicable                                  None                                                 Important   VERY LOW
                                                                                                                Age 22 years: 0.93 (0.10)
 Klink et al.   limitations1   indirectness2                    calculable     N=13 (z-
                                                                                                                         P<0.001
    2015                                                                        score)
                                                                                                                       z-score (SD)

                                                                                   127
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 128 of 156




                                                                                                     Summary of findings
                                 QUALITY
                                                                                    No of patients                         Effect              IMPORTANCE    CERTAINTY
   Study        Risk of bias   Indirectness    Inconsistency    Imprecision   Intervention   Comparator              Result (95% CI)
                                                                                                                Start of gender-affirming
                                                                                                                hormones: -1.01 (0.98)
                                                                                                               Age 22 years: -1.36 (0.83)
                                                                                                               No statistically significant
                                                                                                                        difference

Change from start of gender-affirming hormones to age 22 years in lumbar spine BMD in transmales

                                                                                                                   Mean (SD), g/m2
                                                                                                               Start of gender-affirming
                                                                                                                hormones: 0.91 (0.10)
                                                                                N=19                           Age 22 years: 0.99 (0.13)
  1 cohort                                                                    (Mean and                                 P<0.001
    study         Serious         Serious                          Not
                                               Not applicable                  z-score)        None                                              Important   VERY LOW
 Klink et al.   limitations1   indirectness2                    calculable                                            z-score (SD)
    2015                                                                                                        Start of gender-affirming
                                                                                                                hormones: -0.72 (0.99)
                                                                                                               Age 22 years: -0.33 (1.12)
                                                                                                               No statistically significant
                                                                                                                        difference
Change from start of testosterone treatment in lumbar spine BMD in transmen (follow-up 6 to 24 months)

                                                                                                                    Mean (SD), g/cm2
                                                                                                                      T0: 0.90 (0.11)
                                                                                                                      T6: 0.94 (0.10)
                                                                                                                     T12: 0.95 (0.09)
                                                                               N=62 (T0                              T24: 0.95 (0.11)
  1 cohort                                                                      and T6)                         No statistically significant
   study          Serious       No serious                         Not                                          difference from T0 to any
                                               Not applicable                                  None                                              Important   VERY LOW
 Stoffers et    limitations4   indirectness                     calculable    N=37 (T12)                                timepoint
  al. 2019
                                                                              N=15 (T24)                              z-score (SD)
                                                                                                                    T0: -0.81 (1.02)
                                                                                                                    T6: -0.67 (0.95)
                                                                                                                    T12: -0.66 (0.81)
                                                                                                                    T24: -0.74 (1.17)

                                                                                   128
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 129 of 156




                                                                                                     Summary of findings
                                 QUALITY
                                                                                    No of patients                         Effect              IMPORTANCE    CERTAINTY
   Study        Risk of bias   Indirectness    Inconsistency    Imprecision   Intervention   Comparator              Result (95% CI)
                                                                                                                No statistically significant
                                                                                                                difference from T0 to any
                                                                                                                        timepoint
Change in femoral neck BMD (2 uncontrolled, retrospective observational studies)
Change from start of gender-affirming hormones to age 22 years in femoral neck BMD in transfemales

                                                                                                                   Mean (SD), g/m2
                                                                                                               Start of gender-affirming
                                                                                                                hormones: 0.87 (0.08)
                                                                                 N=15                          Age 22 years: 0.94 (0.11)
                                                                                (Mean)                                  P=0.009
  1 cohort
    study         Serious         Serious                          Not
                                               Not applicable                                  None                   z-score (SD)               Important   VERY LOW
 Klink et al.   limitations1   indirectness2                    calculable     N=11 (z-                         Start of gender-affirming
    2015                                                                        score)                          hormones: -0.95 (0.63)
                                                                                                               Age 22 years: -0.69 (0.74)
                                                                                                               No statistically significant
                                                                                                                        difference

Change from start of gender-affirming hormones to age 22 years in femoral neck BMD in transmales

                                                                                                                   Mean (SD), g/m2
                                                                                                               Start of gender-affirming
                                                                                                                hormones: 0.88 (0.09)
                                                                                 N=19                          Age 22 years: 0.95 (0.10)
  1 cohort                                                                      (Mean)                                  P<0.001
    study         Serious         Serious                          Not
                                               Not applicable                                  None                                              Important   VERY LOW
 Klink et al.   limitations1   indirectness2                    calculable                                            z-score (SD)
    2015                                                                       N=16 (z-                         Start of gender-affirming
                                                                                score)                          hormones: -0.35 (0.79)
                                                                                                               Age 22 years: -0.35 (0.74)
                                                                                                                         P=0.006

Change from start of testosterone treatment in right femoral neck (hip) BMD in transmales (follow-up 6 to 24 months)

  1 cohort        Serious       No serious                         Not         N=62 (T0                             Mean (SD), g/cm2
                                               Not applicable                                  None                                              Important   VERY LOW
   study        limitations4   indirectness                     calculable      and T6)                              T0: 0.77 (0.08)

                                                                                   129
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 130 of 156




                                                                                                   Summary of findings
                                QUALITY
                                                                                  No of patients                         Effect              IMPORTANCE    CERTAINTY
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator              Result (95% CI)
 Stoffers et                                                                                                        T6: 0.84 (0.11)
  al. 2019                                                                  N=37 (T12)                             T12: 0.82 (0.08)
                                                                                                                   T24: 0.85 (0.11)
                                                                            N=15 (T24)                        No statistically significant
                                                                                                              difference from T0 to any
                                                                                                                      timepoint

                                                                                                                     z-score (SD)
                                                                                                                    T0: -0.97 (0.79)
                                                                                                                    T6: -0.54 (0.96)
                                                                                                                   T12: -0.80 (0.69)
                                                                                                                   T24: -0.31 (0.84)
                                                                                                              No statistically significant
                                                                                                              difference from T0 to any
                                                                                                                       timepoint
Change from start of testosterone treatment in left femoral neck (hip) BMD in transmales (follow-up 6 to 24 months)

                                                                                                                  Mean (SD), g/cm2
                                                                                                                    T0: 0.76 (0.09)
                                                                                                                    T6: 0.83 (0.12)
                                                                                                                   T12: 0.81 (0.08)
                                                                                                                   T24: 0.86 (0.09)
                                                                                                              No statistically significant
                                                                             N=62 (T0
                                                                                                              difference from T0 to any
  1 cohort                                                                    and T6)
                                                                                                                      timepoint
   study         Serious       No serious                        Not
                                             Not applicable                                  None                                              Important   VERY LOW
 Stoffers et   limitations4   indirectness                    calculable    N=37 (T12)
  al. 2019                                                                                                           z-score (SD)
                                                                                                                    T0: -1.07 (0.85)
                                                                            N=15 (T24)
                                                                                                                    T6: -0.62 (1.12)
                                                                                                                   T12: -0.93 (0.63)
                                                                                                                   T24: -0.20 (0.70)
                                                                                                              No statistically significant
                                                                                                              difference from T0 to any
                                                                                                                       timepoint

                                                                                 130
                                 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 131 of 156




Abbreviations: BMAD: bone mineral apparent density; BMD: bone mineral density; g: grams; m: metre; SD: standard deviation

1 Downgraded 1 level - the cohort study by Klink et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding, no control group and high number of
participants lost to follow-up)
2 Outcomes reported after gender reassignment surgery and not after gender-affirming hormones alone. Unclear whether observed changes are due to hormones or surgery
3 Downgraded 1 level - the cohort study by Vlot et al. (2017) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control)
4 Downgraded 1 level - the cohort study by Stoffers et al. (2019) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group)

Table 8: Question 2: For children and adolescents with gender dysphoria, what is the short-term and long-term safety of
gender-affirming hormones compared with one or a combination of psychological support, social transitioning to the
desired gender or no intervention? – Cardiovascular risk factors
                                                                                                         Summary of findings
                                   QUALITY
                                                                                        No of patients                         Effect             IMPORTANCE         CERTAINTY
     Study       Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator               Result (95% CI)
 Change in body mass index (1 uncontrolled, retrospective observational study)
 Change from start of gender-affirming hormones to age 22 years in BMI in transfemales

                                                                                                                     Mean change (95% CI)
                                                                                                                        +1.9 (0.6 to 3.2)
                                                                                                                     Statistically significant
   1 cohort                       No serious                          Not                                             increase (p<0.005)
                    Serious                     Not applicable                      N=71           None                                              Important       VERY LOW
 study Klaver
                  limitations1   indirectness                      calculable
  et al. 2020
                                                                                                                   Mean BMI at 22 years (95%
                                                                                                                             CI):
                                                                                                                      23.2 (21.6 to 24.8)
 Change from start of gender-affirming hormones to age 22 years in BMI in transmales

                                                                                                                     Mean change (95% CI)
                                                                                                                        +1.4 (0.8 to 2.0)
                                                                                                                     Statistically significant
   1 cohort                       No serious                          Not                                             increase (p<0.005)
                    Serious                     Not applicable                     N=121           None                                              Important       VERY LOW
 study Klaver
                  limitations1   indirectness                      calculable
  et al. 2020
                                                                                                                   Mean BMI at 22 years (95%
                                                                                                                             CI):
                                                                                                                      23.9 (23.0 to 24.7)

                                                                                       131
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 132 of 156




                                                                                                    Summary of findings
                                QUALITY
                                                                                   No of patients                         Effect              IMPORTANCE    CERTAINTY
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)
Obesity rates at age 22 years (1 uncontrolled, retrospective observational study)
Obesity rates at age 22 years in transfemales who started gender-affirming hormones as adolescents (1 uncontrolled, retrospective
observational study)
                                                                                                                   At 22 years, 9.9% of
                                                                                                                transfemales were obese,
  1 cohort                                                                                                        compared with 3.0% in
                 Serious       No serious                        Not
study Klaver                                 Not applicable                    N=71           None           reference cisgender population     Important   VERY LOW
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                                No statistically analysis
                                                                                                                        reported
Obesity rates at age 22 years in transfemales who started gender-affirming hormones as adolescents (1 uncontrolled, retrospective
observational study)
                                                                                                                   At 22 years, 6.6% of
                                                                                                                 transmales were obese,
  1 cohort                                                                                                        compared with 2.2% in
                 Serious       No serious                        Not
study Klaver                                 Not applicable                   N=121           None           reference cisgender population     Important   VERY LOW
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                                No statistically analysis
                                                                                                                        reported
Change in blood pressure (1 uncontrolled, retrospective observational study)
Change from start of gender-affirming hormones to age 22 years in systolic blood pressure (SBP) in transfemales

                                                                                                                Mean change (95% CI)
                                                                                                                      -3 (-8 to 2)
                                                                                                               No statistically significant
  1 cohort                     No serious                        Not                                                   difference
                 Serious                     Not applicable                    N=71           None                                              Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                              Mean SBP at 22 years (95%
                                                                                                                 CI): 117 (113 to 122)

Change from start of gender-affirming hormones to age 22 years in diastolic blood pressure (DBP) in transfemales


                                                                                 132
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 133 of 156




                                                                                                    Summary of findings
                                QUALITY
                                                                                   No of patients                         Effect            IMPORTANCE    CERTAINTY
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)
                                                                                                                Mean change (95% CI)
                                                                                                                      +6 (3 to 10)
                                                                                                                Statistically significant
  1 cohort                                                                                                       increase (p<0.001)
                 Serious       No serious                        Not
study Klaver                                 Not applicable                    N=71           None                                            Important   VERY LOW
               limitations1   indirectness                    calculable
 et al. 2020                                                                                                  Mean DBP at 22 years (95%
                                                                                                                         CI):
                                                                                                                    75 (72 to 78)

Change from start of gender-affirming hormones to age 22 years in systolic blood pressure (SBP) in transmales

                                                                                                                Mean change (95% CI):
                                                                                                                      +5 (1 to 9)
                                                                                                                Statistically significant
  1 cohort                     No serious                        Not                                              increase (p<0.05)
                 Serious                     Not applicable                   N=121           None                                            Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                              Mean SBP at 22 years (95%
                                                                                                                 CI): 126 (122 to 130)

Change from start of gender-affirming hormones to age 22 years in diastolic blood pressure (DBP) in transmales

                                                                                                                Mean change (95% CI):
                                                                                                                      +6 (4 to 9)
  1 cohort                                                                                                      Statistically significant
                 Serious       No serious                        Not
study Klaver                                 Not applicable                   N=121           None               increase (p<0.001)           Important   VERY LOW
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                              Mean DBP at 22 years (95%
                                                                                                                  CI): 74 (72 to 77)
Change in glucose levels, insulin levels, insulin resistance and HbA1c (2 uncontrolled, retrospective observational studies)
Change from start of gender-affirming hormones to age 22 years in glucose level (mmol/L) in transfemales

  1 cohort                     No serious                        Not                                            Mean change (95% CI):
                 Serious                     Not applicable                    N=71           None                                            Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable                                          +0.1 (-0.1 to 0.2)
 et al. 2020

                                                                                 133
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 134 of 156




                                                                                                    Summary of findings
                                QUALITY
                                                                                   No of patients                         Effect              IMPORTANCE    CERTAINTY
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)
                                                                                                               No statistically significant
                                                                                                                       difference

                                                                                                                 Mean glucose level at
                                                                                                             22 years (95% CI): 5.0 (4.8 to
                                                                                                                         5.1)

Change from start of gender-affirming hormones to age 22 years in insulin level (mU/L) in transfemales

                                                                                                                Mean change (95% CI)
                                                                                                                   +2.7 (-1.7 to 7.1)
                                                                                                               No statistically significant
  1 cohort                     No serious                        Not                                                   difference
                 Serious                     Not applicable                    N=71           None                                              Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                             Mean insulin level at 22 years
                                                                                                              (95% CI): 13.0 (8.4 to 17.6)

Change from start of gender-affirming hormones to age 22 years in insulin resistance (HOMA-IR) in transfemales. Higher scores indicate more
insulin resistance.
                                                                                                                Mean change (95% CI)
                                                                                                                   +0.7 (-0.2 to 1.5)
                                                                                                               No statistically significant
  1 cohort                     No serious                        Not                                                   difference
                 Serious                     Not applicable                    N=71           None                                              Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                              Mean HOMA-IR at 22 years
                                                                                                               (95% CI): 2.9 (1.9 to 3.9)

Change from start of gender-affirming hormones to age 22 years in glucose level (mmol/L) in transmales

                                                                                                                Mean change (95% CI)
  1 cohort                     No serious                        Not                                               0.0 (-0.2 to 0.2)
                 Serious                     Not applicable                   N=121           None                                              Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable                                       No statistically significant
 et al. 2020
                                                                                                                       difference

                                                                                 134
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 135 of 156




                                                                                                    Summary of findings
                                QUALITY
                                                                                   No of patients                         Effect               IMPORTANCE    CERTAINTY
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)


                                                                                                                 Mean glucose level at
                                                                                                             22 years (95% CI): 4.8 (4.7 to
                                                                                                                         5.0)

Change from start of gender-affirming hormones to age 22 years in insulin level (mU/L) in transmales

                                                                                                                Mean change (95% CI)
                                                                                                                  -2.1 (-3.9 to -0.3)
                                                                                                                Statistically significant
  1 cohort                     No serious                        Not                                             decrease (p<0.05)
                 Serious                     Not applicable                   N=121           None                                               Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                             Mean insulin level at 22 years
                                                                                                              (95% CI): 8.6 (6.9 to 10.2)

Change from start of gender-affirming hormones to age 22 years in insulin resistance (HOMA-IR) in transmales. Higher scores indicate more
insulin resistance.
                                                                                                                Mean change (95% CI):
                                                                                                                   -0.5 (-1.0 to -0.1)
                                                                                                                Statistically significant
  1 cohort                     No serious                        Not                                              decrease (p<0.05)
                 Serious                     Not applicable                   N=121           None                                               Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                              Mean HOMA-IR at 22 years
                                                                                                               (95% CI): 1.8 (1.4 to 2.2)

Change from start of testosterone in HbA1c in transmales (up to 24 months follow-up)

                                                                                                               No statistically significant
  1 cohort                                                                                                       change from start of
   study         Serious       No serious                        Not          N= Not                            testosterone treatment
                                             Not applicable                                   None                                               Important   VERY LOW
 Stoffers et   limitations1   indirectness                    calculable     reported
  al. 2019                                                                                                    Numerical results, follow-up
                                                                                                             duration and further details of

                                                                                 135
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 136 of 156




                                                                                                    Summary of findings
                                QUALITY
                                                                                   No of patients                         Effect              IMPORTANCE    CERTAINTY
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                Result (95% CI)
                                                                                                                 statistical analysis not
                                                                                                                         reported.
Change in lipid profile (1 uncontrolled, retrospective observational study)
Change from start of gender-affirming hormones to age 22 years in total cholesterol (mmol/L) in transfemales

                                                                                                               Mean change (95% CI):
                                                                                                                   +0.1 (-0.2 to 0.4)
                                                                                                               No statistically significant
  1 cohort                     No serious                        Not                                                   difference
                 Serious                     Not applicable                    N=71           None                                              Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                               Mean total cholesterol at
                                                                                                             22 years (95% CI): 4.1 (3.8 to
                                                                                                                         4.4)
Change from start of gender-affirming hormones to age 22 years in HDL cholesterol (mmol/L) in transfemales

                                                                                                               Mean change (95% CI):
                                                                                                                   0.0 (-0.1 to 0.2)
                                                                                                               No statistically significant
  1 cohort                                                                                                             difference
                 Serious       No serious                        Not
study Klaver                                 Not applicable                    N=71           None                                              Important   VERY LOW
               limitations1   indirectness                    calculable
 et al. 2020                                                                                                   Mean HDL cholesterol at
                                                                                                             22 years (95% CI): 1.6 (1.4 to
                                                                                                                         1.7)

Change from start of gender-affirming hormones to age 22 years in LDL cholesterol (mmol/L) in transfemales

                                                                                                               Mean change (95% CI):
                                                                                                                   0.0 (-0.3 to 0.2)
                                                                                                               No statistically significant
  1 cohort                     No serious                        Not                                                   difference
                 Serious                     Not applicable                    N=71           None                                              Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                               Mean LDL cholesterol at
                                                                                                             22 years (95% CI): 2.0 (1.8 to
                                                                                                                         2.3)
                                                                                 136
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 137 of 156




                                                                                                    Summary of findings
                                QUALITY
                                                                                   No of patients                         Effect              IMPORTANCE    CERTAINTY
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)
Change from start of gender-affirming hormones to age 22 years in triglycerides (mmol/L) in transfemales

                                                                                                                Mean change (95% CI):
                                                                                                                   +0.2 (0.0 to 0.5)
  1 cohort                                                                                                      Statistically significant
                 Serious       No serious                        Not
study Klaver                                 Not applicable                    N=71           None                increase (p<0.05)             Important   VERY LOW
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                             Mean triglycerides at 22 years
                                                                                                               (95% CI): 1.1 (0.9 to 1.4)
Change from start of gender-affirming hormones to age 22 years in total cholesterol (mmol/L) in transmales

                                                                                                                Mean change (95% CI):
                                                                                                                   +0.4 (0.2 to 0.6)
                                                                                                                Statistically significant
  1 cohort                     No serious                        Not                                             increase (p<0.001)
                 Serious                     Not applicable                   N=121           None                                              Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                               Mean total cholesterol at
                                                                                                             22 years (95% CI): 4.6 (4.3 to
                                                                                                                         4.8)
Change from start of gender-affirming hormones to age 22 years in HDL cholesterol (mmol/L) in transmales

                                                                                                                Mean change (95% CI)
                                                                                                                  -0.3 (-0.4 to -0.2)
                                                                                                                Statistically significant
  1 cohort                     No serious                        Not                                             decrease (p<0.001)
                 Serious                     Not applicable                   N=121           None                                              Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable
 et al. 2020
                                                                                                               Mean HDL cholesterol at
                                                                                                             22 years (95% CI): 1.3 (1.2 to
                                                                                                                         1.3)
Change from start of gender-affirming hormones to age 22 years in LDL cholesterol (mmol/L) in transmales

  1 cohort                     No serious                        Not                                            Mean change (95% CI):
                 Serious                     Not applicable                   N=121           None                                              Important   VERY LOW
study Klaver
               limitations1   indirectness                    calculable                                           +0.4 (0.2 to 0.6)
 et al. 2020

                                                                                 137
                                 Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 138 of 156




                                                                                                            Summary of findings
                                     QUALITY
                                                                                           No of patients                         Effect              IMPORTANCE       CERTAINTY
     Study       Risk of bias     Indirectness    Inconsistency     Imprecision    Intervention    Comparator                Result (95% CI)
                                                                                                                         Statistically significant
                                                                                                                          increase (p<0.001)

                                                                                                                       Mean LDL cholesterol at
                                                                                                                     22 years (95% CI): 2.6 (2.4 to
                                                                                                                                 2.8)
 Change from start of gender-affirming hormones to age 22 years in triglycerides (mmol/L) in transmales

                                                                                                                        Mean change (95% CI)
                                                                                                                           +0.5 (0.3 to 0.7)
   1 cohort                                                                                                             Statistically significant
                    Serious        No serious                           Not
 study Klaver                                     Not applicable                      N=121           None               increase (p<0.001)             Important      VERY LOW
                  limitations1    indirectness                       calculable
  et al. 2020
                                                                                                                     Mean triglycerides at 22 years
                                                                                                                       (95% CI): 1.3 (1.1 to 1.5)


Abbreviations: BMI: boss mass index; CI: confidence interval; DBP: diastolic blood pressure; HbA1c: glycated haemoglobin; HDL: high-density lipoproteins;
HOMA-IR: Homeostatic Model Assessment of Insulin Resistance; LDL: low-density lipoproteins; mmol/L: millimoles per litre; mU/L: milliunits per litre; SBP:
systolic blood pressure; SD: standard deviation

1 Downgraded 1 level - the cohort study by Klaver et al. (2020) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group)
2 Downgraded 1 level - the cohort study by Stoffers et al. (2019) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group)


Table 9: Question 2: For children and adolescents with gender dysphoria, what is the short-term and long-term safety of
gender-affirming hormones compared with one or a combination of psychological support, social transitioning to the
desired gender or no intervention? – Other safety outcomes
                                                                                                          Summary of findings
                                    QUALITY
                                                                                         No of patients                           Effect              IMPORTANCE       CERTAINTY
    Study       Risk of bias     Indirectness    Inconsistency     Imprecision    Intervention    Comparator                Result (95% CI)
 Liver enzymes (1 uncontrolled, retrospective observational study)


                                                                                         138
                             Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 139 of 156




                                                                                                   Summary of findings
                                QUALITY
                                                                                  No of patients                         Effect                 IMPORTANCE    CERTAINTY
   Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                Result (95% CI)
Change from start of testosterone in aspartate aminotransferase (AST) level in transmales (up to 24 months follow-up)

                                                                                                              No statistically significant
                                                                                                                change from start of
 1 cohort                                                                                                      testosterone treatment
  study         Serious       No serious                        Not          N= Not
                                            Not applicable                                   None                                                 Important   VERY LOW
Stoffers et   limitations1   indirectness                    calculable     reported
 al. 2019                                                                                                    Numerical results, follow-up
                                                                                                            duration and further details of
                                                                                                           statistical analysis not reported.
Change from start of testosterone in alanine aminotransferase (ALT) level in transmales (up to 24 months follow-up)

                                                                                                              No statistically significant
                                                                                                                change from start of
  1 cohort                                                                                                     testosterone treatment
    study       Serious       No serious                        Not          N= Not
                                            Not applicable                                   None                                                 Important   VERY LOW
Stoffers et   limitations1   indirectness                    calculable     reported
al. 2019                                                                                                     Numerical results, follow-up
                                                                                                            duration and further details of
                                                                                                           statistical analysis not reported.
Change from start of testosterone in gamma-glutamyl transferase (GGT) level in transmales (up to 24 months follow-up)

                                                                                                              No statistically significant
                                                                                                                change from start of
  1 cohort                                                                                                     testosterone treatment
    study     Serious         No serious                     Not             N= Not
                                            Not applicable                                   None                                                 Important   VERY LOW
Stoffers et   limitations1   indirectness                    calculable     reported
al. 2019                                                                                                     Numerical results, follow-up
                                                                                                            duration and further details of
                                                                                                           statistical analysis not reported.
Change from start of testosterone in alkaline phosphatase (ALP) level in transmales (up to 24 months follow-up)

                                                                            N=62 (T0                             Median (IQR), U/L
 1 cohort                                                                    and T1)                             T0: 102 (78 to 136)
  study         Serious       No serious                        Not
                                            Not applicable                                   None               T6: 115 (102 to 147)              Important   VERY LOW
Stoffers et   limitations1   indirectness                    calculable
 al. 2019                                                                  N=37 (T12)                           T12: 112 (88 to 143)
                                                                                                               T24: 81 (range 69 to 98)

                                                                                  139
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 140 of 156




                                                                                                    Summary of findings
                                 QUALITY
                                                                                   No of patients                         Effect                  IMPORTANCE    CERTAINTY
  Study        Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                 Result (95% CI)
                                                                            N-15 (T24)                       Statistically significant increase
                                                                                                            from T0 at T6 and T12 (p<0.001)
Kidney markers (1 uncontrolled, retrospective observational study)
Change from start of testosterone in serum creatinine level in transmales (up to 24 months follow-up)

                                                                                                                    Mean (SD), umol/L
                                                                             N=62 (T0                                    T0: 62 (7)
 1 cohort                                                                     and T1)                                    T6: 70 (9)
  study          Serious       No serious                        Not                                                   T12: 74 (10)
                                             Not applicable                                   None                                                  Important   VERY LOW
Stoffers et    limitations1   indirectness                    calculable    N=37 (T12)                                 T24: 81 (10)
 al. 2019                                                                                                    Statistically significant increase
                                                                            N=15 (T24)                          from T0 at all timepoints
                                                                                                                         (p<0.001)
Change from start of testosterone in serum urea2 level in transmales (up to 24 months follow-up)

                                                                                                                No statistically significant
                                                                                                                  change from start of
 1 cohort                                                                                                        testosterone treatment
  study          Serious       No serious                        Not          N= Not
                                             Not applicable                                   None                                                  Important   VERY LOW
Stoffers et    limitations1   indirectness                    calculable     reported
 al. 2019                                                                                                     Numerical results, follow-up
                                                                                                             duration and further details of
                                                                                                            statistical analysis not reported.
Adverse effects (1 uncontrolled, retrospective observational study)
Permanent discontinuation of gender-affirming hormones (median follow-up 2.0 years (range 0.0 to 11.3)

 1 cohort
   study                                                                                                      No participants permanently
                 Serious       No serious                        Not
Khatchado                                    Not applicable                    N=63           None           discontinued gender-affirming          Important   VERY LOW
               limitations3   indirectness                    calculable
urian et al.                                                                                                           hormones.
   2014
Temporary discontinuation of gender-affirming hormones (median follow-up 2.0 years (range 0.0 to 11.3)

 1 cohort        Serious       No serious                        Not                                           3/37 transmales receiving
                                             Not applicable                    N=63           None                                                  Important   VERY LOW
  study        limitations3   indirectness                    calculable                                        testosterone temporarily

                                                                                   140
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 141 of 156




                                                                                                    Summary of findings
                                 QUALITY
                                                                                   No of patients                         Effect               IMPORTANCE    CERTAINTY
  Study        Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator               Result (95% CI)
Khatchado                                                                                                   discontinued treatment, 2 due to
urian et al.                                                                                                   concomitant mental health
   2014                                                                                                        comorbidities and 1 due to
                                                                                                                androgenic alopecia. All
                                                                                                             eventually resumed treatment.

                                                                                                               No transfemales receiving
                                                                                                                oestrogen temporarily
                                                                                                                discontinued treatment
Minor complications during treatment with gender-affirming hormones (median follow-up 2.0 years (range 0.0 to 11.3)

                                                                                                             12/63 participants had minor
                                                                                                            complications during treatment
                                                                                                            with gender-affirming hormones

                                                                                                            All 12 were transmales receiving
 1 cohort                                                                                                      testosterone. Complications
   study                       No serious                        Not                                             were severe acne (n=7),
                 Serious                     Not applicable                    N=63           None                                               Important   VERY LOW
Khatchado
               limitations3   indirectness                    calculable                                     androgenic alopecia (n=1) mild
urian et al.
   2014                                                                                                          dyslipidaemia (n=3) and
                                                                                                             significant mood swings (n=1)

                                                                                                               No transfemales receiving
                                                                                                                 oestrogen had minor
                                                                                                                     complications
Severe complications during treatment with gender-affirming hormones (median follow-up 2.0 years (range 0.0 to 11.3)

 1 cohort
   study                                                                                                       No severe complications
                 Serious       No serious                        Not
Khatchado                                    Not applicable                    N=63           None          reported during gender-affirming     Important   VERY LOW
               limitations3   indirectness                    calculable
urian et al.                                                                                                           treatment
   2014




                                                                                   141
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 142 of 156



Abbreviations: ALP: alkaline phosphatase; ALT: alanine aminotransferase; AST: aspartate aminotransferase; GGT: gamma-glutamyl transferase; IQR:
interquartile range; SD: standard deviation; U/L: units per litre; umol/L: micromole per litre

1 Downgraded 1 level - the cohort study by Stoffers et al. (2019) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group)
2 Referred to as ‘ureum’ in original publication
3 Downgraded 1 level - the cohort study by Khatchadourian et al. (2014) was assessed as at high risk of bias (poor quality overall; lack of blinding, no control group and high
number of participants lost to follow-up)


Table 10: From the evidence selected, are there particular sub-groups of children and adolescents with gender dysphoria
that derive comparatively more (or less) benefit from treatment with gender-affirming hormones than the wider population
of children and adolescents with gender dysphoria? – Transfemales compared with transmales
                                                                                                       Summary of findings
                                  QUALITY
                                                                                      No of patients                         Effect               IMPORTANCE        CERTAINTY
                                                                               Transfemal
    Study       Risk of bias   Indirectness    Inconsistency    Imprecision                   Transmales               Result (95% CI)
                                                                                   es
 Impact on mental health (1 uncontrolled, retrospective observational study)
 Change from baseline in adjusted mean suicidality score, measured using the ASQ tool (mean treatment duration 349 days). Higher scores
 indicate a greater degree of suicidality.
                                                                                                                        Transfemales
                                                                                                                T0 (baseline) = 1.21 (SE 0.36)
                                                                                                                 T1 (final assessment) = 0.24
                                                                                                                            (SE 0.19)

  1 cohort                                                                                                                Transmales
    study         Serious       No serious       No serious         Not                                         T0 (baseline) = 1.01 (SE 0.23)
                                                                                  N=14           N=33                                                 Critical      VERY LOW
 Allen et al.   limitations4   indirectness    inconsistency     calculable                                      T1 (final assessment) = 0.29
    2019                                                                                                                    (SE 0.13)

                                                                                                                  No statistically significant
                                                                                                                  difference in change from
                                                                                                                baseline between transfemales
                                                                                                                   and transmales (p=0.79)
 Impact on quality of life (1 uncontrolled, retrospective observational study)
 Change from baseline in adjusted mean well-being score, measured using the GWBS of the Pediatric Quality of Life Inventory (mean treatment
 duration 349 days). Higher scores indicate better well-being.
  1 cohort                                                                                                              Transfemales
    study         Serious       No serious       No serious         Not                                        T0 (baseline) = 58.44 (SE 4.09)
                                                                                  N=14           N=33                                                 Critical      VERY LOW
 Allen et al.   limitations4   indirectness    inconsistency     calculable                                     T1 (final assessment) = 69.52
    2019                                                                                                                   (SE 3.62)

                                                                                      142
                                Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 143 of 156




                                                                                                        Summary of findings
                                  QUALITY
                                                                                       No of patients                         Effect                IMPORTANCE    CERTAINTY
                                                                                Transfemal
    Study       Risk of bias   Indirectness     Inconsistency    Imprecision                   Transmales                Result (95% CI)
                                                                                    es

                                                                                                                           Transmales
                                                                                                                T0 (baseline) = 64.95 (SE 2.66)
                                                                                                                 T1 (final assessment) = 70.94
                                                                                                                            (SE 2.35)

                                                                                                                   No statistically significant
                                                                                                                   difference in change from
                                                                                                                 baseline between transfemales
                                                                                                                    and transmales (p=0.32)

Abbreviations: ASQ: Ask Suicide-Screening Questions; GWBS: General Well-Being Scale; SE: standard error

1 The cohort study by Allen et al. 2019 was assessed at high risk of bias (poor quality; lack of blinding and no control group).

Table 11: From the evidence selected, are there particular sub-groups of children and adolescents with gender dysphoria
that derive comparatively more (or less) benefit from treatment with gender-affirming hormones than the wider population
of children and adolescents with gender dysphoria? – Sex assigned at birth males (transfemales)
                                                                                                        Summary of findings
                                  QUALITY                                            No of events/No of
                                                                                                                              Effect
                                                                                     patients% (n/N%)
  Study type                                                                                                                                        IMPORTANCE    CERTAINTY
 and number
                Risk of bias   Indirectness     Inconsistency    Imprecision    Intervention   Comparator                Result (95% CI)
  of studies
 Author year
 Change from baseline in mean depression symptoms in transfemales, measured using the Quick Inventory of Depressive Symptoms (QIDS),
 self-reported (mean duration of gender-affirming hormone treatment 10.9 months). Higher scores indicate more depression.
  1 cohort                                                                                                          Baseline = 7.5 (SD 4.9)
   study          Serious       No serious        No serious         Not                                           Follow-up = 6.6 (SD 4.4)
                                                                                   N=40            None                                                Critical   VERY LOW
  Kuper et      limitations1   indirectness     inconsistency     calculable                                     No statistical analysis reported
  al. 2020                                                                                                             for this sub-group
 Change from baseline in mean depression symptoms in transfemales, measured using the Quick Inventory of Depressive Symptoms (QIDS),
 clinician-reported (mean duration of gender-affirming hormone treatment 10.9 months). Higher scores indicate more severe depression.
   1 cohort       Serious       No serious        No serious         Not                                            Baseline = 4.2 (SD 3.2)
                                                                                   N=45            None                                                Critical   VERY LOW
    study       limitations1   indirectness     inconsistency     calculable                                        Follow-up = 5.4 (SD 3.4)

                                                                                       143
                             Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 144 of 156




                                                                                               Summary of findings
                                QUALITY                                        No of events/No of
                                                                                                                     Effect
                                                                               patients% (n/N%)
 Study type                                                                                                                                IMPORTANCE    CERTAINTY
and number
              Risk of bias   Indirectness   Inconsistency   Imprecision   Intervention   Comparator             Result (95% CI)
 of studies
Author year
 Kuper et                                                                                               No statistical analysis reported
 al. 2020                                                                                                     for this sub-group
Change from baseline in mean anxiety symptoms in transfemales, measured using the SCARED questionnaire (mean duration of gender-
affirming hormone treatment 10.9 months). Higher scores indicate more severe anxiety.
 1 cohort                                                                                                 Baseline = 26.4 (SD 14.2)
  study         Serious       No serious      No serious       Not                                       Follow-up = 24.3 (SD 15.4)
                                                                             N=33           None                                              Critical   VERY LOW
 Kuper et     limitations1   indirectness   inconsistency   calculable                                  No statistical analysis reported
 al. 2020                                                                                                     for this sub-group
Change from baseline in mean panic symptoms in transfemales, measured using specific questions from the SCARED questionnaire (mean
duration of gender-affirming hormone treatment 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                  Baseline = 5.7 (SD 4.9)
  study         Serious       No serious      No serious       Not                                        Follow-up = 5.1 (SD 4.9)
                                                                             N=34           None                                              Critical   VERY LOW
 Kuper et     limitations1   indirectness   inconsistency   calculable                                  No statistical analysis reported
 al. 2020                                                                                                     for this sub-group
Change from baseline in mean generalised anxiety symptoms in transfemales, measured using specific questions from the SCARED
questionnaire (mean duration of gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                  Baseline = 8.6 (SD 5.1)
  study         Serious       No serious      No serious       Not                                        Follow-up = 8.0 (SD 5.1)
                                                                             N=34           None                                              Critical   VERY LOW
 Kuper et     limitations1   indirectness   inconsistency   calculable                                  No statistical analysis reported
 al. 2020                                                                                                     for this sub-group
Change from baseline in mean social anxiety symptoms in transfemales, measured using specific questions from the SCARED questionnaire
(mean duration of gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                  Baseline = 7.1 (SD 3.9)
  study         Serious       No serious      No serious       Not                                        Follow-up = 6.8 (SD 4.4)
                                                                             N=34           None                                              Critical   VERY LOW
 Kuper et     limitations1   indirectness   inconsistency   calculable                                  No statistical analysis reported
 al. 2020                                                                                                     for this sub-group
Change from baseline in mean separation anxiety symptoms in transfemales, measured using specific questions from the SCARED
questionnaire (mean duration of gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                  Baseline = 3.4 (SD 3.3)
  study         Serious       No serious      No serious       Not                                        Follow-up = 2.7 (SD 2.3)
                                                                             N=34           None                                              Critical   VERY LOW
 Kuper et     limitations1   indirectness   inconsistency   calculable                                  No statistical analysis reported
 al. 2020                                                                                                     for this sub-group


                                                                                 144
                                Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 145 of 156




                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                            Effect
                                                                                    patients% (n/N%)
  Study type                                                                                                                                      IMPORTANCE        CERTAINTY
 and number
               Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator               Result (95% CI)
  of studies
 Author year
 Change from baseline in mean school avoidance symptoms in transfemales, measured using specific questions from the SCARED
 questionnaire (mean duration of gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
  1 cohort                                                                                                        Baseline = 1.8 (SD 1.7)
   study          Serious       No serious       No serious         Not                                          Follow-up = 1.9 (SD 2.1)
                                                                                  N=33           None                                                 Critical      VERY LOW
  Kuper et      limitations1   indirectness    inconsistency     calculable                                    No statistical analysis reported
  al. 2020                                                                                                           for this sub-group
 Change from baseline in percentage of participants with suicidal ideation in transfemales, measured using the additional questions from the
 PHQ 9_Modified for Teens (approximately 12-month follow-up)
                                                                                                                Wave 1 (baseline) = 11.8%
  1 cohort                                                                                                                  (2/17)
   study          Serious         Serious        No serious         Not                                        Wave 2 (approx. 12 months) =
                                                                                  N=17           None                                                 Critical      VERY LOW
  Achille et    limitations2   indirectness2   inconsistency     calculable                                              5.9% (1/17)
  al. 2020                                                                                                     No statistical analysis reported

 Impact on body image (1 uncontrolled, prospective observational study)
 Change from baseline in mean body image in transfemales, measured using the BIS (mean duration of gender-affirming hormone treatment was
 10.9 months). Higher scores represent a higher degree of body dissatisfaction.
  1 cohort                                                                                                       Baseline = 67.5 (SD 19.5)
   study          Serious       No serious       No serious         Not                                         Follow-up = 49.0 (SD 21.6)
                                                                                  N=30           None                                                Important      VERY LOW
  Kuper et      limitations1   indirectness    inconsistency     calculable                                    No statistical analysis reported
  al. 2020                                                                                                           for this sub-group

Abbreviations: BIS: Body Image Scale; PHQ 9: Patient Health Questionnaire 9; SCARED: Screen for Child Anxiety Related Emotional Disorders; SD:
standard deviation

1 Downgraded 1 level - the cohort study by Kuper et al. (2020) was assessed at high risk of bias (poor quality; lack of blinding, no control group and high number of participants
lost to follow-up).
2 Downgraded 1 level - the cohort study by Achille et al. 2020 was assessed at high risk of bias (poor quality; lack of blinding, no control group and high number of participants
lost to follow-up).
3 Serious indirectness in Achille 2020- Approximately 30% of the full sample received puberty suppression alone or were receiving no treatment at final follow-up.




                                                                                      145
                           Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 146 of 156




Table 12: From the evidence selected, are there particular sub-groups of children and adolescents with gender dysphoria
that derive comparatively more (or less) benefit from treatment with gender-affirming hormones than the wider population
of children and adolescents with gender dysphoria? – Sex assigned at birth females (transmales)
                                                                                                Summary of findings
                              QUALITY
                                                                               No of patients                         Effect                IMPORTANCE    CERTAINTY
  Study     Risk of bias   Indirectness   Inconsistency   Imprecision   Intervention   Comparator                Result (95% CI)
Change from baseline in mean depression symptoms in transmales, measured using the Quick Inventory of Depressive Symptoms (QIDS), self-
reported (mean duration of gender-affirming hormone treatment 10.9 months). Higher scores indicate more severe depression.
 1 cohort                                                                                                  Baseline = 10.4 (SD 5.0)
  study       Serious       No serious      No serious       Not                                           Follow-up = 7.5 (SD 4.5)
                                                                           N=76           None                                                 Critical   VERY LOW
 Kuper et   limitations1   indirectness   inconsistency   calculable                                     No statistical analysis reported
 al. 2020                                                                                                      for this sub-group
Change from baseline in mean depression symptoms in transmales, measured using the Quick Inventory of Depressive Symptoms (QIDS),
clinician-reported (mean duration of gender-affirming hormone treatment 10.9 months). Higher scores indicate more severe depression.
 1 cohort                                                                                                   Baseline = 6.7 (SD 4.4)
  study       Serious       No serious      No serious       Not                                           Follow-up = 6.2 (SD 4.1)
                                                                           N=78           None                                                 Critical   VERY LOW
 Kuper et   limitations1   indirectness   inconsistency   calculable                                     No statistical analysis reported
 al. 2020                                                                                                      for this sub-group
Change from baseline in mean anxiety symptoms in transmales, measured using the SCARED questionnaire (mean duration of gender-affirming
hormone treatment 10.9 months). Higher scores indicate more severe anxiety.
 1 cohort                                                                                                  Baseline = 35.4 (SD 16.5)
  study       Serious       No serious      No serious       Not                                          Follow-up = 29.8 (SD 15.5)
                                                                           N=65           None                                                 Critical   VERY LOW
 Kuper et   limitations1   indirectness   inconsistency   calculable                                     No statistical analysis reported
 al. 2020                                                                                                      for this sub-group
Change from baseline in mean panic symptoms in transmales, measured using specific questions from the SCARED questionnaire (mean
duration of gender-affirming hormone treatment 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                   Baseline = 9.3 (SD 6.5)
  study       Serious       No serious      No serious       Not                                           Follow-up = 7.9 (SD 6.5)
                                                                           N=66           None                                                 Critical   VERY LOW
 Kuper et   limitations1   indirectness   inconsistency   calculable                                     No statistical analysis reported
 al. 2020                                                                                                      for this sub-group
Change from baseline in mean generalised anxiety symptoms in transmales, measured using specific questions from the SCARED
questionnaire (mean duration of gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                  Baseline = 10.4 (SD 5.0)
  study       Serious       No serious      No serious       Not                                           Follow-up = 9.0 (SD 5.1)
                                                                           N=66           None                                                 Critical   VERY LOW
 Kuper et   limitations1   indirectness   inconsistency   calculable                                     No statistical analysis reported
 al. 2020                                                                                                      for this sub-group


                                                                               146
                             Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 147 of 156




                                                                                                  Summary of findings
                               QUALITY
                                                                                 No of patients                         Effect                IMPORTANCE    CERTAINTY
  Study      Risk of bias   Indirectness    Inconsistency   Imprecision   Intervention   Comparator                Result (95% CI)
Change from baseline in mean social anxiety symptoms in transmales, measured using specific questions from the SCARED questionnaire
(mean duration of gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                     Baseline = 8.5 (SD 4.0)
  study        Serious       No serious       No serious       Not                                           Follow-up = 7.8 (SD 4.1)
                                                                             N=66           None                                                 Critical   VERY LOW
 Kuper et    limitations1   indirectness    inconsistency   calculable                                     No statistical analysis reported
 al. 2020                                                                                                        for this sub-group
Change from baseline in mean separation anxiety symptoms in transmales, measured using specific questions from the SCARED questionnaire
(mean duration of gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                     Baseline = 4.2 (SD 3.4)
  study        Serious       No serious       No serious       Not                                           Follow-up = 3.4 (SD 2.6)
                                                                             N=65           None                                                 Critical   VERY LOW
 Kuper et    limitations1   indirectness    inconsistency   calculable                                     No statistical analysis reported
 al. 2020                                                                                                        for this sub-group
Change from baseline in mean school avoidance symptoms in transmales, measured using specific questions from the SCARED questionnaire
(mean duration of gender-affirming hormone treatment was 10.9 months). Higher scores indicate more severe symptoms.
 1 cohort                                                                                                     Baseline = 2.9 (SD 2.3)
  study        Serious       No serious       No serious       Not                                           Follow-up = 2.0 (SD 2.3)
                                                                             N=65           None                                                 Critical   VERY LOW
 Kuper et    limitations1   indirectness    inconsistency   calculable                                     No statistical analysis reported
 al. 2020                                                                                                        for this sub-group
Change from baseline in percentage of participants with suicidal ideation in transmales, measured using the additional questions from the PHQ
9_Modified for Teens (approximately 12-month follow-up)
                                                                                                          Wave 1 (baseline) = 9.1% (3/33)
1 cohort                                                                                                  Wave 2 (approx. 12 months) =
 study         Serious         Serious        No serious       Not
                                                                             N=33           None                    6.1% (2/33)                  Critical   VERY LOW
Achille et   limitations2   indirectness3   inconsistency   calculable
al. 2020                                                                                                  No statistical analysis reported

Impact on body image (1 uncontrolled, prospective observational study)
Change from baseline in mean body image in transmales, measured using the BIS (mean duration of gender-affirming hormone treatment was
10.9 months). Higher scores represent a higher degree of body dissatisfaction.
 1 cohort                                                                                                    Baseline = 71.1 (SD 13.4)
  study        Serious       No serious       No serious       Not                                          Follow-up = 52.9 (SD 16.8)
                                                                             N=66           None                                                Important   VERY LOW
 Kuper et    limitations1   indirectness    inconsistency   calculable                                     No statistical analysis reported
 al. 2020                                                                                                        for this sub-group



                                                                                 147
                                Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 148 of 156



Abbreviations: BIS: Body Image Scale; PHQ 9: Patient Health Questionnaire 9; SCARED: Screen for Child Anxiety Related Emotional Disorders; SD:
standard deviation

1 Downgraded 1 level - the cohort study by Kuper et al. (2020) was assessed at high risk of bias (poor quality; lack of blinding, no control group and high number of participants
lost to follow-up).
2 Downgraded 1 level - the cohort study by Achille et al. 2020 was assessed at high risk of bias (poor quality; lack of blinding, no control group and high number of participants
lost to follow-up).
3 Serious indirectness in Achille 2020- Approximately 30% of the full sample received puberty suppression alone or were receiving no treatment at final follow-up.


Table 14: From the evidence selected, are there particular sub-groups of children and adolescents with gender dysphoria
that derive comparatively more (or less) benefit from treatment with gender-affirming hormones than the wider population
of children and adolescents with gender dysphoria? – Outcomes controlled for concurrent counselling and medicines for
mental health problems
                                                                                                       Summary of findings
                                  QUALITY
                                                                                      No of patients                         Effect               IMPORTANCE        CERTAINTY
    Study      Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator               Result (95% CI)
 Impact on mental health (1 uncontrolled, retrospective observational study)
 Change from baseline in mean depression score in transfemales, measured using the CESD-R (approximately 12-month follow-up; controlled
 for engagement in counselling and medicines for mental health problems). Higher scores indicate more depression.
  1 cohort
                                                                                                                  No statistically significant
   study          Serious         Serious        No serious         Not
                                                                                  N=17           None           change from baseline (p=0.27)         Critical      VERY LOW
  Achille et    limitations1   indirectness2   inconsistency     calculable
                                                                                                                Numerical scores not reported
  al. 2020
 Change from baseline in mean depression score in transmales, measured using the CESD-R (approximately 12-month follow-up; controlled for
 engagement in counselling and medicines for mental health problems). Higher scores indicate more severe depression.
  1 cohort
                                                                                                                  No statistically significant
   study          Serious         Serious        No serious         Not
                                                                                  N=33           None           change from baseline (p=0.43)         Critical      VERY LOW
  Achille et    limitations1   indirectness2   inconsistency     calculable
                                                                                                                Numerical scores not reported
  al. 2020
 Change from baseline in depression score in transfemales, measured using the Patient Health Questionnaire Modified for Teens (PHQ
 9_Modified for Teens) (approximately 12-month follow-up; controlled for engagement in counselling and medicines for mental health problems).
 Higher scores indicate more severe depression.
  1 cohort
                                                                                                                  No statistically significant
   study          Serious         Serious        No serious         Not
                                                                                  N=17           None           change from baseline (p=0.07)         Critical      VERY LOW
  Achille et    limitations1   indirectness2   inconsistency     calculable
                                                                                                                Numerical scores not reported
  al. 2020



                                                                                      148
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 149 of 156




                                                                                                   Summary of findings
                                QUALITY
                                                                                  No of patients                         Effect                   IMPORTANCE    CERTAINTY
  Study       Risk of bias   Indirectness    Inconsistency   Imprecision   Intervention   Comparator                Result (95% CI)
Change from baseline in depression score in transmales, measured using the Patient Health Questionnaire Modified for Teens (PHQ 9_Modified
for Teens) (approximately 12-month follow-up; controlled for engagement in counselling and medicines for mental health problems). Higher
scores indicate more severe depression.
1 cohort
                                                                                                              No statistically significant
 study          Serious         Serious        No serious       Not
                                                                              N=33           None           change from baseline (p=0.67)            Critical   VERY LOW
Achille et    limitations1   indirectness2   inconsistency   calculable
                                                                                                            Numerical scores not reported
al. 2020
Impact on quality of life (1 uncontrolled, retrospective observational study)
Change from baseline in mean quality of life score in transfemales, measured using the QLES-Q-SF (approximately 12-month follow-up;
controlled for engagement in counselling and medicines for mental health problems). Higher scores indicated better quality of life.
1 cohort
 study          Serious         Serious        No serious       Not                                           No statistically significant
                                                                              N=17           None                                                    Critical   VERY LOW
Achille et    limitations1   indirectness2   inconsistency   calculable                                     change from baseline (p=0.06)
al. 2020
Change from baseline in mean quality of life score in transmales, measured using the QLES-Q-SF (approximately 12-month follow-up; controlled
for engagement in counselling and medicines for mental health problems). Higher scores indicated better quality of life.
1 cohort
 study          Serious         Serious        No serious       Not                                           No statistically significant
                                                                              N=33           None                                                    Critical   VERY LOW
Achille et    limitations1   indirectness2   inconsistency   calculable                                     change from baseline (p=0.08)
al. 2020
Psychosocial Impact (1 uncontrolled, retrospective observational study)
Functioning in adolescent development: Progresses normatively in school/ work during the real-life phase – impact on need for mental health
treatment before or during gender identity assessment
                                                                                                               Needed mental health
                                                                                                                     treatment:
                                                                                                             47% (15/32) functioning well
 1 cohort
  study         Serious       No serious       No serious       Not                                           Did not need mental health
                                                                              N=49           None                                                   Important   VERY LOW
Kaltiala et   limitations3   indirectness    inconsistency   calculable                                               treatment:
 al. 2020                                                                                                    82% (14/17) functioning well

                                                                                                           Statistically significant difference
                                                                                                                          p=0.02
Functioning in adolescent development: Is age-appropriately able to deal with matters outside of the home during the real-life phase – impact on
need for mental health treatment before or during gender identity assessment

                                                                                  149
                              Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 150 of 156




                                                                                                   Summary of findings
                                 QUALITY
                                                                                  No of patients                         Effect                   IMPORTANCE    CERTAINTY
   Study       Risk of bias   Indirectness   Inconsistency   Imprecision   Intervention   Comparator                Result (95% CI)
                                                                                                               Needed mental health
                                                                                                                    treatment:
                                                                                                             72% (23/32) managing well
  1 cohort
   study         Serious       No serious      No serious       Not                                          Did not need mental health
                                                                              N=49           None                                                   Important   VERY LOW
 Kaltiala et   limitations3   indirectness   inconsistency   calculable                                              treatment:
  al. 2020                                                                                                   94% (16/17) managing well

                                                                                                               No statistically significant
                                                                                                                  difference p=0.06
 Functioning in adolescent development: Progresses normatively in school/ work during the real-life phase – impact on need for mental health
 treatment during the real-life phase
                                                                                                               Needed mental health
                                                                                                                     treatment:
                                                                                                             42% (10/24) functioning well
  1 cohort
   study         Serious       No serious      No serious       Not                                           Did not need mental health
                                                                              N=51           None                                                   Important   VERY LOW
 Kaltiala et   limitations3   indirectness   inconsistency   calculable                                               treatment:
  al. 2020                                                                                                   74% (20/27) functioning well

                                                                                                           Statistically significant difference
                                                                                                                          p=0.02
 Functioning in adolescent development: Is age-appropriately able to deal with matters outside of the home during the real-life phase – impact on
 need for mental health treatment during the real-life phase
                                                                                                               Needed mental health
                                                                                                                    treatment:
                                                                                                             67% (16/24) managing well
  1 cohort
   study         Serious       No serious      No serious       Not                                          Did not need mental health
                                                                              N=51           None                                                   Important   VERY LOW
 Kaltiala et   limitations3   indirectness   inconsistency   calculable                                              treatment:
  al. 2020                                                                                                   93% (25/27) managing well

                                                                                                           Statistically significant difference
                                                                                                                          p=0.02

Abbreviations: CESD-R: Center for Epidemiologic Studies Depression; p: p-value; PHQ 9: Patient Health Questionnaire 9; QLES-Q-SF: Quality of Life
Enjoyment and Satisfaction Questionnaire

                                                                                  150
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 151 of 156




1 Downgraded 1 level - the cohort study by Achille et al 2020 was assessed at high risk of bias (poor quality; lack of blinding, no control group and high number of participants
lost to follow-up).
2 Serious indirectness in Achille 2020- Approximately 30% of the full sample received puberty suppression alone or were receiving no treatment at final follow-up.
3 Downgraded 1 level - the cohort study by Kaltiala et al. 2020 was assessed at high risk of bias (poor quality; lack of blinding and no control).


Table 15: From the evidence selected, are there particular sub-groups of children and adolescents with gender dysphoria
that derive comparatively more (or less) benefit from treatment with gender-affirming hormones than the wider population
of children and adolescents with gender dysphoria? – Tanner age
                                                                                                       Summary of findings
                                  QUALITY
                                                                                      No of patients                         Effect                IMPORTANCE        CERTAINTY
    Study       Risk of bias   Indirectness    Inconsistency     Imprecision   Intervention   Comparator                Result (95% CI)
 Impact on mental health (1 uncontrolled, retrospective observational study)
 Change from baseline in mental health problems – depression, anxiety and anxiety-related symptoms (mean duration of gender-affirming
 hormone treatment was 10.9 months)
                                                                                                               No difference in outcomes found
                                                                                                                        by Tanner age.

                                                                                                                Numerical results, statistical
                                                                                                                 analysis and information on
  1 cohort
                                                                                                               specific outcomes not reported.
   study          Serious       No serious       No serious         Not
                                                                                 N=105           None                                                 Critical      VERY LOW
  Kuper et      limitations1   indirectness    inconsistency     calculable
                                                                                                                  It is unclear from the paper
  al. 2020
                                                                                                                whether Tanner age is at initial
                                                                                                                  assessment, start of GnRH
                                                                                                                  analogues, start of gender-
                                                                                                                affirming hormones, or another
                                                                                                                            timepoint
 Impact on body image (1 uncontrolled, prospective observational study)
 Change from baseline in mean body image, measured using the BIS (mean duration of gender-affirming hormone treatment was 10.9 months).
 Higher scores represent a higher degree of body dissatisfaction.
                                                                                                                 No difference in body image
                                                                                                                 score found by Tanner age.
  1 cohort
   study          Serious       No serious       No serious         Not
                                                                                 N=105           None           Numerical results, statistical       Important      VERY LOW
  Kuper et      limitations1   indirectness    inconsistency     calculable
                                                                                                                 analysis and information on
  al. 2020
                                                                                                               specific outcomes not reported.


                                                                                      151
                               Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 152 of 156



                                                                                                                It is unclear from the paper
                                                                                                              whether Tanner age is at initial
                                                                                                                assessment, start of GnRH
                                                                                                                analogues, start of gender-
                                                                                                              affirming hormones, or another
                                                                                                                          timepoint

Abbreviations: BIS: Body Image Scale

1 Downgraded 1 level - the cohort study by Kuper et al. 2020 was assessed at high risk of bias (poor quality; lack of blinding, no control group and high number of participants
lost to follow-up).




                                                                                      152
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 153 of 156




Glossary


Ask Suicide-            ASQ is a four-item dichotomous (yes, no) response measure with
Screening Questions     high sensitivity, designed to identify risk of suicide. A patient is
(ASQ)                   considered to have screened positive if they answered yes to any
                        item. The authors of Allen et al. 2019 altered the fourth item of
                        the ASQ (“Have you ever tried to kill yourself?”) and prefaced it
                        with “In the past few weeks . . .” as they were not investigating
                        lifetime suicidality. A response of ‘no’ was scored as 0 and a
                        response of ‘yes’ was scored as 1; each item was summed,
                        generating an overall score for suicidality on a scale ranging from
                        0 to 4, with higher scores indicating greater levels of suicidal
                        ideation.
Beck Depression         The BDI-II is a tool for assessing depressive symptoms. There
Inventory-II (BDI-II)   are no specific scores to categorise depression severity, but it is
                        suggested that 0 to 13 is minimal symptoms, 14 to 19 is mild
                        depression, 20 to 28 is moderate depression, and severe
                        depression is 29 to 63.
Body Image Scale        The BIS is used to measure body satisfaction. The scale consists
(BIS)                   of 30 body features, which the person rates on a 5-point scale.
                        Each of the 30 items falls into one of 3 basic groups based on its
                        relative importance as a gender-defining body feature: primary
                        sex characteristics, secondary sex characteristics, and neutral
                        body characteristics. A
                        higher score indicates more dissatisfaction.
Bone mineral            BMAD is a size adjusted value of bone mineral density (BMD)
apparent density        incorporating bone size measurements using UK norms in
(BMAD)                  growing adolescents.
Center for              The CESD-R is a valid, widely used tool to access depressive
Epidemiologic Studies   symptoms. The CESD-R asks about how frequently a person has
Depression scale        felt or behaved in a certain way; with 20 questions scored from 0
(CESD-R)                score is calculated as a sum of 20 questions, ranging from 0 (“not
                        at all or less than one day”) to 3 (“5–7 days” and/or “nearly every
                        day for 2 weeks”). Total score ranges from 0 to 60, with higher
                        scores indicating more depressive symptoms.
Cisgender               Cisgender is a term for someone whose gender identity matches
                        their birth-registered sex.
Family APGAR            The Family APGAR test is a 5-item questionnaire, with higher
(Adaptability,          scores indicating better family functioning. The authors reported
Partnership, Growth,    the following interpretation of the score: functional, 17-20 points;
Affection and           mildly dysfunctional, 16-13 points; moderately dysfunctional, 12-
Resolve) test           10 point; severely dysfunctional, <9 points.
Gender                  The roles, behaviours, activities, attributes and opportunities that
                        any society considers appropriate for girls and boys, and women
                        and men.
Gender dysphoria        Discomfort or distress that is caused by a discrepancy between a
                        person’s gender identity (how they see themselves regarding
                        their gender) and that person’s sex assigned at birth (and the
                        associated gender role, and/or primary and secondary sex
                        characteristics).

                                           153
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 154 of 156




General Well-Being      The GWBS of the Pediatric Quality of Life Inventory uses uses a
Scale (GWBS) of the     5-point response scale, contains seven items, and measures two
Pediatric Quality of    dimensions: general wellbeing (6 items) and general health (1
Life Inventory score    item). Each item is scored from 0 to 4, and the total score is
                        linearly transformed to a 0 to 100 scale. High scores reflect fewer
                        perceived problems and greater well-being.
GnRH analogue           GnRH analogues competitively block GnRH receptors to prevent
                        the spontaneous release of two gonadotropin hormones,
                        Follicular Stimulating Hormone (FSH) and Luteinising Hormone
                        (LH) from the pituitary gland. The reduction in LH and FSH
                        secretion reduces oestradiol secretion from the ovaries in those
                        whose sex assigned at birth was female and testosterone
                        secretion from the testes in those whose sex assigned at birth
                        was male.
Patient Health          The PHQ 9_Modified for Teens is a validated tool to assess
Questionnaire           depression, dysthymia and suicide risk. The tool consists of 9
Modified for Teens      questions scored from 0 to 3 (total score 0 to 27), plus an
score (PHQ              additional 4 questions that are not scored. A score of 0 to 4
9_Modified for Teens)   suggests no or minimal depressive symptoms, 5 to 9 mild, 10-14
                        moderate, 15-19 moderate and 20-27 severe symptoms.
Quick Inventory of      Both the clinician- and self-reported QIDS are validated tools to
Depressive              assess depressive symptoms. The tool consists of 16 items, with
Symptoms (QIDS)         the highest score for 9 items (sleep, weight, psychomotor
                        changes, depressed mood, decreased interest, fatigue, guilt,
                        concentration, and suicidal ideation) are added to give a total
                        score ranging from 0 to 27. A score of 0 to 5 is suggestive of no
                        depressive symptoms, 6 to 10 mild symptoms, 11 to 15 moderate
                        symptoms, 16-20 severe symptoms and 21 to 27 very severe
                        symptoms.
Quality of Life         QLES-Q-SF is a validated questionnaire, consisting of 15
Enjoyment and           questions that rate quality of life on a scale of 1 (poor) to 5 (very
Satisfaction            good).
Questionnaire (QLES-
Q-SF)
Screen for Child        SCARED is a validated, 41-point questionnaire, with each item
Anxiety Related         scored 0 to 2. A total score of 25 or more is suggestive of anxiety
Emotional Disorders     disorder, with scores above 30 being more specific. Certain
(SCARED)                scores for specific questions may indicate the presence of other
questionnaire           anxiety-related disorders:
                        A score of 7 or more in questions related to panic disorder or
                        significant somatic symptoms may indicate the presence of
                        these.
                        A score of 9 or more in questions related to generalised anxiety
                        disorder may indicate the presence of this.
                        A score of 5 or more in questions related to separation anxiety
                        may indicate the presence of this.
                        A score of 8 or more in questions related to social anxiety
                        disorder may indicate the presence of this.
                        A score of 3 or more in questions related to significant school
                        avoidance may indicate the presence of this.
State-Trait Anxiety     STAI is a validated and commonly used measure of state anxiety
Inventory (STAI)        (current state of anxiety) and trait anxiety (general state of
score                   calmness, confidence and security). It has 40 items, the first 20
                        covering state anxiety, the second 20 covering trait anxiety. STAI

                                           154
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 155 of 156




                         can be used in clinical settings to diagnose anxiety and to
                         distinguish it from depressive illness. Each subtest (state and
                         trait) is scored between 20 and 80, with higher scores indicating
                         greater anxiety. There is no published minimal clinically
                         meaningful difference (MCID) for STAI or thresholds for anxiety
                         severity.
 Strengths and           The SDQ, Spanish version includes 25-items covering emotional
 Difficulties            symptoms, conduct problems, hyperactivity/ inattention, peer
 Questionnaire (SDQ,     relationship problems and prosocial behaviour. The authors state
 Spanish version         that a score of more than 20 is considered indicative of risk of
                         having a disorder (normal: 0-15; borderline: 16-19, abnormal: 20-
                         40).
 Tanner stage            Tanner staging is a scale of physical development.
 Transgender             Transgender is a term for someone whose gender identity is not
 (including transmale    congruent with their birth-registered sex. A transfemale is a
 and transfemale)        person who identifies as female and a transmale is a person who
                         identifies as male.
 Utrecht Gender          The UGDS is a validated screening tool for both adolescents and
 Dysphoria Scale         adults to assess gender dysphoria. It consists of 12 items, to be
 (UGDS)                  answered on a 1- to 5-point scale, resulting in a sum score
                         between 12 and 60. Higher scores indicate higher levels of
                         gender dysphoria.


References

Included studies


   •   Achille, C., Taggart, T., Eaton, N.R. et al. (2020) Longitudinal impact of gender-
       affirming endocrine intervention on the mental health and well-being of transgender
       youths: Preliminary results. International Journal of Pediatric Endocrinology 2020(1):
       8
   •   Allen, LR, Watson, LB, Egan, AM et al. (2019) Well-being and suicidality among
       transgender youth after gender-affirming hormones. Clinical Practice in Pediatric
       Psychology 7(3): 302-311
   •   Kaltiala, R., Heino, E., Tyolajarvi, M. et al. (2020) Adolescent development and
       psychosocial functioning after starting cross-sex hormones for gender dysphoria.
       Nordic Journal of Psychiatry 74(3): 213-219
   •   Khatchadourian K, Amed S, Metzger DL (2014) Clinical management of youth with
       gender dysphoria in Vancouver. The Journal of pediatrics 164(4): 906-11
   •   Klaver, Maartje, de Mutsert, Renee, van der Loos, Maria A T C et al. (2020)
       Hormonal Treatment and Cardiovascular Risk Profile in Transgender Adolescents.
       Pediatrics 145(3)
   •   Klink D, Caris M, Heijboer A et al. (2015) Bone mass in young adulthood following
       gonadotropin-releasing hormone analog treatment and cross-sex hormone treatment
       in adolescents with gender dysphoria. The Journal of Clinical Endocrinology and
       Metabolism 100(2): e270-5




                                            155
Case 2:22-cv-00184-LCB-CWB Document 69-10 Filed 05/02/22 Page 156 of 156




   •   Kuper, Laura E, Stewart, Sunita, Preston, Stephanie et al. (2020) Body
       Dissatisfaction and Mental Health Outcomes of Youth on Gender-Affirming Hormone
       Therapy. Pediatrics 145(4)
   •   Lopez de Lara, D., Perez Rodriguez, O., Cuellar Flores, I. et al. (2020) Psychosocial
       assessment in transgender adolescents. Anales de Pediatria
   •   Stoffers, Iris E; de Vries, Martine C; Hannema, Sabine E (2019) Physical changes,
       laboratory parameters, and bone mineral density during testosterone treatment in
       adolescents with gender dysphoria. The journal of sexual medicine 16(9): 1459-1468
   •   Vlot MC, Klink DT, den Heijer M et al. (2017) Effect of pubertal suppression and
       cross-sex hormone therapy on bone turnover markers and bone mineral apparent
       density (BMAD) in transgender adolescents. Bone 95: 11-19

Other references

   •   World Health Organisation (2018) International Classification of Diseases 11.
       Available from https://icd.who.int/ [accessed 27 August 2020]
   •   American Psychiatric Association. (2013). Diagnostic and statistical Manual of Mental
       Disorders (DSM-5) (5th ed). Washington, DC and London: American Psychiatric
       Publishing. pp.451-460. Available from: https://www.psychiatry.org/patients-
       families/gender-dysphoria/what-is-gender-dysphoria [accessed 27 August 2020]
   •   NHS England (2013). NHS Standard contract for gender identity development
       service for children and adolescents https://www.england.nhs.uk/wp-
       content/uploads/2017/04/gender-development-service-children-adolescents.pdf
       [accessed 27 August 2020]
   •   NHS England (2016). Clinical Commissioning Policy: Prescribing of Cross-Sex
       Hormones as part of the Gender Identity Development Service for Children and
       Adolescents https://www.england.nhs.uk/wp-content/uploads/2018/07/Prescribing-of-
       cross-sex-hormones-as-part-of-the-gender-identity-development-service-for-children-
       and-adolesce.pdf [accessed 27 August 2020]




Copyright

© NICE 2021. All rights reserved. Subject to Notice of rights




                                             156
